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         EXHIBIT L
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                            In the Matter Of:


         HAYSE vs CITY OF MELVINDALE, ET AL.
        DETECTIVE CORPORAL BRANDON NOLIN
                               April 20, 2018
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 ·1   · · · · · ·UNITED STATES DISTRICT COURT                                ·1   · · · · · · · TABLE OF CONTENTS
 ·2   · · · · · ·EASTERN DISTRICT OF MICHIGAN                                ·2
 ·3   · · · · · · · · SOUTHERN DIVISION
                                                                             ·3   WITNESS· · · · · · · · · · · · · · · · · · · · PAGE
 ·4
 ·5   CHAD HAYSE,                                                            ·4
 · · ·· · ·Plaintiff,                                                        ·5   DETECTIVE CORPORAL BRANDON NOLIN
 ·6   -vs-· · · · · · · · · · · · · · ·Case No.: 17-cv-13294
                                                                             ·6
 · · ·CITY OF MELVINDALE, a political· Hon. Linda V. Parker
                                                                             ·7   · · ·Examination by Ms. Gordon· · · · · · · · · · 4
 ·7   Subdivision of the State;· · · · Mag. Elizabeth A. Stafford
 · · ·MELVINDALE CITY COUNCIL, a                                             ·8   · · ·Examination by Ms. Balian· · · · · · · · · 105
 ·8   legislative body of the City of                                        ·9   · · ·Re-Examination by Ms. Gordon· · · · · · · ·167
 · · ·Melvindale; NICOLE BARNES,
                                                                             10
 ·9   WHEELER MARSEE, MICHELLE SAID
 · · ·LAND, DAVE CYBULSKI, CARL                                              11   EXHIBITS:· · · · · · · · · · · · · · · · · · IDENTIFIED

 10   LOUVET, and STEVEN DENSMORE,                                           12
 · · ·individuals, sued in their
                                                                             13   · · · · · · · · (None offered)
 11   official and personal capacities,
                                                                             14
 · · ·· · ·Defendants.
 12   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~/                                      15
 13   DEPONENT:· · ·DETECTIVE CORPORAL BRANDON NOLIN                         16
 14   DATE:· · · · ·Friday, April 20, 2018
                                                                             17
 15   TIME:· · · · ·10:09 a.m.
                                                                             18
 16   LOCATION:· · ·Deborah Gordon Law
 17   · · · · · · · 33 Bloomfield Hills Parkway, Suite 220                   19
 18   · · · · · · · Bloomfield Hills, Michigan                               20
 19
                                                                             21
 20   REPORTER:· · ·John J. Slatin, RPR, CSR-5180
 21   · · · · · · · Certified Shorthand Reporter                             22
 22                                                                          23
 23   · · · · · (Appearances listed on page 2)
                                                                             24
 24
                                                                             25
 25

                                                                    Page 2                                                                   Page 4
 ·1   APPEARANCES:
                                                                             ·1   · · · · · · · · · · · · · · · · · Friday, April 20, 2018
 ·2
                                                                             ·2   · · · · · · · · · · · · · · · · · Bloomfield Hills, Michigan
 ·3   · · ·DEBORAH L. GORDON (P27058)
                                                                             ·3   · · · · · · · · · · · · · · · · · 10:09 a.m.
 ·4   · · ·ELIZABETH MARZOTTO TAYLOR (P82061)
                                                                             ·4   · · · · · · · · · · · ·*· ·*· ·*
 ·5   · · ·Deborah Gordon Law
                                                                             ·5   · · · · · · · ·(Parties present as indicated.
 ·6   · · ·33 Bloomfield Hills Parkway, Suite 220
                                                                             ·6   · · · · · · · ·Mr. Hayse is not present.)
 ·7   · · ·Bloomfield Hills, Michigan· 48304
                                                                             ·7   · · · · · · · · · · · ·*· ·*· ·*
 ·8   · · ·(248) 258-2500
                                                                             ·8   · · · · · ·DETECTIVE CORPORAL BRANDON NOLIN,
 ·9   · · ·dgordon@deborahgordonlaw.com
                                                                             ·9   · · ·having been first duly sworn, was examined and testified
 10   · · ·emarzottotaylor@deborahgordonlaw.com
                                                                             10   · · ·as follows:
 11   · · · · · Appearing on behalf of the Plaintiff.
                                                                             11   · · · · · · · · · · · EXAMINATION
 12
                                                                             12   BY MS. GORDON:
 13   · · ·MELINDA BALIAN (P55744)
                                                                             13   Q.· ·Hi, Detective Nolin.· I'm Deborah Gordon.· I represent
 14   · · ·Foley & Mansfield, PLLP
                                                                             14   · · ·Chad Hayse.· We just met this morning.
 15   · · ·130 E. Nine Mile Road
                                                                             15   A.· ·Yes.
 16   · · ·Ferndale, Michigan· 48220
                                                                             16   Q.· ·If you don't understand my questions, if you want me to
 17   · · ·(248) 721-8183
                                                                             17   · · ·repeat or rephrase, just let me know; okay?
 18   · · ·mbalian@foleymansfield.com
                                                                             18   A.· ·Okay.
 19   · · · · · Appearing on behalf of the Defendants.
                                                                             19   Q.· ·How long have you been with Melvindale?
 20
                                                                             20   A.· ·It will be six years next month.
 21   · · · · · ALSO PRESENT:· Chad Hayse
                                                                             21   Q.· ·Okay.· And when you hired in, what was your title or
 22
                                                                             22   · · ·role?
 23
                                                                             23   A.· ·Road patrol officer.
 24
                                                                             24   Q.· ·Okay.· And at some point you became a detective?
 25
                                                                             25   A.· ·Yes, ma'am.

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                                                               Page 5                                                                   Page 7
 ·1   Q.·   ·And when was that?                                         ·1   A.·   ·Yes.
 ·2   A.·   ·That was February of 2014.                                 ·2   Q.·   ·Okay.· And what were your duties on road patrol?
 ·3   Q.·   ·Okay.· And what are you doing today?                       ·3   A.·   ·Road patrol was to respond for calls for service,
 ·4   ··    · · · What are your job duties?                             ·4   ··    ·enforce the traffic laws, make sure we were visible for
 ·5   A.·   ·Today, I'm currently assigned to the Michigan State        ·5   ··    ·the public so they knew that we were out there, trying
 ·6   ··    ·Police in an undercover role for a narcotics team.         ·6   ··    ·to keep them safe.
 ·7   Q.·   ·Okay.· And that's some kind of a special assignment, I     ·7   Q.·   ·And do all road patrol officers have essentially the
 ·8   ··    ·assume?                                                    ·8   ··    ·same duties?
 ·9   A.·   ·Yes.                                                       ·9   A.·   ·For the most part, yes.
 10   Q.·   ·And when did you begin that assignment?                    10   Q.·   ·Okay.· And who -- as far as you know, who is responsible
 11   A.·   ·The 26th of last month was my first day.                   11   ··    ·for disciplining command officers at the Melvindale
 12   Q.·   ·Okay.· And as of that time, what was your role at          12   ··    ·Police Department?· Is that --
 13   ··    ·Melvindale?                                                13   A.·   ·Currently?
 14   A.·   ·Prior to --                                                14   Q.·   ·Is that the Public Safety Commission?
 15   Q.·   ·To leaving for your special assignment.                    15   A.·   ·I believe so.
 16   A.·   ·I was a corporal on the midnight shift.                    16   Q.·   ·Okay.· And nonsupervisory officers, what's the procedure
 17   Q.·   ·Okay.· And what were you doing?                            17   ··    ·for discipline?
 18   ··    · · · Were you on road patrol?                              18   A.·   ·That would go through the supervisors, up through to the
 19   A.·   ·Road patrol, yes.                                          19   ··    ·chief.
 20   Q.·   ·Okay.· And do you act as a detective?                      20   ··    · · · So, our sergeants to our lieutenants and then to
 21   A.·   ·I do now.                                                  21   ··    ·the chief's office.
 22   ··    · · · I didn't then.                                        22   Q.·   ·Okay.· With regard to towing in the City of Melvindale,
 23   Q.·   ·I see.                                                     23   ··    ·what is the purpose of towing as part of your job
 24   ··    · · · Okay.· When did you get the title of detective?       24   ··    ·duties; if any?
 25   A.·   ·The first time?                                            25   A.·   ·Certain vehicles -- there's certain laws that state --
                                                               Page 6                                                                   Page 8
 ·1   Q.·   ·Yeah.                                                      ·1   ··    ·that make a vehicle roadworthy, whether it has to have
 ·2   A.·   ·That was in 2014.                                          ·2   ··    ·insurance, it has to have proper plates on it.· The
 ·3   Q.·   ·Okay.                                                      ·3   ··    ·driver has to have a valid license.
 ·4   A.·   ·I came out of the detective bureau.· I was -- in January   ·4   ··    · · · So, if the vehicle is in violation of those things
 ·5   ··    ·of 2017 and went to the midnight shift as a corporal.      ·5   ··    ·or if it -- if it isn't safe for it to be on the road,
 ·6   Q.·   ·Okay.· When did you come out of the academy?               ·6   ··    ·if the brakes aren't working, if it's nighttime and the
 ·7   A.·   ·That would have been December of 2011, I believe.          ·7   ··    ·headlights aren't working, things of that nature, the
 ·8   Q.·   ·And what was your first job?                               ·8   ··    ·officer has discretion on whether or not to tow that
 ·9   A.·   ·My first police job?                                       ·9   ··    ·vehicle.
 10   Q.·   ·Yes.                                                       10   ··    · · · Also, if it's used in the commission of a crime, if
 11   A.·   ·Was Melvindale.                                            11   ··    ·there are narcotics found in the vehicle or on any
 12   Q.·   ·Okay.· And what's your educational background?             12   ··    ·person within the vehicle, unregistered firearms, stolen
 13   A.·   ·I have an associate's degree in criminal justice from      13   ··    ·firearms, if there's just stolen product from a B & E in
 14   ··    ·Oakland Community College.                                 14   ··    ·the vehicle, again, the vehicle would be impounded.
 15   Q.·   ·Give me a brief overview of your duties as a detective.    15   Q.·   ·Okay.· So, is the impound the second step after a
 16   A.·   ·As a detective, our duties -- or my duties were to         16   ··    ·traffic stop for some other reason?
 17   ··    ·follow up on cases that had reports that had already       17   ··    · · · How does that work?
 18   ··    ·been taken by the road patrol officers, handle the         18   A.·   ·What -- I'm not sure I understand.
 19   ··    ·prisoners that were in custody to make sure that they      19   Q.·   ·Okay.· So, you say -- for example, your last example was
 20   ··    ·got arraigned and handle interviews of potential           20   ··    ·if there's some criminal activity, you find some illegal
 21   ··    ·suspects or witnesses, things of that nature.              21   ··    ·substance in the car, somebody is driving without a
 22   Q.·   ·Okay.· And you're currently doing some road patrol work?   22   ··    ·license.
 23   A.·   ·No, not on the -- not on the special assignment.           23   ··    · · · You learn that after you've made a stop?
 24   Q.·   ·Okay.· I'm sorry.· But prior to the special assignment,    24   A.·   ·Yes.
 25   ··    ·you were doing some road patrol?                           25   Q.·   ·Okay.· So, would you typically make a stop for some

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 ·1   ··    ·traffic violation purpose and then --                      ·1   ··    · · · Just give me a hypothetical example or something
 ·2   A.·   ·Usually, yes.· That's how it would work.                   ·2   ··    ·you can think of from the time you spot a vehicle and
 ·3   Q.·   ·Okay.· And then the next step would be that, in part of    ·3   ··    ·begin to think about making a stop.
 ·4   ··    ·your investigation on the scene, you might learn           ·4   A.·   ·If I'm stopping a vehicle, it is for either absolute
 ·5   ··    ·something that would cause you to think I may have to      ·5   ··    ·safety reasons, meaning the vehicle is swerving or has
 ·6   ··    ·impound this vehicle?                                      ·6   ··    ·something defective that --
 ·7   A.·   ·Correct.                                                   ·7   ··    · · · · ·(Discussion held off the record.)
 ·8   Q.·   ·Okay.· Do you know whether or not officers look for cars   ·8   A.·   ·Maybe they may not even --
 ·9   ··    ·to tow and stop cars for the purpose of towing instead     ·9   ··    · · · MS. GORDON:· Excuse me one second, Detective.
 10   ··    ·of for some other purpose?                                 10   A.·   ·I'm sorry.
 11   A.·   ·Yes.                                                       11   ··    · · · · ·(Discussion held off the record.)
 12   Q.·   ·What do you know in that regard?                           12   ··    · · · MS. BALIAN:· Can I -- are those the documents I
 13   A.·   ·We have a specific officer who seems to take pride in      13   ··    ·provided today?
 14   ··    ·towing vehicles.· It's a goal of his.                      14   ··    · · · MS. GORDON:· Yeah.
 15   Q.·   ·Okay.· And that's Matthew Furman?                          15   ··    · · · MS. BALIAN:· I just want to make a record that they
 16   A.·   ·Yes.                                                       16   ··    ·were provided to you.
 17   Q.·   ·And so -- I mean, I've deposed him, and what I've          17   ··    · · · MS. GORDON:· Okay.· Very good.
 18   ··    ·learned is that he does run license plates before he       18   A.·   ·So, if I see something, a traffic violation or something
 19   ··    ·pulls somebody over.                                       19   ··    ·that needs to be addressed for safety reasons, I'll stop
 20   A.·   ·Yes.                                                       20   ··    ·the vehicle and conduct a traffic stop.· And throughout
 21   ··    · · · Most officers will -- well, some officers will do     21   ··    ·the investigation of the traffic stop, if they're --
 22   ··    ·that.                                                      22   ··    ·again, like I said, if there's something criminal, if I
 23   ··    · · · Just in the course of road patrol duties, you can     23   ··    ·believe that there's narcotics in the vehicle, if the
 24   ··    ·run --                                                     24   ··    ·driver has been drinking, I'll continue my investigation
 25   Q.·   ·Right.                                                     25   ··    ·further.· And if it comes to the point where I'm going
                                                              Page 10                                                                  Page 12
 ·1   A.·   ·-- any license plate on the roadway just to make sure      ·1   · · ·to impound the vehicle, I will ask for another officer
 ·2   ··    ·that it's valid, to make sure that the driver doesn't      ·2   · · ·to the scene, for safety reasons -- people generally
 ·3   ··    ·have warrants, to make sure that -- that the driver's      ·3   · · ·don't like it when you're taking their vehicle -- before
 ·4   ··    ·license is valid for the driver of the vehicle.            ·4   · · ·I ever let the driver know that I'm going to be taking
 ·5   ··    · · · However, it's not common practice to do that in --    ·5   · · ·it, as well as I'll let dispatch know to call for a tow
 ·6   ··    ·in a sense of trying to find something wrong.· You're      ·6   · · ·truck.
 ·7   ··    ·just doing that to make sure everything is correct.        ·7   · · · · · And then once the scene is safe, whether I'm
 ·8   ··    · · · It's the practice of Officer Furman that he does      ·8   · · ·arresting the occupants, driver, passengers, whatever,
 ·9   ··    ·that with every car that he can find that he believes      ·9   · · ·or sometimes I -- they're not arrested at the scene.
 10   ··    ·he's going to be able to impound.                          10   · · ·They're released from the scene.
 11   Q.·   ·Okay.· And he has said that he may tow as many as ten      11   · · · · · Once it's safe for me to do so, I will search the
 12   ··    ·vehicles a day.                                            12   · · ·vehicle as far as an inventory search to make sure
 13   ··    · · · I don't know if it's more or less, but he used that   13   · · ·that -- to note any items of value on the vehicle and
 14   ··    ·as a possibility.                                          14   · · ·any damage currently with the vehicle, and report that
 15   ··    · · · Does that sound like a high number of vehicles, for   15   · · ·on our tow sheets.
 16   ··    ·a shift, to tow?                                           16   BY MS. GORDON:
 17   A.·   ·Yes.· That's -- our busiest shift, as far as traffic,      17   Q.· ·Okay.· And then do you -- if you are taking -- if there
 18   ··    ·would be our afternoon shift, which is 4:00 to midnight.   18   · · ·is an arrest, is it that you already have another
 19   ··    ·That's when the most traffic would be on the roadway for   19   · · ·officer there and that individual can take the citizen
 20   ··    ·our officers to interact with.· And ten would be heavy     20   · · ·to the police station, or how does that work?
 21   ··    ·for that entire shift to tow, which is three or four       21   A.· ·Some -- some officers do that.· I prefer not to do that
 22   ··    ·officers on the road.                                      22   · · ·only because -- this is just personal preference.
 23   Q.·   ·Have you impounded vehicles?                               23   Q.· ·Uh-huh.
 24   A.·   ·Yes.                                                       24   A.· ·I don't want myself tied up and a second officer tied up
 25   Q.·   ·Tell me what your procedure is.                            25   · · ·staying with the vehicle in case our third officer gets

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 ·1   ··    ·a two-man call and needs backup.· I don't want all of      ·1   · · ·dropped off right at their station.· Or, if the
 ·2   ··    ·this backup being tied up because of my stop.              ·2   · · ·department says that they don't want to hold them for
 ·3   ··    · · · So, personal preference, I'll have the arrested in    ·3   · · ·that -- sometimes they're less serious warrants, some --
 ·4   ··    ·my car and wait for the tow myself.· And once the          ·4   · · ·I mean literally just for a littering ticket.· So, if
 ·5   ··    ·vehicle clears, then I will take the arrested in to the    ·5   · · ·it's for something of a less serious nature, the
 ·6   ··    ·station.                                                   ·6   · · ·department won't want to pick up.· So, we'll just advise
 ·7   Q.·   ·And then what do you do once you get to the station?· Is   ·7   · · ·them that they have a warrant that they need to take
 ·8   ··    ·there paperwork and so on?                                 ·8   · · ·care of, but release the person from the scene.
 ·9   A.·   ·Yes.                                                       ·9   Q.· ·Okay.· If it's a more serious warrant than something
 10   ··    · · · You book the prisoner.· I always search the           10   · · ·like a littering, is it standard procedure to let the
 11   ··    ·prisoner twice.· Again, just personal preference. I        11   · · ·other departments know and give them the opportunity to
 12   ··    ·search them before I put them in my car and then I         12   · · ·decide whether they want to try to obtain the person?
 13   ··    ·search them again at the station while they're still in    13   A.· ·If it's a felony warrant, they have to pick up.
 14   ··    ·handcuffs.· It's just a safety personal preference.        14   Q.· ·Okay.
 15   ··    · · · However, once they're in the booking area, you book   15   A.· ·So, we still advise them that we have Person A in
 16   ··    ·them in, get their paperwork set up, get them in a cell.   16   · · ·custody; that they have a felony warrant with you.· And
 17   ··    · · · We have a board up in the -- what used to be the      17   · · ·we will try to work out details, again, on whether to
 18   ··    ·dispatch area, where we write the names of the             18   · · ·house at our place and let them pick up from there or to
 19   ··    ·prisoners.                                                 19   · · ·meet on the road, how they want to work that.· But that
 20   ··    · · · However, all that has actually just changed as of     20   · · ·person would be arrested.
 21   ··    ·about a week or so ago because now we're housing at        21   · · · · · · · (Mr. Hayse enters the room.)
 22   ··    ·Dearborn P.D.· So, I'm not 100 percent how that's          22   BY MS. GORDON:
 23   ··    ·working since I'm not there.· But that was the procedure   23   Q.· ·And what about if it's a Melvindale citizen and there's
 24   ··    ·while I was there.                                         24   · · ·a felony warrant?· How is that handled?
 25   Q.·   ·And so, of the impounds that you effectuate, roughly       25   A.· ·That would be -- they would be arrested once that is
                                                              Page 14                                                                  Page 16
 ·1   · · ·what percent end up with the driver being arrested?          ·1   ··    ·learned.
 ·2   · · · · · MS. BALIAN:· Objection.· Lack of foundation.            ·2   ··    · · · And then we would just contact our own dispatch and
 ·3   · · · · · You can answer if you know.                             ·3   ··    ·let them know that we have Person A under arrest for a
 ·4   A.· ·I -- of my own personal?                                     ·4   ··    ·Melvindale felony warrant and bring them into the
 ·5   BY MS. GORDON:                                                    ·5   ··    ·station and go through the booking process that I
 ·6   Q.· ·Yes.                                                         ·6   ··    ·described earlier.
 ·7   A.· ·It would be hard to say.· Each -- I take each incident       ·7   Q.·   ·And as I understand it, that's a requirement --
 ·8   · · ·separate from the next.                                      ·8   A.·   ·Yes.
 ·9   · · · · · So -- it would be hard to say.                          ·9   Q.·   ·-- if you're picking somebody up from Melvindale and
 10   Q.· ·Okay.· What's the policy at the department if you stop       10   ··    ·there is a warrant to bring the person in?
 11   · · ·somebody and there's a warrant out for his arrest?           11   A.·   ·Yes.
 12   A.· ·It depends on what the warrant is for and which              12   Q.·   ·Okay.· You said you called dispatch.
 13   · · ·department.                                                  13   ··    · · · Do you always call dispatch when you're engaged in
 14   Q.· ·Okay.                                                        14   ··    ·an impound activity?
 15   A.· ·However, the general policy, if it's not a Melvindale        15   A.·   ·Yes.
 16   · · ·warrant, if it's not our own warrant, is to advise           16   Q.·   ·And what's the purpose?
 17   · · ·dispatch that there is -- that you have made contact         17   A.·   ·For a few reasons.
 18   · · ·with person -- you know, Person A and that there's a         18   ··    · · · One, that lets dispatch know you're going to be
 19   · · ·warrant for their arrest.· And dispatch will contact         19   ··    ·tied up for a little while, as far as not being able to
 20   · · ·that department to see if they want to hold them and         20   ··    ·assist with calls.
 21   · · ·arrest -- have us arrest them for them to pick up.           21   ··    · · · Also, dispatch is the one who would contact the
 22   · · · · · If they do, then -- then we can arrange it where        22   ··    ·towing company to let them know to send a tow truck to
 23   · · ·we'll hold at our station.· We can arrange it where we       23   ··    ·the stop, as well as -- previously, up until about two
 24   · · ·will meet that department on the road.· Sometimes if         24   ··    ·months ago, the dispatcher or supervisor was who
 25   · · ·it's close, as in Lincoln Park or Allen Park, we have        25   ··    ·dispatched us.· So, our supervisor would be the one who

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 ·1   · · ·would enter the vehicle into LEIN as impounded.            ·1   ··    ·myself, that he had a goal to tow 1,000 cars within a
 ·2   Q.· ·I see.· Okay.                                              ·2   ··    ·calendar year.
 ·3   · · · · · Are you aware that Matthew Furman uses his cell       ·3   Q.·   ·So, what did you make of that, as a police officer?
 ·4   · · ·phone to directly call a Goch driver --                    ·4   A.·   ·I didn't think it was appropriate.· I don't -- as a
 ·5   A.· ·Yes.                                                       ·5   ··    ·fellow officer, I don't understand the purpose of it. I
 ·6   Q.· ·-- on his cell?· Scott(sic) Briscoe would be one           ·6   ··    ·don't feel that that's really what a police officer is
 ·7   · · ·person --                                                  ·7   ··    ·supposed to be doing.
 ·8   A.· ·Yes.                                                       ·8   Q.·   ·Tell me what a police officer is supposed to be doing
 ·9   · · · · · MS. GORDON:· Do I have the name right?                ·9   ··    ·that's out on road patrol.
 10   · · · · · MS. MARZOTTO TAYLOR:· Uh-huh.                         10   A.·   ·Serving the public.· That's our -- everybody knows, when
 11   BY MS. GORDON:                                                  11   ··    ·you get into this line of work, you are a public
 12   Q.· ·-- on his phone.                                           12   ··    ·servant.· That's what the job is for.
 13   · · · · · Does that strike you as unusual?                      13   ··    · · · And I don't believe the way that Officer Furman
 14   A.· ·For Mr. -- for Officer Furman, no, he's done that for      14   ··    ·polices is serving the public most of the time.· I think
 15   · · ·quite some time.                                           15   ··    ·most of the time he's serving his own agenda, his own
 16   Q.· ·For police activity?                                       16   ··    ·pride.
 17   A.· ·But for -- for our department, yes, I believe he's the     17   Q.·   ·Okay.· When he's tied up with all these tows that he's
 18   · · ·only officer who does that.                                18   ··    ·doing all day, does it mean he's not doing other things
 19   Q.· ·So, what, as you understand how this whole thing works,    19   ··    ·that the other officers on the shift may be doing?
 20   · · ·would be the point of doing that?                          20   A.·   ·Yes.
 21   A.· ·It speeds up the process for Officer Furman, and I         21   Q.·   ·Can you describe that a little bit?
 22   · · ·believe it's so he can tow -- tow more cars, in all        22   A.·   ·Well, as I explained earlier, specifically with myself,
 23   · · ·honesty.                                                   23   ··    ·why I would wait with the prisoner in my car and wait
 24   Q.· ·Right.                                                     24   ··    ·for the tow truck myself, that's so the other cars -- I
 25   · · · · · And what do you understand the reason is he wants     25   ··    ·could have two cars free.
                                                            Page 18                                                                  Page 20
 ·1   · · ·to tow so many cars that he wants to take steps like       ·1   ··    · · · Well, on day shift, our minimum required for the
 ·2   · · ·calling a tow driver directly on his own cell?             ·2   ··    ·road is only two officers on the road, which happens
 ·3   · · · · · What would be the point, from a Melvindale Police     ·3   ··    ·most of the time.· Therefore, it would just be Officer
 ·4   · · ·Department point of view, of speeding that process up so   ·4   ··    ·Furman and one other officer on the road.
 ·5   · · ·much?                                                      ·5   ··    · · · When he is tied up with these tows, which take up
 ·6   · · · · · What would be the upside to the department?           ·6   ··    ·most of his day, because that's what he chooses to do,
 ·7   · · · · · MS. BALIAN:· Objection.· Lack of foundation.          ·7   ··    ·the other officer is the one taking all the calls for
 ·8   BY MS. GORDON:                                                  ·8   ··    ·service, sometimes having to place -- well, not placing
 ·9   Q.· ·Go ahead.· We make these objections, and you go ahead.     ·9   ··    ·the call on hold, but telling the caller, "Okay.· We'll
 10   · · · · · MS. BALIAN:· You can still answer.                    10   ··    ·get there as soon as we can," because our one officer is
 11   A.· ·Oh, sorry.                                                 11   ··    ·out on a call and Officer Furman was towing a car.
 12   · · · · · The upside to the department would be it generates    12   ··    · · · Sometimes we would have to send the detectives out
 13   · · ·revenue for the department.                                13   ··    ·to handle the call, which is not the norm.· Sometimes,
 14   BY MS. GORDON:                                                  14   ··    ·including -- I was working when Chief Allen had to
 15   Q.· ·And how about to Officer Furman?                           15   ··    ·handle a call for service, as the chief, because the
 16   A.· ·As I said earlier, he seems to take pride in it.· Since    16   ··    ·detective bureau was busy.· Our one officer was on a
 17   · · ·around our one-year mark or so, maybe a little after       17   ··    ·call, and Officer Furman was towing a car.
 18   · · ·that -- we hired in roughly about four days apart from     18   Q.·   ·So, why didn't -- I mean, what's your understanding of
 19   · · ·each other.                                                19   ··    ·why, for example, Chief Allen doesn't say, "You can't do
 20   · · · · · So, around our one-year mark, or roughly in that      20   ··    ·this.· We need you out there backing people up.· We need
 21   · · ·area, he made it a goal of his to tow cars.· He would      21   ··    ·you taking calls.· We need you doing traffic patrol"?
 22   · · ·tell -- almost as if to be bragging to officers in the     22   A.·   ·I'm not 100 percent sure why Chief Allen -- that would
 23   · · ·locker room, "I towed 12 cars today."· "I towed 20 cars    23   ··    ·be a question more for him.
 24   · · ·last week."                                                24   Q.·   ·Right.
 25   · · · · · He actually had told many officers, including         25   A.·   ·However, I know that it has been stressed to Officer

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 ·1   ··    ·Furman from friends, from coworkers, from supervisors      ·1   ··    ·time?
 ·2   ··    ·that they would like him to do that.· However, he stays    ·2   A.·   ·Yes.
 ·3   ··    ·within his legal rights as an officer, and it makes it     ·3   Q.·   ·Okay.· And, obviously, we all know that he has the
 ·4   ··    ·difficult for a supervisor to tell him not to do that.     ·4   ··    ·towing contract for Melvindale.
 ·5   Q.·   ·I see.                                                     ·5   ··    · · · Prior to him obtaining the towing contract, did you
 ·6   ··    · · · What do you mean by "legal rights"?· Contractual      ·6   ··    ·see him around the police station?
 ·7   ··    ·rights or what?                                            ·7   A.·   ·Yes.
 ·8   A.·   ·As an officer, you're given certain authority, and he      ·8   Q.·   ·In what regard?
 ·9   ··    ·stays within that authority as far as what the law         ·9   A.·   ·He would come up to the station and introduce himself to
 10   ··    ·allows him to do as an officer --                          10   ··    ·everyone as Mike Goch, the owner of Goch & Sons Towing.
 11   Q.·   ·Okay.                                                      11   ··    · · · He spent most of his time on the city hall side.
 12   A.·   ·-- by towing these cars.· So --                            12   ··    ·Our station is in the same building as our city hall,
 13   Q.·   ·You used the word earlier "discretion" when you were       13   ··    ·but basically on opposite sides of the building.· He
 14   ··    ·describing decision-making with regard to calling for a    14   ··    ·seemed to spend most of his time over there; however,
 15   ··    ·tow --                                                     15   ··    ·every time that I seen him in the building prior to the
 16   A.·   ·Yes.                                                       16   ··    ·contract, he would come over to the police department
 17   Q.·   ·-- and doing an impound.                                   17   ··    ·side and introduce himself to anybody that was in the
 18   ··    · · · Explain to me what "discretion" means in that         18   ··    ·station.
 19   ··    ·regard.                                                    19   Q.·   ·Okay.· And what was -- as far as you know, who was he
 20   A.·   ·In regards to the towing?                                  20   ··    ·visiting on the city side?
 21   Q.·   ·Yes.                                                       21   A.·   ·I don't know for sure.
 22   ··    · · · What are the factors that you would be thinking of?   22   Q.·   ·Obviously, it would be helpful to him to have good
 23   A.·   ·I take in -- as I said, I take each traffic stop           23   ··    ·relationships, I assume, with officials in the City.
 24   ··    ·separate from the one before, separate from the one        24   ··    · · · Would that be your understanding?
 25   ··    ·after it.· So, I take into account the age of the -- of    25   ··    · · · MS. BALIAN:· Objection.· Calls for speculation.
                                                              Page 22                                                                  Page 24
 ·1   ··    ·the person in the vehicle, or the driver, if you will.     ·1   BY MS. GORDON:
 ·2   ··    ·I take into account the situation, who all is in the       ·2   Q.· ·You can go ahead and answer.
 ·3   ··    ·car, as far as, are there children in the car?· Is there   ·3   A.· ·Yes.
 ·4   ··    ·elderly in the car?· Is there someone sick in the car?     ·4   · · · · · It was -- we knew that -- the officers at the
 ·5   ··    ·Sometimes -- are they on their way to or from a            ·5   · · ·department, myself included, knew at that time that Goch
 ·6   ··    ·hospital?                                                  ·6   · · ·& Sons had got into -- that they were bidding for our
 ·7   ··    · · · I also -- I ask every driver if they have a reason    ·7   · · ·towing contract and trying to outbid the current towing
 ·8   ··    ·for whatever it was I stopped them for, if they're         ·8   · · ·company that we were using, which was Gene's.· And it
 ·9   ··    ·speeding but their mom just got real sick and the          ·9   · · ·was assumed at that point that he was there trying to
 10   ··    ·hospital said to get up here.· That's -- I take into       10   · · ·help his chances of gaining our -- the City's business.
 11   ··    ·account all of that, as well as what it was they -- I      11   Q.· ·Did you ever become aware that Goch gave gifts or
 12   ··    ·actually stopped them for.                                 12   · · ·donations to the police department?
 13   ··    · · · If I stopped them just because their taillight was    13   · · · · · We've heard some of that during other depositions
 14   ··    ·out, and then I found out later that their license was     14   · · ·in this case.
 15   ··    ·suspended versus I stopped them because they -- you        15   A.· ·Yes.
 16   ··    ·know, they almost hit three cars, I take into account      16   · · · · · · · · (Outside interruption.)
 17   ··    ·all of that, as well as road conditions.· I take into      17   A.· ·I'm sorry.· That's my work phone.
 18   ··    ·account time of day, just about everything really. I       18   BY MS. GORDON:
 19   ··    ·try to encompass all that as I would want somebody to do   19   Q.· ·If you need to take a call, just let us know.
 20   ··    ·for me.                                                    20   A.· ·No.· It was just a text message.· I may need to respond
 21   Q.·   ·Do you -- from what you've observed and what you're        21   · · ·here in a second, though.
 22   ··    ·aware of, do most of the officers in Melvindale use        22   Q.· ·Okay.
 23   ··    ·discretion in the way you've just described?               23   A.· ·But, yes, Goch & Sons, specifically from Mike Goch, had
 24   A.·   ·Yes.· From the ones that I've seen, most of them do.       24   · · ·brought food to the department on multiple occasions,
 25   Q.·   ·Obviously, you must know who Michael Goch is, by this      25   · · ·including -- I know of one specific incident, and I

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 ·1   · · ·don't remember the date or time frame in which it          ·1   A.·   ·He bought it for Officer Furman.
 ·2   · · ·happened, where he provided food for a party at Officer    ·2   Q.·   ·Can you explain how -- what the system is there or what
 ·3   · · ·Easton's house for the police officers of Melvindale.      ·3   ··    ·that refers to?
 ·4   Q.· ·Okay.· Did you become aware that Officer Furman            ·4   A.·   ·I was -- at that time, I was assisting Lieutenant Welch
 ·5   · · ·developed a personal relationship with Mike Goch?          ·5   ··    ·with running the auctions and making sure everybody paid
 ·6   · · · · · He's testified to that here.                          ·6   ··    ·and writing down the correct dollar amounts and things
 ·7   A.· ·Yes.                                                       ·7   ··    ·of that nature.· And at the one specific auction that
 ·8   Q.· ·And how did you become aware of that, and what did you     ·8   ··    ·I'm talking about, Mr. Briscoe was bidding.· And I asked
 ·9   · · ·become aware of?                                           ·9   ··    ·him specifically who the car was for, and he told me he
 10   · · · · · MS. BALIAN:· Did you say Officer Easton has           10   ··    ·was bidding for Officer Furman.· And, actually, he did
 11   · · ·testified to that?                                         11   ··    ·purchase a car that day for Officer Furman.
 12   · · · · · MS. GORDON:· No.· Furman had.                         12   Q.·   ·So, why wouldn't Furman have purchased it himself as you
 13   A.· ·Officer Furman told me himself that he had -- would have   13   ··    ·understand the process and the system?
 14   · · ·a -- multiple conversations with Mr. Goch.· He never       14   A.·   ·I don't know.· I believe it was because it -- to me, it
 15   · · ·used the word "friendship," but it was -- it seemed like   15   ··    ·looks inappropriate that an officer who impounds so many
 16   · · ·a friendship in the way he described it as how often       16   ··    ·vehicles would then turn around and purchase those
 17   · · ·they would talk, how often they would speak on the         17   ··    ·vehicles to sell for profit.· Which Officer Furman has
 18   · · ·phone, and the type of conversations that they would       18   ··    ·told me -- because Officer Furman has bought numerous
 19   · · ·have were not of a professional nature.· They would talk   19   ··    ·vehicles from our auction, and he has told myself and
 20   · · ·about restoring old vehicles and things of that nature.    20   ··    ·other officers that that's what he does with them.· He
 21   · · · · · · · · (Outside interruption.)                         21   ··    ·fixes them up and sells them for a profit.
 22   A.· ·I'm sorry.                                                 22   Q.·   ·Have you ever heard that he damages vehicles himself --
 23   BY MS. GORDON:                                                  23   A.·   ·No.
 24   Q.· ·That's okay.                                               24   Q.·   ·-- to get a lower price -- to pay a lower price?
 25   · · · · · · (Discussion held off the record.)                   25   A.·   ·Yeah.· No, I haven't heard that.
                                                            Page 26                                                                  Page 28
 ·1   BY MS. GORDON:                                                  ·1   Q.·   ·You haven't heard that.
 ·2   Q.· ·Did Furman ever discuss with you that he socialized with   ·2   ··    · · · Is there a limit on the number of cars a police
 ·3   · · ·Goch, went to his home, on his boat?                       ·3   ··    ·officer can buy from his city auction?
 ·4   A.· ·He did tell me that he's been to his house.                ·4   A.·   ·Not that I'm aware of.
 ·5   · · · · · I did not know that he had been on his boat;          ·5   Q.·   ·Okay.· Do you know roughly -- have any feel for how many
 ·6   · · ·however, he did tell me that he's been to his house,       ·6   ··    ·cars in a month or year Furman purchases?
 ·7   · · ·that he had been to social events with Mike Goch.          ·7   A.·   ·I don't know.
 ·8   Q.· ·Obviously, Furman undoubtedly generates a lot of revenue   ·8   ··    · · · I know that it's been multiple, as he would tell
 ·9   · · ·for Goch.                                                  ·9   ··    ·us.
 10   · · · · · Would you agree with that?                            10   Q.·   ·Sure.
 11   A.· ·Absolutely.                                                11   A.·   ·"I bought two cars at that last action and sold them,"
 12   Q.· ·Were you aware that Furman had personal relationships      12   ··    ·and things of that nature; however, I don't know an
 13   · · ·with the tow drivers, the wrecker drivers?                 13   ··    ·exact number.
 14   A.· ·I know that he has -- I believe it's Sean Briscoe.         14   Q.·   ·And do you know how he sells them or where he sells
 15   Q.· ·Right.                                                     15   ··    ·them?
 16   A.· ·I know he has his personal cell phone number, and I know   16   A.·   ·I believe he lists them online, on probably like a
 17   · · ·that they speak often.· But I -- I'm unaware of the        17   ··    ·Craigslist, I'm assuming.· But I believe he lists them
 18   · · ·other drivers.· I know he knows them all by first name,    18   ··    ·online and sells them that way.
 19   · · ·but I wasn't sure if that was just through how many cars   19   Q.·   ·Okay.· Did you become aware that the city council and
 20   · · ·he towed or whether it was a more personal nature.         20   ··    ·some city officials, maybe the city administrator, were
 21   Q.· ·Speaking of Briscoe, were you aware that Briscoe has       21   ··    ·very concerned with the amount of revenue generated from
 22   · · ·purchased cars at auctions?                                22   ··    ·towing?
 23   A.· ·I knew of one.                                             23   A.·   ·Yes.
 24   Q.· ·Okay.· And did he purchase that for himself or for         24   Q.·   ·Okay.· And what did you learn in that regard?
 25   · · ·Furman or for somebody else?                               25   A.·   ·The entire department knew that it was going on, that

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 ·1   ··    ·the city officials were going to and did hire an outside   ·1   A.·   ·Absolutely.
 ·2   ··    ·investigator and pay him or her to investigate why our     ·2   Q.·   ·Because for any day he's off the road, you're losing a
 ·3   ··    ·towing numbers had dropped, meaning the number of          ·3   ··    ·significant number of tows, most all your tows?
 ·4   ··    ·impounds.                                                  ·4   A.·   ·Yes.· He -- I don't have an exact number, but I would
 ·5   Q.·   ·Okay.· So, before we get into that, that the numbers had   ·5   ··    ·bet it was safe to say that he tows 60 to 70 percent of
 ·6   ··    ·dropped, I don't know what paperwork you have -- you       ·6   ··    ·the vehicles, if not more, for the entire department.
 ·7   ··    ·see, but in this case, a lot of paperwork has been         ·7   Q.·   ·Okay.· And then -- so, how long would this -- from what
 ·8   ··    ·generated about revenue from tows.                         ·8   ··    ·you observed would he go then with just deciding he
 ·9   A.·   ·Okay.                                                      ·9   ··    ·wasn't going to do that?
 10   Q.·   ·And we can certainly see that the city council is -- has   10   A.·   ·It depended on each time that he was upset.· That first
 11   ··    ·raised many questions about -- or concerns about keeping   11   ··    ·time, I believe, lasted a few weeks -- two or three
 12   ··    ·that revenue up.                                           12   ··    ·weeks -- where he just didn't tow any cars.· Which, in
 13   A.·   ·Right.                                                     13   ··    ·that amount of time for him, would -- would be a
 14   Q.·   ·And has that -- is that something you've become aware      14   ··    ·significant amount of cars if not -- if it didn't last
 15   ··    ·of?                                                        15   ··    ·longer than that.
 16   A.·   ·Yes.· They -- they stressed at meetings numerous           16   Q.·   ·So, there was this Lawrence Jackson report, which I'm
 17   ··    ·times -- they never specified that it was the revenue.     17   ··    ·going to ask you about in a little while, but I don't
 18   ··    ·They stressed numerous times that they needed and were     18   ··    ·know if you're aware of this, but he was hired by the
 19   ··    ·curious about the numbers of tows and that they wanted     19   ··    ·City to look into why tows were down.
 20   ··    ·them to remain high, and they wanted to know why they      20   ··    · · · Did you become aware of that?
 21   ··    ·had dropped.· Again, they never specified revenue at the   21   A.·   ·I didn't know the name.
 22   ··    ·meetings that I was a part of.                             22   Q.·   ·Okay.
 23   Q.·   ·Were you aware that there was a drop when Furman -- I      23   A.·   ·But I did know that they hired someone to look into it,
 24   ··    ·think -- these are my words, not anybody's official        24   ··    ·yes.
 25   ··    ·words -- when Furman got irritated because he was told     25   Q.·   ·And I'll hand you a copy shortly, but I do note that in
                                                              Page 30                                                                  Page 32
 ·1   · · ·to call dispatch or something to that effect?                ·1   ··    ·this document, on Bates 1276, produced by the City,
 ·2   A.· ·Yes.                                                         ·2   ··    ·Jackson, in this report, states on 4-26-16:
 ·3   Q.· ·Do you remember that?                                        ·3   ··    · · · · · ·"Corporal Furman was given special written
 ·4   A.· ·Yes.                                                         ·4   ··    · · · instructions by Chief Chad Hayse --"
 ·5   · · · · · Throughout our time at the department, Officer          ·5   ··    ·and I'll hand that to you in a minute.
 ·6   · · ·Furman has gotten upset, I believe, about three times,       ·6   ··    · · · And then he says:
 ·7   · · ·whether it be with administration, whether it be with        ·7   ··    · · · · · ·"Corporal Furman took this to mean his
 ·8   · · ·the City, but he got angry at something.· And his way of     ·8   ··    · · · performance was being closely monitored and
 ·9   · · ·handling it, I guess -- and he was verbal about this --      ·9   ··    · · · evaluated.· He said that caused him to alter
 10   · · ·was that he was not going to tow cars for a while.           10   ··    · · · his normal job performance.· He restricted
 11   · · · · · And during that low, in which the City was going to     11   ··    · · · his towing to abandoned or unoccupied areas."
 12   · · ·pay and did pay the outside investigator, was the first      12   ··    · · · So, is that the kind of thing you're talking about?
 13   · · ·time that that happened where Officer Furman had become      13   A.·   ·Actually, now that you say that, I remember that
 14   · · ·upset with something to do with -- I'm not sure whether      14   ··    ·specifically, that he -- Officer Furman told myself,
 15   · · ·it was administration or the City, and, therefore, he        15   ··    ·again, and almost every officer there that that's what
 16   · · ·decided not to tow cars for a while.                         16   ··    ·he was going to do was only tow unoccupied vehicles.
 17   · · · · · · ·(Discussion held off the record.)                    17   ··    ·Because he was getting -- Officer Furman was getting
 18   BY MS. GORDON:                                                    18   ··    ·numerous citizen complaints when towing vehicles at that
 19   Q.· ·Okay.· Just because what?· He was kind of -- this my         19   ··    ·time, and -- which was causing him to end up having to
 20   · · ·word, not his or anybody else's.· He was kind of in a        20   ··    ·speak with our -- with supervisors.· And so he -- he was
 21   · · ·snit?                                                        21   ··    ·mad about it.· He took it personal and, therefore, said
 22   A.· ·Yes, he -- yeah, he was --                                   22   ··    ·he wasn't going to tow any cars other than the
 23   Q.· ·He was mad?                                                  23   ··    ·unoccupied vehicles.
 24   A.· ·He was upset.                                                24   Q.·   ·So, Chad Hayse, of course, was -- with regard to this
 25   Q.· ·So, at that point, the tows would have dropped?              25   ··    ·particular discipline -- I'm going to hand this to you.

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 ·1   · · ·I don't know if you've ever seen it before.· It's been     ·1   ··    · · · And that -- he continued his behavior, if you will,
 ·2   · · ·produced by the City.· It's Bates stamp 1442.              ·2   ··    ·and that -- his habit of towing the vehicles, and that
 ·3   · · · · · So, this apparently -- this memo was given after      ·3   ··    ·worked its way up to Chief Hayse to where Chief Hayse
 ·4   · · ·Lieutenant Welch and Chief Hayse had talked to Furman      ·4   ··    ·put this out in order to still keep him from getting
 ·5   · · ·and then issued this memo.· So, just take a look and       ·5   ··    ·these complaints, getting himself in trouble.· And as
 ·6   · · ·read that.                                                 ·6   ··    ·the chief of police, he had to address the amount of
 ·7   A.· ·Okay.                                                      ·7   ··    ·complaints Officer Furman was getting.
 ·8   Q.· ·Have you seen this document before?                        ·8   ··    · · · So, this was put out in order to try to keep those
 ·9   · · · · · MS. BALIAN:· What's the Bates stamp?                  ·9   ··    ·complaints from coming in.
 10   A.· ·I'm sorry?                                                 10   ··    · · · And this really offended Officer Furman when this
 11   · · · · · MS. BALIAN:· I just want to see the Bates stamp.      11   ··    ·came out.
 12   A.· ·Okay.                                                      12   Q.·   ·Uh-huh.· And then he had the slowdown apparently --
 13   · · · · · MS. BALIAN:· Defendant --                             13   A.·   ·Yes.
 14   A.· ·Yes.· I have seen this before.                             14   Q.·   ·-- after that.
 15   BY MS. GORDON:                                                  15   ··    · · · And then Chief Hayse was severely criticized a la
 16   Q.· ·Okay.· And do you have any understanding of why this       16   ··    ·the Larry Jackson report --
 17   · · ·would have been issued from your knowledge of the          17   A.·   ·Yes.
 18   · · ·circumstances?                                             18   Q.·   ·-- because he had -- apparently, according to
 19   A.· ·Yes.                                                       19   ··    ·Mr. Jackson, it was Chad Hayse's fault that the towing
 20   · · · · · MS. BALIAN:· Objection.· Lack of foundation.          20   ··    ·was down.
 21   BY MS. GORDON:                                                  21   A.·   ·Correct.
 22   Q.· ·Go ahead.                                                  22   Q.·   ·Did you become aware of that?
 23   A.· ·From having worked with Officer Furman, be it just on      23   A.·   ·Yes.
 24   · · ·the same shift, on -- or a -- more specifically while he   24   Q.·   ·Okay.· So, look at the content of this April 26th, 2016
 25   · · ·was out working traffic, at this time, it appeared,        25   ··    ·memo to Corporal Furman from Chief Hayse.
                                                            Page 34                                                                  Page 36
 ·1   especially through all of the citizen complaints,               ·1   ··    · · · The City has taken the position in this case that
 ·2   through my observations and other officers' observations        ·2   ··    ·Chad Hayse was -- let's see.· How did they put it --
 ·3   that he seemed to lack the ability to use discretion.           ·3   ··    ·some of them say "he's violating the Constitution."
 ·4   · · ·His -- as I stated earlier, his focus was strictly         ·4   ··    ·Others say "he's engaging in civil rights violations"
 ·5   on finding a reason to tow the car and towing it and            ·5   ··    ·because he's asking Furman to please relay to dispatch
 ·6   impounding it.· And although be it within -- within the         ·6   ··    ·gender, age, number of occupants and so on.
 ·7   law, what he was doing, didn't necessarily make it              ·7   ··    · · · What is your takeaway on the use of the words
 ·8   right.                                                          ·8   ··    ·"gender," "age," and "occupants" in here, as a police
 ·9   · · ·So, myself included, as Officer Furman and I were          ·9   ··    ·officer?
 10   friends at this time, numerous officers tried talking to        10   A.·   ·I -- as I stated earlier, those are things that I
 11   him and giving advice and basically examples on things          11   ··    ·consider with every stop, whether it be for towing, for
 12   he should or shouldn't be doing and telling him that            12   ··    ·arrest, for -- even for citation.· Even for as low as a
 13   just because you can tow a car doesn't mean you have to.        13   ··    ·ticket, I consider all these factors.· And I believe,
 14   There's other factors that you should consider, which           14   ··    ·from my own observations, that most of the officers at
 15   are the factors -- a lot of them which are listed in            15   ··    ·our department also consider these factors.
 16   this memo here.                                                 16   ··    · · · I don't believe that those factors come into play
 17   · · ·And as that -- as he ignored myself and other              17   ··    ·for Officer Furman hardly ever, if at all.
 18   officers at the patrol level, then things worked up to          18   Q.·   ·So, since my client has been excoriated for putting the
 19   where sergeants started speaking with Officer Furman.           19   ··    ·words "gender" and "age" in here, could you explain -- I
 20   He ignored that, where it made it up to lieutenants.            20   ··    ·mean it seems obvious to me, and -- I don't know -- that
 21   Lieutenants tried speaking to him.                              21   ··    ·doesn't matter, but just for the record -- how gender
 22   · · ·And this was all just a person-to-person, nothing          22   ··    ·and age play a role in your work?
 23   in an official order or anything of that.· Just trying          23   A.·   ·If -- an example would be if it's a 16-year-old who has
 24   to keep him from getting these complaints and getting           24   ··    ·had their license two weeks and they -- they didn't use
 25   himself in any trouble.                                         25   ··    ·their turn signal while changing lanes, and they're

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 ·1   driving their mother's vehicle without insurance on it.           ·1   ··    ·But just because it's legal doesn't mean it's right in
 ·2   And I stop them for not using their turn signal, and I            ·2   ··    ·certain instances, and I wouldn't -- in fact, most of
 ·3   come up and get their information and realize she's               ·3   ··    ·our officers wouldn't do that.
 ·4   had -- he or she has had their license two weeks, and             ·4   Q.·   ·We have some documents that would indicate that Officer
 ·5   then realize that her mom doesn't have insurance on the           ·5   ··    ·Furman did not effectuate arrests for individuals who he
 ·6   vehicle, I'm not going to fault her for that.· That's             ·6   ··    ·stopped and towed their vehicle when it was a felony
 ·7   just my personal way of handling it.· She's 16.· She's            ·7   ··    ·arrest.
 ·8   just now learning about car insurance.· I'm sure if she           ·8   A.·   ·I know of one specific incident where that happened,
 ·9   has a job, it's not paying well enough to afford putting          ·9   ··    ·yes.
 10   car insurance on her mother's car, which she, I'm sure,           10   Q.·   ·What do you know of in that regard?
 11   only drives maybe on the weekends, things of that                 11   A.·   ·I don't know the name of the individual; however,
 12   nature.· So, that's where age would come into play.               12   ··    ·Officer Furman stopped the vehicle, did a -- conducted a
 13   · · ·Also if it's an elderly person -- the whole point            13   ··    ·traffic stop and, through his time with the traffic
 14   of the way that I was taught in my academy -- the whole           14   ··    ·stop, learned that the individual driving had a felony
 15   point of a traffic citation is to gain compliance with            15   ··    ·warrant -- valid warrant for their arrest.· Didn't
 16   whatever law -- traffic law they broke.                           16   ··    ·notify dispatch of the warrant, didn't notify any other
 17   · · ·If a person is 80 years old and was lost and                 17   ··    ·officers of that warrant, and did have a legal reason to
 18   happened to maybe, you know, swerve over a lane while             18   ··    ·impound the vehicle for whatever traffic violations had
 19   they were trying to find where they were going, I don't           19   ··    ·happened.
 20   believe that that person maybe needs a citation.                  20   ··    · · · So, he impounded the vehicle, wrote that person a
 21   They've had a clean driving record for 50, 60 years.              21   ··    ·ticket and let them leave from the scene.· And at the
 22   They may not need a citation to gain compliance with the          22   ··    ·time, the sergeant on the desk, when he went to -- he
 23   law.· Maybe they were just lost and I can actually help           23   ··    ·has to -- they call -- it's name candidating.· He has to
 24   them out and give them directions and let them know               24   ··    ·verify all the names are correct because an officer can
 25   where they're at without having to give them a ticket             25   ··    ·manually type in the names on the ticket.
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 ·1   ··    ·or, furthermore, impounding their vehicle.                 ·1   ··    · · · So, the supervisor has to verify that the names are
 ·2   ··    · · · That -- that would be where it comes into play in     ·2   ··    ·spelled correctly; that the correct person is getting
 ·3   ··    ·my opinion.                                                ·3   ··    ·the citation.
 ·4   Q.·   ·And with regard to taking a vehicle away from somebody     ·4   ··    · · · When the sergeant was doing that, at the end of the
 ·5   ··    ·that has children in the car or somebody that's elderly    ·5   ··    ·shift, observed that the person that Officer Furman gave
 ·6   ··    ·or maybe a female that's, you know, more frail, or         ·6   ··    ·that ticket to had a felony warrant and questioned
 ·7   ··    ·something -- osteoporosis, who knows -- how does that      ·7   ··    ·Officer Furman on it, and Officer Furman actually got
 ·8   ··    ·affect your decision to actually tow a car?                ·8   ··    ·into a verbal argument with the sergeant to where they
 ·9   A.·   ·Majorly, including with where the stop happened, where     ·9   ··    ·had to -- the sergeant made him go outside because he
 10   ··    ·they live, the weather.· I'm not going to have a mother    10   ··    ·was kind of challenging his authority in front of the
 11   ··    ·who is driving on a suspended license, who has got two     11   ··    ·shift, the other officers.
 12   ··    ·kids in car seats in the back, put out on January 1st in   12   Q.·   ·Did Furman have any rationale for why he wouldn't
 13   ··    ·that kind of weather just because her license is           13   ··    ·effectuate an arrest?
 14   ··    ·suspended.                                                 14   A.·   ·He blamed the equipment.· He said that, because the
 15   ··    · · · No.· I'm going to instruct her not to drive the       15   ··    ·computer took too long, he didn't want to wait for that.
 16   ··    ·vehicle, wait in her vehicle and get somebody there with   16   ··    ·And he used some choice words about the equipment and
 17   ··    ·a valid license to drive her away from there, and I        17   ··    ·then said that that was why.
 18   ··    ·would probably give her a ticket.· But, again, all of      18   Q.·   ·Have you observed that Furman has an anger problem?
 19   ··    ·the factors would come into play, why I stopped her        19   A.·   ·Yes.
 20   ··    ·originally, what her driving record is, all of that.       20   Q.·   ·What have you observed?
 21   ··    · · · However, I would -- for something as far as just a    21   A.·   ·I believe, from my observations and speaking with
 22   ··    ·ticket, I would not be taking her vehicle for that         22   ··    ·Officer Furman throughout his career, he seems to take
 23   ··    ·because I -- if somebody did that to my mom, I would be    23   ··    ·each traffic stop personally, and that every person that
 24   ··    ·so irate, it would -- you know, I -- again, is it legal    24   ··    ·he stops he feels automatically should respect him
 25   ··    ·for me to take her vehicle?· Yes.· She broke the law.      25   ··    ·because he's an officer.

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 ·1   ··    · · · And although I agree to a certain extent, there is    ·1   ··    ·I observed it.
 ·2   ··    ·some respect that should come with the job, you -- if      ·2   ··    · · · Chief Hayse requested a letter from me on what I
 ·3   ··    ·you take each incident personally of that -- in that       ·3   ··    ·observed.· I -- I typed a very brief memo to Chief Hayse
 ·4   ··    ·way, you will become angry because there's people who      ·4   ··    ·as to what I observed.· And then I'm not sure how much
 ·5   ··    ·are having a bad day already before you stop them.         ·5   ··    ·longer later, I was informed that Chief Hayse had turned
 ·6   ··    ·Obviously, nobody enjoys getting a ticket.· So, then       ·6   ··    ·that investigation over to the Michigan State Police.
 ·7   ··    ·you're making their day worse.                             ·7   ··    ·And the -- a female state trooper, along with two male
 ·8   Q.·   ·It's intimidating?                                         ·8   ··    ·FBI agents were at the department and interviewed
 ·9   A.·   ·Yes.                                                       ·9   ··    ·myself, Lieutenant Allen, Corporal Hinojosa, and I
 10   ··    · · · And also some people just flat out don't like the     10   ··    ·believe they also introduced Sergeant Slaughter.· And
 11   ··    ·police and don't respect the police.· But it's our job     11   ··    ·I'm not sure if they interviewed Officer Furman or not
 12   ··    ·to still show them respect.· That's sometimes easier       12   ··    ·in regards to that incident.
 13   ··    ·said than done, and I agree with that, but you still       13   Q.·   ·What's the next thing that happened?· Were you there
 14   ··    ·have to try.                                               14   ··    ·when they cane into the department?
 15   ··    · · · And he has gotten -- he seems to talk down to the     15   A.·   ·I don't think I saw them come in, but I was there that
 16   ··    ·people that he stops, as -- in a demeaning manner.· He     16   ··    ·day, yes.
 17   ··    ·also has -- he's gotten numerous complaints from           17   Q.·   ·Okay.· All right.· And you saw them talk to the people
 18   ··    ·citizens that I've witnessed the complaints come in for    18   ··    ·you've just mentioned?
 19   ··    ·his tone of voice, his choice of words on the stop,        19   A.·   ·I wasn't in the room when they spoke --
 20   ··    ·as -- and, lastly, I have observed him, in my opinion,     20   Q.·   ·Right.
 21   ··    ·go way over the line in that he had a suspect in           21   A.·   ·-- with them.· That was in the chief's conference room.
 22   ··    ·handcuffs already who wasn't resisting, was just walking   22   ··    ·But, yes, I was -- I observed them go in there to speak
 23   ··    ·to the patrol vehicle with Officer Furman, and Officer     23   ··    ·with them, yes.
 24   ··    ·Furman pushed his head into the patrol vehicle, actually   24   Q.·   ·I have an e-mail exchange between you and Sunshine
 25   ··    ·splitting his head open.                                   25   ··    ·Ponzetti from the Michigan State Police.
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 ·1   Q.·   ·Yeah.· And I think Officer -- Lieutenant Allen witnessed   ·1   A.· ·That sounds right, yes.
 ·2   ··    ·that event?                                                ·2   Q.· ·Does that sound like the person you saw?
 ·3   A.·   ·Yes.                                                       ·3   A.· ·Yes.
 ·4   ··    · · · Myself, Lieutenant Allen and Corporal Hinojosa were   ·4   Q.· ·So, I can hand you that.
 ·5   ··    ·witnesses to that event.                                   ·5   · · · · · Do you remember sending her an e-mail, and did she
 ·6   Q.·   ·Okay.· So -- was this in -- I don't remember the dates,    ·6   · · ·ask you for information?
 ·7   ··    ·but, again, the City has produced documents on this        ·7   A.· ·Yes.· She --
 ·8   ··    ·incident.· And it appears that it was in July of 2016.     ·8   Q.· ·I'll hand this to you, if you don't mind.· This is Hayse
 ·9   A.·   ·That sounds right.                                         ·9   · · ·Bates stamp 928, 929, 930.
 10   Q.·   ·So, who was present when those events occurred?            10   · · · · · MS. BALIAN:· Can I just see that for a minute?
 11   A.·   ·Myself, Lieutenant Allen, Officer Hinojosa all observed    11   A.· ·Yeah.
 12   ··    ·it.                                                        12   · · · · · Yes.· When we spoke that day, she asked if I could
 13   ··    · · · Sergeant Slaughter was in the area, but I don't       13   · · ·put it in writing for her in this e-mail, which is --
 14   ··    ·believe he actually observed that part happen.             14   BY MS. GORDON:
 15   Q.·   ·So, what happened after you observed this?                 15   Q.· ·This is your e-mail, and this is what you wrote down?
 16   A.·   ·Officer Furman transported the suspect back to the         16   A.· ·Correct.
 17   ··    ·department.· I returned to the department with             17   Q.· ·Okay.· And you sent this to her, it looks like, via
 18   ··    ·Lieutenant Allen.· And immediately upon return to the      18   · · ·e-mail?
 19   ··    ·department, I had to leave with another detective. I       19   A.· ·Yes.
 20   ··    ·believe we were serving subpoenas.· I don't remember       20   Q.· ·Okay.· Now, if you look on the e-mail on the top,
 21   ··    ·exactly what we were doing.· However on our return,        21   · · ·Officer Ponzetti is saying to somebody named Renee:
 22   ··    ·Lieutenant Allen called me into his office and asked me    22   · · · · · · · ·"I searched my e-mail and located this sent
 23   ··    ·if I observed what happened with Officer Furman and the    23   · · · · · e-mail from Brandon Nolin.· This e-mail, as you
 24   ··    ·suspect at that time, and I informed him that I did.       24   · · · · · can see, was forwarded to my FBI account as well
 25   ··    ·And he told me that I needed to inform Chief Hayse that    25   · · · · · as S.A. Lobar's(ph)."

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 ·1   ··    · · · Was Officer Ponzetti involved with the FBI?· Is       ·1   ··    · · · So, no ideas on why the Michigan State Police would
 ·2   ··    ·that how you understand this?                              ·2   ··    ·say -- whoever you were talking to would say, "We're
 ·3   A.·   ·She informed -- yes.                                       ·3   ··    ·going to say we don't even know what you're talking
 ·4   Q.·   ·Yeah.                                                      ·4   ··    ·about"?
 ·5   A.·   ·When she interviewed me that day, she informed me          ·5   A.·   ·Yeah.· I found that extremely odd.· Especially -- even
 ·6   ··    ·that -- I think she said it had something to do with       ·6   ··    ·if I called and said, "Oh, I forgot to tell you guys
 ·7   ··    ·manpower -- I'm not sure on that.· But for some reason,    ·7   ··    ·this," that was -- that was just going to fall on deaf
 ·8   ··    ·she had the FBI with her, and that she was working with    ·8   ··    ·ears apparently.· I don't know.· It was really weird.
 ·9   ··    ·them with this investigation.                              ·9   Q.·   ·Okay.· And have you heard anything about it since?
 10   Q.·   ·Well, it looks like she has an FBI account herself. I      10   A.·   ·I don't know the time frame, but I do know that the
 11   ··    ·don't know if that makes any sense to you or not.          11   ··    ·individual -- I can't remember his name.
 12   A.·   ·She never stated that to me.                               12   Q.·   ·McClintock, I believe.
 13   Q.·   ·Why would the FBI be involved with this, from what you     13   A.·   ·Yes.· That sounds right.
 14   ··    ·can think of?                                              14   ··    · · · He was returned to our department at a later date
 15   A.·   ·I have no idea.                                            15   ··    ·for his court appearance.· He was under arrest for a
 16   Q.·   ·Have you ever heard of the FBI filling in with the MSP     16   ··    ·valid reason.
 17   ··    ·for manpower purposes?                                     17   Q.·   ·Right.
 18   A.·   ·Not prior or after this, no.                               18   A.·   ·So, he returned later for his court date, and I believe
 19   Q.·   ·Okay.· So, when is the next time you talked to Officer     19   ··    ·we tried to -- our department -- not myself
 20   ··    ·Ponzetti?                                                  20   ··    ·specifically, but I believe our department tried to
 21   A.·   ·I haven't since.                                           21   ··    ·contact MSP to inform them, "If you need to interview
 22   Q.·   ·Okay.· Did anybody tell you what the upshot of this        22   ··    ·this gentleman" -- because he did file a formal
 23   ··    ·investigation was?                                         23   ··    ·complaint with our department as well, that if they
 24   A.·   ·No.                                                        24   ··    ·needed to contact him -- because he was believed to be
 25   Q.·   ·Did you ever hear anything about whether there was going   25   ··    ·homeless at the time, so we weren't sure if the state
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 ·1   ··    ·to be any action taken or whether there was a file that    ·1   ··    ·police would be able to find him or locate him to speak
 ·2   ··    ·was opened anywhere?                                       ·2   ··    ·with him.
 ·3   A.·   ·They told us specifically that -- or at least I know       ·3   ··    · · · So, we reached out to contact Michigan State Police
 ·4   ··    ·that they told me this, and the other officers confirmed   ·4   ··    ·to let them know that he was at our department, again,
 ·5   ··    ·it to me that were interviewed, that during the            ·5   ··    ·if they wanted to come interview him in regards to the
 ·6   ··    ·interview they told us once they left the department       ·6   ··    ·incident, and they said, "We don't know what
 ·7   ··    ·that day, if we called them, if we even called them the    ·7   ··    ·investigation you're talking about.· We don't have
 ·8   ··    ·next day and said, "Hey, I want to talk to you about       ·8   ··    ·anything."
 ·9   ··    ·that investigation," that they would inform us at that     ·9   Q.·   ·I believe McClintock has now filed a federal lawsuit.
 10   ··    ·time they didn't know what investigation we were talking   10   ··    ·I'm not 100 percent sure, but we did get a Complaint.
 11   ··    ·about; there was no such investigation.                    11   ··    · · · So, were you aware, then, that Chad Hayse came
 12   Q.·   ·So, what did you make of that?· What was your takeaway?    12   ··    ·under criticism for attempting to discipline Furman over
 13   A.·   ·I thought it was really weird.· I didn't understand        13   ··    ·this event?
 14   ··    ·that.· I still don't understand it.· I don't know why      14   A.·   ·It was never said outright that -- in the beginning that
 15   ··    ·that would be that way.· I still don't.                    15   ··    ·that's what was happening.· However, towards the --
 16   Q.·   ·So, before they left the station, they told you this?      16   ··    ·towards the end of the ordeal with Chief Hayes, it was
 17   A.·   ·Yes, including -- which is how I -- why it came to be      17   ··    ·known -- and I was aware of it, that the City was
 18   ··    ·that the other officers who were interviewed confirmed     18   ··    ·criticizing Chief Hayse for not filing proper paperwork
 19   ··    ·this with me, because I asked them if they were told the   19   ··    ·as far as his discipline with Officer Furman.
 20   ··    ·same thing because it struck me as extremely odd,          20   Q.·   ·So, I'm going to hand you Plaintiff's Exhibit 5, marked
 21   ··    ·including asking Lieutenant Allen why that would be, and   21   ··    ·during Chief Hayse's deposition.
 22   ··    ·he also stated he had no idea.· That's not something       22   ··    · · · And now we've got Larry Coogan.· This is about the
 23   ··    ·that I've ever heard of happening.· I don't know why       23   ··    ·same situation I've been talking to you about,
 24   ··    ·that is like that.                                         24   ··    ·Detective, with regard to the McClintock situation and
 25   Q.·   ·Huh.                                                       25   ··    ·investigation.· Take a look at that.

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 ·1   A.· ·Okay.                                                        ·1   A.·   ·Yes.
 ·2   Q.· ·Okay.· Do you recall that Furman was facing suspension       ·2   ··    · · · At that time, Corporal Thompson was also with me.
 ·3   · · ·with or without pay around this time?                        ·3   ··    ·He witnessed me handing him the notice, as well as was
 ·4   · · · · · MS. BALIAN:· Objection.· Lack of foundation.            ·4   ··    ·present during the conversation, including -- I had
 ·5   A.· ·Yes.· I, at the time, was on the union board for our         ·5   ··    ·texted Officer Furman because he didn't -- he was --
 ·6   · · ·patrol union and also friends with Officer Furman. I         ·6   ··    ·which I understood.· He was kind of embarrassed to come
 ·7   · · ·was actually his representative from our union during        ·7   ··    ·to the station.
 ·8   · · ·this incident.                                               ·8   ··    · · · So, he actually asked me to grab a few things out
 ·9   · · · · · So, the communications between Chief Hayse and          ·9   ··    ·of his personal locker for him and give him those, as
 10   · · ·Officer Furman basically went through me.                    10   ··    ·well, because -- at that time, I told him through text
 11   BY MS. GORDON:                                                    11   ··    ·already that -- what was happening as far as the
 12   Q.· ·Okay.· So, what did you communicate to Furman that you       12   ··    ·suspension becoming without pay and that Chief Hayse
 13   · · ·received from the chief in your role as a union              13   ··    ·would be seeking his termination.
 14   · · ·representative?                                              14   Q.·   ·What was Furman's reaction after what you told him that
 15   A.· ·Originally, the first disciplinary action that was taken     15   ··    ·you just described to us?
 16   · · ·against Officer Furman with this was, he was being           16   A.·   ·At that point, he didn't have much of a reaction.· He --
 17   · · ·suspended with pay.· That notice came from Lieutenant        17   ··    ·he -- the initial shock didn't really seem to hit him at
 18   · · ·Allen; however, I was present when that happened, that       18   ··    ·that point.· I think maybe it hit him later when he got
 19   · · ·he had to turn over his firearm and ID, pending the          19   ··    ·home, or maybe he just didn't want to show it in front
 20   · · ·further investigation into this matter by Chief Hayse.       20   ··    ·of us, as when he was originally suspended with pay, he
 21   Q.· ·The McClintock matter?                                       21   ··    ·broke down and was very emotional.· So, I think he was
 22   A.· ·Yes.                                                         22   ··    ·trying to fight that when it changed to unpaid and the
 23   Q.· ·Okay.                                                        23   ··    ·termination was coming.
 24   A.· ·So, he was suspended with pay originally.                    24   ··    · · · However, at the end of it, he was becoming more and
 25   · · · · · Once the investigation was concluded by Chief           25   ··    ·more upset -- at the end of that conversation, he was
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 ·1   ··    ·Hayse, he informed me -- and I believe gave a formal       ·1   ··    ·becoming more and more upset and angry about it, and
 ·2   ··    ·letter -- it was enclosed in an envelope, so I didn't      ·2   ··    ·just kept saying he didn't understand why this was
 ·3   ··    ·read it, but I hand-delivered it to Officer Furman and     ·3   ··    ·happening, and basically kept -- and repeated it several
 ·4   ··    ·was verbally told by Chief Hayse, and I verbally told      ·4   ··    ·times, that "There's rapists and murderers out there,
 ·5   ··    ·Officer Furman that Chief Hayse was changing his           ·5   ··    ·yet I'm getting in trouble for this."
 ·6   ··    ·suspension to without pay, and that he was going to be     ·6   ··    · · · That was basically his stance on it.
 ·7   ··    ·seeking his termination.                                   ·7   Q.·   ·Were you aware that Larry Coogan -- city attorney, I
 ·8   Q.·   ·Okay.· Did you understand the reason he was seeking his    ·8   ··    ·guess, would be the title -- got involved in the matter
 ·9   ··    ·termination?                                               ·9   ··    ·of the discipline of Matthew Furman?
 10   A.·   ·Yes.                                                       10   A.·   ·I was aware that Chief Hayse had attempted to contact
 11   Q.·   ·What was that?                                             11   ··    ·Mr. Coogan in order to see how the City wished Chief
 12   A.·   ·It was for misuse of force against Mr. McClintock          12   ··    ·Hayse to proceed with the termination.
 13   ··    ·throughout -- along with the number of other               13   ··    · · · It's my understanding that the chief can proceed
 14   ··    ·disciplinaries that Officer Furman had already received    14   ··    ·one of two ways, and he can either terminate an officer
 15   ··    ·throughout his career.                                     15   ··    ·outright under his own authority or have it go in front
 16   Q.·   ·Okay.· And some of these issues you've talked about        16   ··    ·of the Safety Commission as far as basically a trial
 17   ··    ·today?                                                     17   ··    ·board.
 18   A.·   ·Yes.                                                       18   Q.·   ·Uh-huh.
 19   Q.·   ·Some of the concerns.                                      19   A.·   ·And he -- it was my understanding that Chief Hayse
 20   ··    · · · So, you did hand Furman an envelope that contained    20   ··    ·attempted several times to contact Mr. Coogan in order
 21   ··    ·paperwork --                                               21   ··    ·to see how Mr. Coogan and the City thought it would be
 22   A.·   ·Yes.                                                       22   ··    ·best to proceed with the termination of Officer Furman.
 23   Q.·   ·-- from the chief with regard to his now being placed on   23   ··    · · · I was unaware of this communication here, though.
 24   ··    ·an unpaid leave or suspension and with termination being   24   Q.·   ·Yeah.
 25   ··    ·requested?                                                 25   ··    · · · So, as you can see, Mr. Coogan is demanding that

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 ·1   · · ·Chief Hayse produce certain things.                          ·1   ··    · · · So, they had to either back the chief and terminate
 ·2   A.· ·Right.                                                       ·2   ··    ·Officer Furman or do what they did.
 ·3   Q.· ·And then were you aware that shortly thereafter,             ·3   ··    · · · That being said, I know that since Chief Hayse was
 ·4   · · ·obviously, within weeks, Chief Hayse was -- a removal        ·4   ··    ·terminated, the City actually went back and gave officer
 ·5   · · ·action was begun against him, and that Furman was --         ·5   ··    ·Furman backpay for the time that he was suspended
 ·6   · · ·this Furman discipline was one of the key reasons?           ·6   ··    ·without pay before they were able to terminate Chief
 ·7   · · · · · Did you learn that?                                     ·7   ··    ·Hayse.· And I don't know if it's common practice or not,
 ·8   A.· ·Yes.· I was at the meeting when they called for Chief        ·8   ··    ·but they did so without notifying his own union.· Nobody
 ·9   · · ·Hayse's original suspension.                                 ·9   ··    ·in our union knew about it.· The only way we found out
 10   Q.· ·Were you aware that he was charged with willful              10   ··    ·about it was, we have a book that is kept in what used
 11   · · ·misconduct in office by the improper issuance of             11   ··    ·to be the dispatch area, that keeps track of vacation
 12   · · ·discipline upon Corporal Furman?                             12   ··    ·time, sick days, personal days, overtime, anything of
 13   A.· ·I was not made aware of the specific reasonings for          13   ··    ·that nature, and the discipline that he received was
 14   · · ·their calling for his termination, no.                       14   ··    ·given -- was erased out of that book and given back to
 15   Q.· ·So, what would your opinion be on why the City of            15   ··    ·him.
 16   · · ·Melvindale would go after Chief Hayse for his attempt to     16   Q.·   ·Right.· We have learned that.
 17   · · ·discipline a police officer who apparently was engaged       17   ··    · · · And in addition he's received a promotion; correct?
 18   · · ·in some activity that was of concern?                        18   A.·   ·Since then, yes.
 19   · · · · · MS. BALIAN:· Objection.· Lack of foundation.            19   Q.·   ·Is anybody -- well, anybody in command, that you're
 20   · · · · · But if you know --                                      20   ··    ·aware of from your vantage point, monitoring his conduct
 21   · · · · · MS. GORDON:· I'm asking for an opinion.                 21   ··    ·vis-à-vis towing and some of the other things we've
 22   A.· ·Yeah.                                                        22   ··    ·discussed here today, or is he pretty much just doing
 23   BY MS. GORDON:                                                    23   ··    ·whatever he wants to do?
 24   Q.· ·You can offer your opinion.                                  24   A.·   ·Now, he is a sergeant, so now he's in charge of whatever
 25   A.· ·Yeah.· My opinion in this matter is that -- that Officer     25   ··    ·shift he's assigned to, which, I believe, at this time
                                                              Page 54                                                                  Page 56
 ·1   ··    ·Furman generates a ton of revenue for the City, and the    ·1   ··    ·is the afternoon shift.
 ·2   ··    ·City didn't really hide it that they held his tow          ·2   ··    · · · So, after 4:30, he is the top-ranking officer at
 ·3   ··    ·numbers in high regard; that that was a big issue for      ·3   ··    ·the department when he's there.· The chief is gone, both
 ·4   ··    ·them.                                                      ·4   ··    ·lieutenants are gone.· So, nobody really monitors him at
 ·5   ··    · · · And I -- I mean, anybody that looked at our numbers   ·5   ··    ·that point.
 ·6   ··    ·would see, if Officer Furman was terminated, they would    ·6   Q.·   ·He said he goes out and tows sometimes after a shift is
 ·7   ··    ·lose a lot of -- the City would lose a lot of revenue.     ·7   ··    ·over.
 ·8   ··    ·Our -- the rest of our officers just -- they don't tow     ·8   A.·   ·Yes.
 ·9   ··    ·cars the way that he does.                                 ·9   Q.·   ·Have you observed that?
 10   ··    · · · And I believe that the City saw that they were        10   A.·   ·Yes.
 11   ··    ·going to lose that when -- you know, if Officer Furman     11   Q.·   ·So, now that he's a sergeant, are the towing numbers --
 12   ··    ·was terminated.· So, I believe that that's why they        12   ··    ·is he still doing the tows?
 13   ··    ·interjected.                                               13   A.·   ·Since he's become a sergeant, I haven't been on the
 14   Q.·   ·They interjected and got rid of the chief and kept on      14   ··    ·afternoon shift, which would be -- or -- I was on the
 15   ··    ·and protected Furman and ensured he didn't even get any    15   ··    ·midnight shift, or now in my assignment where I am, I
 16   ··    ·discipline; correct?                                       16   ··    ·don't report to the department, so I don't know what his
 17   A.·   ·Yeah.· I believe that it was -- at that point it was       17   ··    ·numbers would be recently.
 18   ··    ·either the chief or Furman.                                18   Q.·   ·Fair enough.
 19   ··    · · · I know from my own observations that Chief Hayse      19   ··    · · · You mentioned citizen complaints a couple of times.
 20   ··    ·had plenty of reason to terminate Officer Furman, as       20   ··    · · · Describe to me, from what you know as an officer at
 21   ··    ·well as other officers that observed his behavior          21   ··    ·this department, how citizen complaints are handled.
 22   ··    ·throughout his career.· And the City chose -- like I       22   ··    · · · First of all, what's the way a person can make a
 23   ··    ·said at that point, it was either Chief Hayse or officer   23   ··    ·citizen complaint?
 24   ··    ·Furman because Chief Hayse had made his decision to        24   A.·   ·A citizen can file a complaint by -- they come to the
 25   ··    ·terminate Officer Furman.                                  25   ··    ·front desk at the department.· There's an actual form

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 ·1   ··    ·that you can list of the date and time of the complaint.   ·1   · · · · · So, that's the data that's been produced to us by
 ·2   ··    ·You can list your own name as the complainant, and you     ·2   · · ·the City.
 ·3   ··    ·list the officer or officers' names that you want to       ·3   · · · · · So, you can see that, once Goch came in, the number
 ·4   ··    ·file the complaint against.· And then you just handwrite   ·4   · · ·of tows went way, way up.
 ·5   ··    ·what you believe the officer did that was inappropriate    ·5   A.· ·Yes.
 ·6   ··    ·or wrong, and -- in your own words.                        ·6   Q.· ·And is it your testimony here today -- I think this is
 ·7   ··    · · · It's a narrative portion.                             ·7   · · ·what you're saying -- that Furman is -- is there because
 ·8   ··    · · · Every one of those complaints that are handed in      ·8   · · ·he's effectuating those tows?
 ·9   ··    ·are turned over to the chief of police.                    ·9   A.· ·That's my --
 10   Q.·   ·Okay.· And then what happens as you understand it?         10   · · · · · MS. BALIAN:· Objection.· Lack of foundation.· Calls
 11   A.·   ·It's my understanding that the chief investigates that     11   · · ·for speculation.
 12   ··    ·incident, whether it be speaking directly to the officer   12   BY MS. GORDON:
 13   ··    ·that the complaint is against, whether it be speaking to   13   Q.· ·Go ahead.
 14   ··    ·the other officers that were at the scene, or it could     14   A.· ·That's my belief.· I can't, 100 percent, say why the
 15   ··    ·possibly be just reviewing the body camera footage from    15   · · ·City kept him, but it would appear to myself and other
 16   ··    ·that incident.                                             16   · · ·officers as we've discussed it, that that is why Officer
 17   ··    · · · There's numerous ways that a complaint can be         17   · · ·Furman still is employed with the City of Melvindale.
 18   ··    ·reviewed as -- by the chief.· As well as, sometimes the    18   Q.· ·Did you appear at a Public Safety Commission meeting at
 19   ··    ·chief -- before even asking any questions, the chief       19   · · ·one point and raise a question or a concern about towing
 20   ··    ·just requests all officers that were involved to write a   20   · · ·numbers?
 21   ··    ·narrative just to the chief as far as what their           21   A.· ·Yes.
 22   ··    ·recollection of that incident was.                         22   Q.· ·Okay.· Can you tell us roughly when that would have
 23   Q.·   ·Okay.· And are those kept?                                 23   · · ·been, or exactly if you know?
 24   A.·   ·It's my understanding that they are, yes.                  24   A.· ·Honestly, it would have been, I believe, a day or two
 25   Q.·   ·Okay.· And what about if somebody makes a phone call in    25   · · ·before Chief Hayse's suspension.
                                                              Page 58                                                                  Page 60
 ·1   ··    ·to the station or makes a verbal complaint, either on      ·1   Q.·   ·Okay.· And what did you say at the Public Safety
 ·2   ··    ·the phone or walks in and doesn't fill out the form?       ·2   ··    ·Commission meeting?
 ·3   ··    · · · What happens then; if you know?                       ·3   A.·   ·That was the -- it wasn't -- it was their pre-meeting.
 ·4   A.·   ·I believe it depends on -- kind of all circumstances       ·4   ··    ·They hold a more closed pre-meeting to kind of discuss
 ·5   ··    ·come into play, I believe, at that point, on whether       ·5   ··    ·what they're going to discuss in front of the public
 ·6   ··    ·they believe that the complaint is credible, what the      ·6   ··    ·basically, and that's where this took place.
 ·7   ··    ·complaint is, if the complaint is something that is        ·7   ··    · · · And they were discussing hiring the outside
 ·8   ··    ·reviewable at that point.                                  ·8   ··    ·investigator to look into why the towing numbers were
 ·9   ··    · · · Most -- if the complaints would be over the phone,    ·9   ··    ·down.· And the way that they were discussing it, I -- it
 10   ··    ·it would probably generally go right to the office of      10   ··    ·was as if they were almost arguing with Chief Hayse in
 11   ··    ·the chief, so I wouldn't really hear most of those.        11   ··    ·that he needed to push us officers to tow more cars.
 12   ··    ·However, we do have some people who complain at the        12   ··    · · · And I raised my hand and waited to be called upon
 13   ··    ·front office window and don't want to fill out the form,   13   ··    ·to speak.· And when they called upon me, I informed
 14   ··    ·and those are still investigated to the best -- the        14   ··    ·them -- at that time, I said, "You're wasting your money
 15   ··    ·ability of -- usually at that point, a lieutenant will     15   ··    ·if you're going to hire this investigator.· You can
 16   ··    ·handle that because it's harder to investigate those       16   ··    ·speak to any officer at this department.· Speak to any
 17   ··    ·with less detail, as far as what's in the complaint.       17   ··    ·of us, and we will tell you, without a doubt, why the
 18   Q.·   ·Okay.· I don't know if you're aware of this, but we've     18   ··    ·towing numbers are down.· Furman is mad.· He's not
 19   ··    ·gotten the data on the tows, and we see the number of      19   ··    ·towing cars.· That's why the numbers are down."
 20   ··    ·tows during the first six months under Gene's was 368.     20   ··    · · · Second of all, I told them that it sounded
 21   ··    ·This is in 2015.                                           21   ··    ·dangerously like they wanted a quota as far as towing
 22   A.·   ·Okay.                                                      22   ··    ·cars the way that they were speaking about it.· And the
 23   Q.·   ·And then Gene's contract ended, I think, in June, and      23   ··    ·mayor -- Mayor Striz told me I was out of line and
 24   ··    ·Goch took over, and then there were 1,137 tows in the      24   ··    ·couldn't talk any more, and I needed to sit down.
 25   ··    ·last six months.                                           25   Q.·   ·Okay.· And this was before the official meeting started?

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 ·1   A.·   ·The -- they hold -- I can't remember --                    ·1   A.·   ·Yes.· Yes.
 ·2   Q.·   ·Workshop, I think --                                       ·2   Q.·   ·Okay.· Did you ever hear him voice his opinion of
 ·3   A.·   ·Yes, exactly.· Yep.· It was at the workshop.               ·3   ··    ·African American people?
 ·4   ··    · · · So, the meeting, I believe, is either a day or two    ·4   A.·   ·Yes.
 ·5   ··    ·days after.· That's how I know it was a day or two         ·5   Q.·   ·What did you hear in that regard?
 ·6   ··    ·before Chief Hayes was suspended, because I went to the    ·6   A.·   ·Any time that officers would question his -- him being
 ·7   ··    ·following -- the actual meeting.                           ·7   ··    ·racist or anything of that nature, him racial profiling,
 ·8   Q.·   ·And is that open to the public, that workshop?             ·8   ··    ·anything of that nature, his response was always, "I had
 ·9   A.·   ·I don't believe so.                                        ·9   ··    ·a black friend once, and he stole from me."
 10   Q.·   ·But some members of the police department were there?      10   Q.·   ·And therefore what?
 11   A.·   ·Yes.                                                       11   A.·   ·That's just how he ended it.
 12   Q.·   ·Okay.· So, you were told to sit down and not talk about    12   ··    · · · So, it led anybody reasonably to believe he
 13   ··    ·this further, something to that effect?                    13   ··    ·didn't -- he didn't like black people.
 14   A.·   ·Yes.· She told me I was out of line, and I -- I've         14   Q.·   ·And what we've learned so far is that -- I think from
 15   ··    ·never -- we never had a dialog.· It was just I was out     15   ··    ·him, actually, is that he spent a lot of time on
 16   ··    ·of line and needed to sit down and not talk any more.      16   ··    ·Schaefer Road.
 17   Q.·   ·Did you ever know of any racial profiling by Officer       17   A.·   ·Correct.
 18   ··    ·Furman?                                                    18   Q.·   ·Were you aware of that?
 19   A.·   ·Yes.                                                       19   A.·   ·Yes.· That's where most of his impounds come from, most
 20   Q.·   ·What did you know of in that regard?                       20   ··    ·of his day is spent on Schaefer Road.
 21   A.·   ·Early on in -- when he started getting into the tows --    21   Q.·   ·Okay.· And what is it about Schaefer Road?
 22   ··    ·like I said, I think that was around our year mark, once   22   ··    · · · I'm not as familiar with that part of Schaefer
 23   ··    ·the --                                                     23   ··    ·where -- in Melvindale.
 24   Q.·   ·This is around your one-year mark?                         24   ··    · · · What's going on there?
 25   A.·   ·Correct.                                                   25   A.·   ·It borders -- Schaefer Road is our border with Detroit.
                                                              Page 62                                                                  Page 64
 ·1   Q.· ·So, what year would this be?                                 ·1   Q.·   ·Uh-huh.
 ·2   A.· ·This would have been 2013.                                   ·2   A.·   ·So, a lot of, I guess, towable cars are on Schaefer.
 ·3   Q.· ·Okay.                                                        ·3   ··    ·There's a lot of no insurance, a lot of -- especially
 ·4   A.· ·Maybe early 2014, somewhere in that time frame.              ·4   ··    ·now, what he targets are defective equipment, mostly
 ·5   Q.· ·Okay.                                                        ·5   ··    ·cracked windshield, because he can stop for that.
 ·6   A.· ·That's when he got big into towing cars and looking for      ·6   ··    ·Chances are, they're not going to have insurance and he
 ·7   · · ·reasons to tow cars and that nature.                         ·7   ··    ·tows them.
 ·8   · · · · · It appeared to myself and numerous other officers       ·8   Q.·   ·So, when you say that's mostly what he's doing, why do
 ·9   · · ·on the -- at the department that most of his impounds        ·9   ··    ·you say that?
 10   · · ·were coming from African American drivers.· It just -- I     10   ··    · · · Are you aware of what he's doing?
 11   · · ·mean, by -- I'm confident, if you were able to pull the      11   A.·   ·Yes.· I mean, we can pull up the reports.· If you
 12   · · ·ticket numbers in that time frame, that most of his          12   ··    ·impound a vehicle, you have to do a report on it.· So,
 13   · · ·impounds and tickets were to African American drivers.       13   ··    ·you can check the reports at any time as long as you
 14   Q.· ·Did he talk about stopping African American drivers at       14   ··    ·have access to the system, which, when you're on duty,
 15   · · ·all?                                                         15   ··    ·you can check the reports at any time, as far as the
 16   A.· ·He never verbalized that, no.· I think he -- I think he      16   ··    ·reports from the previous day or weeks, whatever.
 17   · · ·knew that that would -- would really --                      17   ··    · · · And also, once I became a corporal, I was actually
 18   · · · · · MS. BALIAN:· Objection to what you think he knew.       18   ··    ·in charge of approving some of the reports, and that was
 19   · · ·Calls for speculation.                                       19   ··    ·a majority of the reports that were turned in by Officer
 20   BY MS. GORDON:                                                    20   ··    ·Furman --
 21   Q.· ·You can go ahead and offer your opinion.                     21   Q.·   ·I see.
 22   A.· ·Yeah.· I think that he knew that that would look             22   A.·   ·-- were for defective equipment and no insurance to a
 23   · · ·inappropriate.· So --                                        23   ··    ·tow --
 24   Q.· ·Okay.· But this was an observation that you and others       24   Q.·   ·So, he was --
 25   · · ·made?· Is that what you're saying?                           25   A.·   ·-- for impound.

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 ·1   Q.· ·-- spending his day --                                       ·1   ··    · · · Do you know of any others?· Anything about a woman
 ·2   · · · · · THE REPORTER:· Excuse me?                               ·2   ··    ·who he dragged out of the car?
 ·3   A.· ·To a tow and impound.                                        ·3   A.·   ·Yes.
 ·4   BY MS. GORDON:                                                    ·4   Q.·   ·Have you heard about that one?
 ·5   Q.· ·So, he was spending his day, pulling over people with        ·5   A.·   ·Yes.· Yes.
 ·6   · · ·cracked windows so he could then tow them because they       ·6   Q.·   ·What was that about?
 ·7   · · ·didn't have insurance?                                       ·7   A.·   ·That was a traffic stop.· I don't know the legality of
 ·8   A.· ·The majority of it, yes.                                     ·8   ··    ·the stop.· However, he was impounding the vehicle, and
 ·9   · · · · · · (Discussion held off the record.)                     ·9   ··    ·she was refusing to get out of the vehicle.· And so
 10   BY MS. GORDON:                                                    10   ··    ·Officer Furman forcefully pulled her out of the vehicle.
 11   Q.· ·You mentioned citizen complaints and Furman previously.      11   ··    ·And I -- I know that he pushed her over the hood, I
 12   · · · · · What do you know in that regard?· Anything in           12   ··    ·believe, of the patrol car and actually dry stunned her
 13   · · ·particular that you recall?                                  13   ··    ·with his TASER, and then, once the vehicle was
 14   A.· ·He received -- we actually, sadly, became kind of a joke     14   ··    ·impounded, let her go.
 15   · · ·at the department between myself and other officers,         15   ··    · · · So, she filed a complaint, and I believe a lawsuit
 16   · · ·including -- Officer Furman is aware of this -- that we      16   ··    ·as well.
 17   · · ·said that you can basically copy and paste the narrative     17   Q.·   ·Okay.· Did you ever hear him talk about that at all?
 18   · · ·of the citizen complaints and just change the                18   A.·   ·I asked him about it on a personal note as, like I said,
 19   · · ·complainant and maybe location, date and time, that kind     19   ··    ·we were friends.· It's -- it's -- any officer that I've
 20   · · ·of thing.· But most of his complaints were the same;         20   ··    ·ever spoke to -- now, I've had family in law
 21   · · ·that he talked down to them; that he was just                21   ··    ·enforcement.· I have many, many friends in law
 22   · · ·inappropriate in his tone, as well as he would get abuse     22   ··    ·enforcement, especially now with time on the job.· Any
 23   · · ·of force once in a while.· And a lot also were racial        23   ··    ·time you have to put your hands on someone, you have --
 24   · · ·profiling, a lot of African American people were --          24   ··    ·at that point, if you have reason to put your hands on
 25   · · ·especially in the beginning, were coming in, stating         25   ··    ·someone and you do so, they are to go to jail.· That's
                                                              Page 66                                                                  Page 68
 ·1   ··    ·that they believed that they were being stopped by him     ·1   ··    ·just -- I've never -- this is the one and only time I've
 ·2   ··    ·because they were African American.                        ·2   ··    ·ever heard of an officer forcefully putting his hands on
 ·3   Q.·   ·Okay.· Do you know whether any of those were               ·3   ··    ·a suspect and they didn't go to jail -- or, you know,
 ·4   ··    ·investigated?· Do you happen to --                         ·4   ··    ·God forbid, what if they have to go to the hospital.
 ·5   A.·   ·At that time, I was not privy to the investigation, so I   ·5   ··    ·But they're in custody anyway.
 ·6   ··    ·wasn't on the union board when those -- most of those      ·6   ··    · · · This is the only time I've ever heard of that.
 ·7   ··    ·complaints were coming in.· However, I know that the --    ·7   ··    · · · So, I asked Furman why he -- what his thought
 ·8   ··    ·like I said, that the complaint would have gone to Chief   ·8   ··    ·process was, why he did that, because I -- it makes
 ·9   ··    ·Hayse, and I would believe that it was investigated.       ·9   ··    ·about as much sense to me as MSP's investigation or lack
 10   Q.·   ·Do you think Furman had more citizen complaints than the   10   ··    ·thereof.· And he told me that he didn't want to come in
 11   ··    ·other officers?                                            11   ··    ·and book her because that took up his time, and he
 12   A.·   ·I know that he did.                                        12   ··    ·wanted to get back to towing.
 13   ··    · · · I -- actually, I take that back.                      13   Q.·   ·Okay.· I'm going to hand you this tow report from
 14   ··    · · · I do know that those incidents were investigated      14   ··    ·Mr. Jackson.
 15   ··    ·because throughout his career, Officer Furman has been     15   ··    · · · Did Mr. Coogan have any reason, as far as you know
 16   ··    ·disciplined based off those complaints and that he has     16   ··    ·of, to be involved in why -- how many cars were being
 17   ··    ·been sent to a couple different re-trainings and also      17   ··    ·towed, who was towing them, police discipline?
 18   ··    ·sent to a counselor as far as trying to help him, you      18   ··    · · · Did he have any role in that?
 19   ··    ·know, so that way these complaints would stop and he       19   ··    · · · MS. BALIAN:· Objection.· Lack of foundation.
 20   ··    ·could honestly be a better officer.                        20   A.·   ·Not that I'm aware of.· It's my understanding that
 21   Q.·   ·Become more effective?                                     21   ··    ·Mr. Coogan's role with the City is basically to advise
 22   A.·   ·Yes.                                                       22   ··    ·the City on legal matters and what the best course of
 23   Q.·   ·Yeah.                                                      23   ··    ·action would be for the City.· So, as far as
 24   ··    · · · You've mentioned one excessive force or abuse of      24   ··    ·disciplining officers, I would believe his only role
 25   ··    ·force, as you just said, complaint.                        25   ··    ·would be to inform the City if they had legal reason to

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 ·1   · · ·do so.· Short of that, I don't know what else his role       ·1   ··    ·some of you officers might be questioned or talked to.
 ·2   · · ·would be.                                                    ·2   A.·   ·It would have been -- that they were actually doing
 ·3   BY MS. GORDON:                                                    ·3   ··    ·that, I learned that at that workshop.· I'm not sure
 ·4   Q.· ·I had one follow-up to what you were saying a second         ·4   ··    ·what the exact date on that was, but that workshop.
 ·5   · · ·ago.· I'm just going to go back.                             ·5   Q.·   ·Okay.· So, you've already made the point -- the rather
 ·6   · · · · · What family do you have in law enforcement?             ·6   ··    ·obvious point like, "You don't really need to do an
 ·7   · · · · · You mentioned that.                                     ·7   ··    ·investigation.· We all already can see why the numbers
 ·8   A.· ·My father was an officer.· His father was an officer.        ·8   ··    ·are down"?
 ·9   · · ·My dad's uncle was an officer.· And I believe he said        ·9   A.·   ·Right.· I informed the entire council that they could
 10   · · ·like -- which I never met, but he had like three cousins     10   ··    ·speak to any officer at the department, top, highest
 11   · · ·that were officers.                                          11   ··    ·seniority, lowest seniority.· Everyone there knew why
 12   Q.· ·Okay.· Are these local communities --                        12   ··    ·the numbers were down.
 13   A.· ·Yes.                                                         13   Q.·   ·Okay.
 14   Q.· ·-- in Michigan?                                              14   A.·   ·Furman was very verbal, you know, about his -- him being
 15   A.· ·Yeah.                                                        15   ··    ·upset and his idea to stop towing for a while.
 16   · · · · · My dad was an officer in Auburn Hills.· My grandpa      16   Q.·   ·Right.· And, actually, that's right in the report. I
 17   · · ·was an officer with Pontiac P.D., and it would have been     17   ··    ·mean, that's written down right in the report.
 18   · · ·my great uncle was actually the undersheriff of Oakland      18   A.·   ·Yeah.
 19   · · ·County.                                                      19   Q.·   ·Furman doesn't want to tow.· He's, you know, upset.
 20   Q.· ·Okay.· All right.                                            20   A.·   ·Yeah.
 21   · · · · · So, do you have any idea of why Larry Coogan would      21   Q.·   ·So, what was your understanding of what was going to
 22   · · ·have been interviewed as part of the investigation into      22   ··    ·happen with an "investigation"?
 23   · · ·why towing numbers were down?                                23   ··    · · · Because this says -- the document says that
 24   A.· ·No.· I would think that that would be a waste of time.       24   ··    ·Jackson's coming in to determine the reasons for the
 25   · · ·He would have no knowledge of that, unless having spoke      25   ··    ·fluctuation in towing activity by the Melvindale Police
                                                              Page 70                                                                  Page 72
 ·1   ··    ·to Officer Furman.                                         ·1   ··    ·Department.
 ·2   Q.·   ·All right.· So, when did you first hear there was going    ·2   ··    · · · Did you understand that there were going to be
 ·3   ··    ·to be this investigation by Lawrence A. Jackson?           ·3   ··    ·interviews?
 ·4   ··    · · · Well, I guess you didn't know who it was.             ·4   A.·   ·The City never told us anything.· We found -- the way we
 ·5   A.·   ·Around that time of that workshop.                         ·5   ··    ·found out that it had started and that he was going to
 ·6   ··    · · · That's actually why I was going.                      ·6   ··    ·contact some of us is, he called -- somehow he got one
 ·7   Q.·   ·Ah.                                                        ·7   ··    ·of our officer's personal cell phone numbers, which
 ·8   A.·   ·I wanted to hear what was happening.· At that time, I      ·8   ··    ·really upset that officer.· So, that had to come from
 ·9   ··    ·was on the union board.· So, I wanted to represent the     ·9   ··    ·the City, and called that officer on the phone and
 10   ··    ·patrol union, and I -- so, that way I can inform the       10   ··    ·was -- you know, stated "I'm So-and-So.· I'm
 11   ··    ·other patrol officers what was going on.· We were all      11   ··    ·investigating the towing situation."
 12   ··    ·kind of in the dark at that point.                         12   ··    · · · And we, as a union, decided that we would not speak
 13   ··    · · · And so we were -- I wanted to be able to inform the   13   ··    ·to him over the phone because we -- obviously, over the
 14   ··    ·other officers what was happening.                         14   ··    ·phone, he could have been anybody.
 15   Q.·   ·I see.                                                     15   ··    · · · You know, we just, as a union, decided that we
 16   ··    · · · You were trying to obtain some information?           16   ··    ·weren't going to speak on the matter with anybody.· We
 17   A.·   ·Yes.                                                       17   ··    ·told the City up front that the investigation was
 18   Q.·   ·Okay.· So, you learned about this, how?                    18   ··    ·pointless.
 19   ··    · · · And by the way, the date of his -- his report was     19   Q.·   ·Who did you tell?· The Public Safety Commission?
 20   ··    ·submitted, if this helps you time-wise, is August 9,       20   A.·   ·Yes.
 21   ··    ·2016.                                                      21   Q.·   ·Okay.· So, some people were interviewed.
 22   ··    · · · So, what's the first thing you learned about that?    22   A.·   ·I know that he contacted at least two officers.· I don't
 23   A.·   ·About the conclusion of his investigation?                 23   ··    ·know -- I don't believe they actually gave him much
 24   Q.·   ·No.· About the fact that somebody was going to be coming   24   ··    ·information, if any, but I don't know 100 percent for
 25   ··    ·in, and that the police -- I assume the idea was that      25   ··    ·that.· I wasn't there when those conversations took

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 ·1   ··    ·place.· This is just what they told me after the fact.     ·1   A.· ·He's hardworking.· Nobody trusts him.· Most officers
 ·2   Q.·   ·So, here is what the report says:                          ·2   · · ·feel he shouldn't be a cop.
 ·3   ··    · · · · · ·"Four members of the patrol division were        ·3   Q.· ·Okay.· So, I'm going to hand you the document I referred
 ·4   ··    · · · asked to interview."                                  ·4   · · ·to early on, which is the policy review by Jackson.
 ·5   ··    · · · So, he picked four people to ask.                     ·5   · · ·It's Bates stamp 1273 through 1283.
 ·6   A.·   ·Yes.· I was told that he contacted a few.                  ·6   · · · · · I'm not going to ask you about all of it.
 ·7   Q.·   ·And one declined.                                          ·7   A.· ·Okay.
 ·8   ··    · · · So, there were three apparently that he talked to.    ·8   · · · · · MS. GORDON:· Melinda?
 ·9   A.·   ·Okay.                                                      ·9   · · · · · MS. BALIAN:· Thank you.
 10   Q.·   ·And Furman is one of them, according to this report.       10   BY MS. GORDON:
 11   A.·   ·Okay.                                                      11   Q.· ·Have you seen this before?
 12   Q.·   ·He says:                                                   12   A.· ·No.
 13   ··    · · · · · ·"During these interviews all officers            13   Q.· ·Okay.· Let's go to -- all right.· I'm going to have you
 14   ··    · · · requested anonymity in this report.· To honor         14   · · ·read the first page.
 15   ··    · · · their request, names of the interviewees are          15   A.· ·Okay.
 16   ··    · · · not included here.· The single exception is           16   · · · · · All right.
 17   ··    · · · Corporal Matthew Furman.· Furman agreed to be         17   Q.· ·Okay.· So, you see here that Jackson is talking about
 18   ··    · · · identified as he is central to many of the            18   · · ·factors, and you can have external factors and you can
 19   ··    · · · issues in this report."                               19   · · ·have internal factors within the control of the City.
 20   ··    · · · So, we know it's Furman, and then there's two         20   · · · · · What is your opinion on his point about there are
 21   ··    ·others.                                                    21   · · ·some things that are within the control of the City?
 22   ··    · · · Do you happen to know if Easton was one of them?      22   · · · · · And by that, I mean with regard to your particular
 23   A.·   ·He would have been in the supervisor's union, and I        23   · · ·department and towing.
 24   ··    ·don't know.· Officer Easton and I don't speak whenever     24   A.· ·There are things that the police department could
 25   ··    ·it can be avoided.                                         25   · · ·control that would affect the numbers of tows, in
                                                              Page 74                                                                  Page 76
 ·1   Q.·   ·Why is that?                                               ·1   ··    ·that -- actually since this has happened -- this was
 ·2   A.·   ·Officer Easton hates me and has been trying to get me      ·2   ··    ·later than this, we have gone to a different patrol
 ·3   ··    ·fired for about three and half years.                      ·3   ··    ·system in the way we patrol the City.· We've actually
 ·4   Q.·   ·Why is that as you understand?                             ·4   ··    ·broke it up into two zones, an A zone and a B zone.
 ·5   A.·   ·I don't know.· I've actually asked around to the guys at   ·5   ··    · · · Had this happened at this time, Corporal Furman's
 ·6   ··    ·the department what his issue is with me.                  ·6   ··    ·supervisor could have put him off of Schaefer, which
 ·7   ··    · · · The only explanation I was ever given was, when I     ·7   ··    ·would have -- he still would have found tows, I'm sure,
 ·8   ··    ·became a detective, it really upset Officer Easton -- or   ·8   ··    ·but I know it would have knocked the numbers down.
 ·9   ··    ·at the time Sergeant Easton -- due to the fact that he     ·9   ··    · · · So, that -- it could have happened.· However, like
 10   ··    ·enjoys power and authority, and I didn't answer directly   10   ··    ·I said at this time, this was not in place.· This didn't
 11   ··    ·to him any more.· I had a sergeant and a lieutenant in     11   ··    ·happen until roughly a year later.
 12   ··    ·the detective bureau that I answered to directly, and I    12   Q.·   ·Okay.· If you go to the second page, and under
 13   ··    ·was told that that upset him.                              13   ··    ·"Documents Reviewed" -- I'm sorry.· Under "Interviews,"
 14   ··    · · · But that's the only answer I've ever been given.      14   ··    ·it says four members were interviewed.· It gives the
 15   Q.·   ·Okay.· And by the way, how -- how are you getting along    15   ··    ·dates.· It says Larry Coogan was interviewed.· Mike Goch
 16   ··    ·with Chief Allen?                                          16   ··    ·was interviewed.
 17   A.·   ·We're on -- we're good.                                    17   ··    · · · And then it says:
 18   Q.·   ·And how about Lieutenant Welch, when he was still there    18   ··    · · · · · ·"During the interviews, all participants
 19   ··    ·and around?                                                19   ··    · · · agreed that Corporal Matt Furman produces the
 20   A.·   ·We were fine.                                              20   ··    · · · largest amount of impounded vehicles.· All three
 21   Q.·   ·Okay.· And how about Chief Hayes?                          21   ··    · · · attributed the drop in impounded vehicles as a
 22   A.·   ·We're friends.                                             22   ··    · · · result of his absence on the road."
 23   Q.·   ·Okay.· What was the officers in the department, the        23   ··    · · · That's what you've been saying.· Everybody -- that
 24   ··    ·non-command staff's takeaway, from what you could          24   ··    ·was widely understood; correct?
 25   ··    ·discern, of Furman?                                        25   A.·   ·Right.· Yes.

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 ·1   Q.·   ·Okay.· Now go down to Point Number 1 under "Interview      ·1   ··    ·Towing.· They are very good friends.· They still hang
 ·2   ··    ·Content," where it says:                                   ·2   ··    ·out and speak on a regular basis to this day.
 ·3   ··    · · · · · ·"During these interviews, it quickly became      ·3   Q.·   ·What's his name; if you recall?
 ·4   ··    · · · clear --"                                             ·4   A.·   ·I can look it up, if you would like --
 ·5   ··    ·and just for the record, let me stop myself.               ·5   Q.·   ·That's okay.
 ·6   ··    · · · This is Furman, I guess, and two other people he's    ·6   A.·   ·-- but I don't recall off the top of my head.
 ·7   ··    ·talking about, unless he's including Coogan.               ·7   Q.·   ·Okay.
 ·8   ··    · · · · · ·"During these interviews, it quickly became      ·8   A.·   ·Oh, it's Paul, because it's the owner.· His name is
 ·9   ··    · · · apparent that there was considerable personal         ·9   ··    ·Paul, and it's Paul, Jr.
 10   ··    · · · emotion and conflict associated with the              10   Q.·   ·Okay.· Number four:
 11   ··    · · · impound/towing issue.· All officers stated that       11   ··    · · · · · ·"Officers related a frequent stream of
 12   ··    · · · Chief Hayse and Lieutenant Welch hate Mike Goch       12   ··    · · · invective into Goch and his company.· They
 13   ··    · · · and his company.· All related experiences where       13   ··    · · · mentioned several times that Welch told them
 14   ··    · · · the chief and lieutenant ordered officers 'not to     14   ··    · · · that Goch is a crook."
 15   ··    · · · make that fucking Goch more money.'· They             15   ··    · · · I think you've already addressed this, but I'd like
 16   ··    · · · mentioned this was a typical comment whenever         16   ··    ·you to specifically talk about that, whether you ever
 17   ··    · · · Corporal Furman or others requested towing            17   ··    ·heard that or not?
 18   ··    · · · services."                                            18   A.·   ·Not that specific phrase, but I -- like I said, our
 19   ··    · · · Do you have any information on the point made in      19   ··    ·entire department, and then you can look at the numbers
 20   ··    ·Number 1?                                                  20   ··    ·and see that they charged much more than Gene's did.· We
 21   A.·   ·I have never heard Chief Hayse or Lieutenant Welch state   21   ··    ·all felt that -- and myself included that Goch was kind
 22   ··    ·that they hate Mike Goch nor did I ever hear Chief Hayse   22   ··    ·of ripping off our citizens.· Having your car impounded
 23   ··    ·or Lieutenant Welch make the following statement of "not   23   ··    ·is bad enough, and then, to make it worse, a lot of --
 24   ··    ·to make that fucking Goch any more money."                 24   ··    ·especially since the switchover to Goch, a lot of people
 25   ··    · · · I will say that our entire department was happy       25   ··    ·had a hard time getting their car back out.· Usually --
                                                              Page 78                                                                  Page 80
 ·1   ··    ·with Gene's.· So, none of us, including Officer Furman,    ·1   ··    ·especially with Furman's tows was for no insurance.
 ·2   ··    ·wanted to switch over to Goch, including -- officers did   ·2   ··    · · · Most of the time that that happened was because the
 ·3   ··    ·complain about Goch's company, never about Mike            ·3   ··    ·people couldn't afford insurance, which -- and, again,
 ·4   ··    ·personally, at least not in front of me.· The service      ·4   ··    ·it was legal for him to tow those cars, but then you
 ·5   ··    ·was much faster for Gene's, especially at the beginning,   ·5   ··    ·give them this astronomical towing fee and impound fee
 ·6   ··    ·which is probably normal, but it's also normal for         ·6   ··    ·that they can't afford because they just had to get
 ·7   ··    ·people to not like change.                                 ·7   ··    ·insurance on their car that they already couldn't afford
 ·8   ··    · · · So, the department didn't want the change.· We        ·8   ··    ·because they can't get it out without insurance, it just
 ·9   ··    ·wanted to keep Gene's.· And officers, including Officer    ·9   ··    ·seemed almost like you were double-dipping them at that
 10   ··    ·Furman and myself, felt that Goch -- I mean, it's true.    10   ··    ·point.· And that was the opinion of most of the officers
 11   ··    ·Goch charged a lot more money than Gene's would.· We       11   ··    ·at the department.
 12   ··    ·felt our citizens were being ripped off.· And, again,      12   Q.·   ·Look at Number 6, if you would, please, on the next
 13   ··    ·that included Officer Furman.                              13   ··    ·page.
 14   Q.·   ·Uh-huh.                                                    14   ··    · · · · · ·"All interviewees related hearing Chief
 15   A.·   ·But I never heard those statements made that are in that   15   ··    · · · Hayse and Mike Welch disparaging city
 16   ··    ·point.                                                     16   ··    · · · administrators, including the city council and
 17   Q.·   ·Go to Number 2, if you would.                              17   ··    · · · the city attorney, as being on the take."
 18   ··    · · · It's an attribution to some witnesses who did not     18   ··    · · · Did you ever hear that?
 19   ··    ·cite their source, and they're just theorizing that        19   A.·   ·No.
 20   ··    ·Hayse and Welch were personal friends with the owner of    20   ··    · · · Well, not from them.· I've heard, through this
 21   ··    ·Gene's Towing and so on.                                   21   ··    ·investigation, that people are alleging that Chief Hayse
 22   ··    · · · Do you know anything about Point Number 2 there?      22   ··    ·had said that.
 23   A.·   ·The only friends that I know that were between our         23   ··    · · · So, I've heard of that allegation, but I've never
 24   ··    ·department and anybody a part of Gene's Towing was         24   ··    ·heard that come from Chief Hayse or Lieutenant Welch.
 25   ··    ·Corporal Furman with the son of the owner of Gene's        25   Q.·   ·And how about the next part?

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 ·1   ··    · · · · · ·"They also witnessed them --"                    ·1   · · ·chief that he has worked for at the City of Melvindale,
 ·2   ··    ·that would be Welch and Hayse --                           ·2   · · ·including now Chief Allen.
 ·3   ··    · · · · · ·"-- calling the mayor a 'bitch,' 'whore,'        ·3   · · · · · Officer Easton is a very vindictive person.· Every
 ·4   ··    · · · 'slut,' 'cunt' in the presence of officers."          ·4   · · ·officer there knows it.· Half the department has turned
 ·5   ··    · · · Have you ever heard anything about that?              ·5   · · ·in letters against him as far as his conduct as an
 ·6   A.·   ·No.                                                        ·6   · · ·officer, whether it be on or off duty, mostly on, which
 ·7   ··    · · · I honestly believe that statement to be a lie.        ·7   · · ·I believe would probably be worse.
 ·8   ··    ·I've never heard -- as I stated earlier that Chief Hayse   ·8   · · · · · So, I believe that Officer Easton did this because
 ·9   ··    ·and I are friends.· I've never heard Chief Hayse use       ·9   · · ·he wanted to -- he wanted the chief's position.
 10   ··    ·that kind of language, ever, even just in a personal       10   · · · · · And has actually, from what I was told, been
 11   ··    ·setting.· And I've never heard Lieutenant Welch say that   11   · · ·recorded as saying so on one of our body cameras, that
 12   ··    ·about the mayor or anybody on the city council.            12   · · ·he stated that when Chief Hayse was fired that he should
 13   Q.·   ·Did you know Welch was -- I'll say lost his job, but       13   · · ·be chief, that Chief Allen didn't deserve the position,
 14   ··    ·maybe that's not exactly technically correct, because he   14   · · ·that it should be Officer Easton that is the chief.
 15   ··    ·allegedly lied at the hearing about this?                  15   · · · · · So, I believe his reason for doing this was he
 16   A.·   ·I was informed that they were going to fire him at         16   · · ·thought that he could possibly become chief.
 17   ··    ·that -- his meeting or whatever, and that basically the    17   BY MS. GORDON:
 18   ··    ·union was able to kind of argue back for him to only be    18   Q.· ·What about Officer Kennaley?
 19   ··    ·suspended for 30 days.                                     19   · · · · · He was the third person -- Furman, Easton,
 20   Q.·   ·And did you -- were you aware it was because Larry         20   · · ·Kennaley -- I believe that the record will reflect, that
 21   ··    ·Coogan, and whoever else, decided that he had lied at      21   · · ·backed up these so-called profanities used by Welch and
 22   ··    ·the hearing about this?                                    22   · · ·Hayse.
 23   A.·   ·Yes.· That's what I was told.                              23   · · · · · What do you know about Kennaley and a possible
 24   Q.·   ·Did you ever have any officers tell you that they heard    24   · · ·motivation for him to say that?
 25   ··    ·Welch or Hayse use this kind of language?                  25   A.· ·I wouldn't know his motivation.· Everybody at the
                                                              Page 82                                                                  Page 84
 ·1   A.·   ·No.                                                        ·1   ··    ·department knows that I'm friends with Chief Hayse.· So,
 ·2   Q.·   ·So, I guess the people that testified to this --           ·2   ··    ·since this -- since this entire incident happened, it's
 ·3   ··    ·"testified," that's the wrong word.· There was no          ·3   ··    ·not talked about much in front of me in that they know
 ·4   ··    ·testimony, I don't think.                                  ·4   ··    ·that I support Chief Hayse.· So, I would have no idea
 ·5   ··    · · · But who has talked about this at this hearing was     ·5   ··    ·what Officer Kennaley's reason for that would have been.
 ·6   ··    ·Furman.· He said that he heard this language.              ·6   Q.·   ·How is it you're friends with Chief Hayse?
 ·7   ··    · · · So, does that resonate with you with regard to his    ·7   ··    · · · Did you meet when you joined the department?
 ·8   ··    ·credibility on that?                                       ·8   A.·   ·I had probably met him at shift change maybe a dozen
 ·9   A.·   ·As I stayed earlier, I believe that statement is just a    ·9   ··    ·times prior to me becoming a detective.· Once I became a
 10   ··    ·lie.                                                       10   ··    ·detective, we worked the same hours, and it's a small
 11   ··    · · · When this whole thing came to be, as I, again,        11   ··    ·department.· So, just throughout working together, we
 12   ··    ·stated earlier, at that point, it was either Chief Hayse   12   ··    ·became friends in that way.
 13   ··    ·who was going to lose his job or Officer Furman who was    13   Q.·   ·Okay.· And you thought he did a good job as a chief?
 14   ··    ·going to lose his job.· So, I believe he was in a          14   A.·   ·Absolutely.
 15   ··    ·self-preservation mode and was willing to do what needed   15   Q.·   ·Okay.· What was the morale like there?
 16   ··    ·to be done, and he did that.                               16   ··    · · · I've heard stuff about morale issues under Chief
 17   Q.·   ·And then Easton also said something to that effect.        17   ··    ·Hayse.
 18   ··    · · · Do you know why he would be willing to say those      18   A.·   ·While he was chief?
 19   ··    ·things at a hearing?                                       19   Q.·   ·Yeah.
 20   A.·   ·Excuse me.                                                 20   A.·   ·I loved working there, including -- specifically for me,
 21   ··    · · · MS. BALIAN:· I'm going to place an objection as to    21   ··    ·I became a detective very early in my career which then
 22   ··    ·speculation.                                               22   ··    ·allowed me to go to some more trainings and things of
 23   ··    · · · But you can answer.                                   23   ··    ·that nature, which would have -- would look really
 24   A.·   ·It's been told to me that Officer Easton has taken and     24   ··    ·promising on a resumé.· And to be honest, our department
 25   ··    ·filed formal complaints with the City against every        25   ··    ·doesn't pay that great, and we don't have a pension. I

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 ·1   ··    ·had numerous people, including some of the command from    ·1   ··    · · · · · ·"A vocal campaign of negative comments and
 ·2   ··    ·our department, stating that I should probably leave, go   ·2   ··    · · · actions was reported by all officers."
 ·3   ··    ·to a department that would pay more money and definitely   ·3   ··    · · · Again, we're talking about three people.
 ·4   ··    ·give me a pension with having -- being able to put those   ·4   A.·   ·Okay.
 ·5   ··    ·things on my resumé.                                       ·5   Q.·   ·(Reading.)
 ·6   ··    · · · I never even applied any place else 99 percent due    ·6   ··    · · · · · ·"Even Mr. Goch had heard some of the
 ·7   ··    ·to the morale at this department.· The guys -- almost      ·7   ··    · · · stories regarding the rejection of his food
 ·8   ··    ·all the guys got along.· We would hang out together        ·8   ··    · · · and flower donations.· This tension is
 ·9   ··    ·outside of work.· It was relaxed, which suited me. I       ·9   ··    · · · affecting the police department.· The question
 10   ··    ·enjoyed it.                                                10   ··    · · · is, how much?· The anger and verbal direction
 11   Q.·   ·And what's happened since this whole situation with        11   ··    · · · from Chief Hayse and Lieutenant Welch are
 12   ··    ·Chief Hayse and him being taken down?                      12   ··    · · · communicated very effectively."
 13   A.·   ·Where we're at currently today, I would say we're          13   ··    · · · Do you know what that is in reference to?
 14   ··    ·getting close to getting back to that.· Where we were at   14   A.·   ·Numerous officers, including myself, not under any
 15   ··    ·when Chief Hayse was fired was horrible.                   15   ··    ·direction by Chief Hayse or Lieutenant Welch, but under
 16   ··    · · · There was only two officers at the department that    16   ··    ·our own power, if you will, would reject eating the food
 17   ··    ·were happy at the department, including Officer            17   ··    ·that Mike Goch was bringing because it appeared
 18   ··    ·Kennaley.· He was not happy with what happened.· The       18   ··    ·inappropriate.· It was as if he was trying to bribe us
 19   ··    ·only two officers that were happy were Sergeant Easton     19   ··    ·into giving the contract to him for his towing company.
 20   ··    ·and Officer Furman, including Sergeant Easton trying to    20   ··    · · · So, many officers, like I said, including myself,
 21   ··    ·throw it in my face -- I think to bait me to get me in     21   ··    ·didn't want to eat the food that he was bringing.
 22   ··    ·trouble.· He kept telling me how great it was now          22   ··    ·Again, it just seemed very inappropriate.
 23   ··    ·there -- I mean specifically to me, which, again,          23   ··    · · · I was unaware of any flower donations, though.
 24   ··    ·everybody knew at that point that I was friends with       24   Q.·   ·There's been evidence in this -- I think it was a
 25   ··    ·Chief Hayse.· Which I -- I had officer or chief -- at      25   ··    ·Christmas poinsettia or something like that.
                                                              Page 86                                                                  Page 88
 ·1   ··    ·the time Chief Allen look into that because I wanted       ·1   A.·   ·Okay.
 ·2   ··    ·that to stop.· I didn't want him throwing it in my face    ·2   Q.·   ·There's been some testimony in this case that -- or some
 ·3   ··    ·that my friend was just fired.· It was inappropriate for   ·3   ··    ·evidence -- I'm not sure if it's testimony -- that
 ·4   ··    ·any workplace, which I had other officers hear him say,    ·4   ··    ·Furman has told people he has tapes of Chief Hayse -- I
 ·5   ··    ·but Sergeant Easton lied about it and said he didn't say   ·5   ··    ·think it's something like directing him to -- this would
 ·6   ··    ·it, so the investigation was dropped at that point.        ·6   ··    ·be a paraphrase -- "stop African American drivers and
 ·7   ··    · · · But all the officers were just kind of down.· They    ·7   ··    ·impound their cars," or something to that effect.
 ·8   ··    ·stopped -- we honestly kind of just even stopped joking    ·8   A.·   ·It was me he told that to.
 ·9   ··    ·around with each other because you were afraid what --     ·9   Q.·   ·Oh, okay.· Go ahead.
 10   ··    ·honestly what Sergeant Easton or what Officer Furman       10   ··    · · · What did he say?
 11   ··    ·would go and tell the City you said, whether you           11   A.·   ·Whenever Chief Hayse's name is brought up in front of
 12   ··    ·actually said it or not.· So, you didn't even want to      12   ··    ·Officer Furman, it immediately is followed by, "That guy
 13   ··    ·really get close to any sort of boundary or anything of    13   ··    ·is an asshole," or "That guy is --" it's derogatory,
 14   ··    ·that nature.                                               14   ··    ·always from Officer Furman in regards to Chief Hayse.
 15   ··    · · · It was just very stiff.· Nobody enjoyed it,           15   ··    · · · And the last time that this came up was, say,
 16   ··    ·including Chief Allen who got promoted to chief.· He       16   ··    ·roughly a month ago, somewhere in that time frame.· And
 17   ··    ·didn't like it.· In fact, I still don't think he's very    17   ··    ·I don't -- I don't remember the context of the
 18   ··    ·happy.· He's kind of -- like I said, he's just now kind    18   ··    ·conversation as to why we were speaking of Chief Hayse,
 19   ··    ·of smoothing out the waters and getting everything back    19   ··    ·but it was in front of Officer Furman, and he
 20   ··    ·to normal, but --                                          20   ··    ·immediately went to "Oh, F that guy.· He's just an
 21   Q.·   ·On page 1277 of this report -- let me see what             21   ··    ·asshole."
 22   ··    ·paragraph.                                                 22   ··    · · · And I immediately told Officer Furman to stop, and
 23   ··    · · · It's the next page actually.· It's "Conclusion 2."    23   ··    ·that he knows I'm his friend.· When I was friends with
 24   ··    · · · It's on the bottom, 1277.· It's under "Conclusion     24   ··    ·Officer Furman and he was getting in trouble at the
 25   ··    ·2."                                                        25   ··    ·department, I didn't let the guys talk bad about him in

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 ·1   ··    ·front of me.· I'm not going to let Officer Furman talk     ·1   ··    ·happening without at least being able to either resell
 ·2   ··    ·bad about Chief Hayse in front of me.· I just -- it's      ·2   ··    ·the car or getting something from it, because,
 ·3   ··    ·not appropriate.· I don't want to hear it.· If you want    ·3   ··    ·obviously, somebody else would have purchased the
 ·4   ··    ·to go to your buddies and mouth Chief Hayse, then do it    ·4   ··    ·vehicle.
 ·5   ··    ·outside of work.· It's just not appropriate.               ·5   ··    · · · So, I would either help with that or help in that I
 ·6   ··    · · · And he said something along the lines of "If you      ·6   ··    ·would write down which car sold to which bidder, which
 ·7   ··    ·only knew."                                                ·7   ··    ·bidder number, and the price that it sold for.· And
 ·8   ··    · · · So, I inquired.· I said, "What are you talking        ·8   ··    ·then, back at the station, I would collect the money and
 ·9   ··    ·about?"                                                    ·9   ··    ·write out a receipt to the buyer for that.
 10   ··    · · · And he said, "Chief Hayse --" well, he doesn't --     10   Q.·   ·So, this was while Goch & Sons was doing the towing?
 11   ··    ·he goes, "Hayse -- I've got audio and visual recordings    11   A.·   ·Correct.· It was only while Goch and Sons was there.
 12   ··    ·of Hayse ordering me to target minorities."                12   Q.·   ·Am I correct that there has to be a police officer
 13   ··    · · · And that's a quote from Officer Furman.· Those were   13   ··    ·present at the auction by law?
 14   ··    ·his exact words to me.                                     14   A.·   ·I don't know about that.· That makes sense to me, but I
 15   ··    · · · And I -- so, I asked him to let me see them or hear   15   ··    ·don't know about that for sure.
 16   ··    ·them.· He said that he would.                              16   Q.·   ·Was there always a Melvindale police officer present?
 17   ··    · · · And the next time I saw Officer Furman was            17   A.·   ·Every auction that I was a part of, there was at least
 18   ··    ·within -- within a week, anyway.· The next time I saw      18   ··    ·three.
 19   ··    ·him was, again, at work.· I asked him about the            19   Q.·   ·Okay.· And somebody from Goch was there as well?
 20   ··    ·recordings, and he stated that he couldn't show them to    20   A.·   ·Correct.· Goch actually ran the auction.· Not Mike
 21   ··    ·me because his attorney told him not to.                   21   ··    ·himself, but the company ran the auction and that of
 22   Q.·   ·Did he say who his attorney was?                           22   ··    ·calling out prices and which car we were on and things
 23   A.·   ·I didn't ask; he didn't say.                               23   ··    ·like that.
 24   Q.·   ·So, what did you make of that?· Did you think he was       24   Q.·   ·Who used to do that before Goch got the contract?· So --
 25   ··    ·lying?                                                     25   A.·   ·As far as who ran it?
                                                              Page 90                                                                  Page 92
 ·1   A.·   ·I know he was lying.· Chief Hayse would never do that.     ·1   Q.·   ·Yeah.
 ·2   Q.·   ·Okay.· All right.· Were you ever involved in auctions?     ·2   A.·   ·I was told it was us.· I don't know specifically who,
 ·3   A.·   ·Yes.                                                       ·3   ··    ·but I was told it was the police department who would
 ·4   Q.·   ·Okay.· When was that?                                      ·4   ··    ·run the auction before, when it was Gene's.
 ·5   A.·   ·It was towards the end of my being in the detective        ·5   Q.·   ·Did Goch do anything other than what you've just
 ·6   ··    ·bureau, so that was the end of 2016.· So, it was           ·6   ··    ·described, which would be to describe the vehicle and
 ·7   ··    ·probably the last maybe year that I -- maybe a little      ·7   ··    ·take bids?
 ·8   ··    ·longer than that, that I was in the detective bureau.      ·8   ··    · · · Did they play any other role?
 ·9   ··    · · · So, around about 2016 to 2017.                        ·9   A.·   ·Not that I can think of.
 10   Q.·   ·Okay.· And what was your role?                             10   ··    · · · Well, they were the ones who would take everybody's
 11   A.·   ·I would assist Lieutenant Welch in getting the cars        11   ··    ·license and give them a bidder number.
 12   ··    ·ready for auction, meaning removing the license plates     12   Q.·   ·Okay.
 13   ··    ·and researching the vehicles just in case the officers     13   A.·   ·So, they were in charge of that.· That's the way they
 14   ··    ·that impounded them missed anything, whether it be         14   ··    ·ran it during the auctions that I was a part of.
 15   ··    ·narcotics, a gun, needles anything that -- illegal that    15   ··    · · · That way, basically, we held onto your license in
 16   ··    ·obviously we don't want in the vehicle that we're          16   ··    ·case you didn't give a deposit.· Again, it was just kind
 17   ··    ·selling.                                                   17   ··    ·of an insurance thing.
 18   ··    · · · And then, on the day of the auction, I would be       18   Q.·   ·Okay.· And how many people typically attended these
 19   ··    ·present at the auction, again with Lieutenant Welch. I     19   ··    ·auctions?
 20   ··    ·would -- the way that they ran it varied from --           20   A.·   ·That depended mostly on the weather.
 21   ··    ·sometimes from auction to auction.· I would either help    21   ··    · · · For the nicer days, it may be 30 to 40 people.
 22   ··    ·collect the -- I don't -- not a donation but if -- a       22   ··    · · · In the winter months, maybe 20 to 30.
 23   ··    ·deposit.· If you purchased a vehicle, you had to leave a   23   Q.·   ·And how many auctions were there?· How often did they
 24   ··    ·deposit with us before you left because sometimes we --    24   ··    ·occur?
 25   ··    ·people would change their mind.· We didn't want that       25   A.·   ·At that point we were doing one every other month.

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 ·1   Q.·   ·Okay.· And did that change?                                ·1   Q.·   ·How about -- go ahead.
 ·2   A.·   ·I think it has changed now, but I don't know --            ·2   A.·   ·But I do know from Officer Furman and I talking about it
 ·3   Q.·   ·Okay.                                                      ·3   ··    ·that he's purchased multiple -- that Officer Furman has
 ·4   A.·   ·-- for sure.                                               ·4   ··    ·purchased multiple vehicles from our auctions.
 ·5   Q.·   ·So, you were there, when you were in the detective         ·5   Q.·   ·How about Goch?· Did he ever purchase vehicles, or his
 ·6   ··    ·department, to fill out paperwork?                         ·6   ··    ·son or family members?
 ·7   A.·   ·For the auction?                                           ·7   A.·   ·Yes.· I do know that vehicles were purchased for him. I
 ·8   Q.·   ·Uh-huh.                                                    ·8   ··    ·don't -- I don't think -- in fact, I know that he never
 ·9   A.·   ·Excuse me.· Yes.                                           ·9   ··    ·bid on them while at the auctions I was at, but I was
 10   ··    · · · And then, again, once we returned to the station,     10   ··    ·told that the -- some of the vehicles were purchased for
 11   ··    ·that's where we would collect the payments for the         11   ··    ·people in his family.
 12   ··    ·vehicles and give them the paperwork and the keys and      12   Q.·   ·Were you aware Furman would walk through the auto
 13   ··    ·all that.· That would actually happen back at the          13   ··    ·impound lot a few days before the auction to sort of see
 14   ··    ·station.                                                   14   ··    ·what was available?
 15   ··    · · · So, once back at the station, I actually was the      15   A.·   ·Yes.· I've personally seen him do that.· Sometimes he
 16   ··    ·one who collected the money, for every auction that I      16   ··    ·would come down while Lieutenant Welch and I were
 17   ··    ·was a part of, and would fill out the receipts for the     17   ··    ·prepping the vehicles, like I said, taking the plates
 18   ··    ·payments.                                                  18   ··    ·off and re-searching them and that.· He would go down
 19   Q.·   ·Was the money in cash usually or not?                      19   ··    ·there and see what was up for auction.
 20   A.·   ·The only people that we would take a payment other than    20   Q.·   ·Did -- were you aware of a girlfriend of Matthew
 21   ··    ·cash from was somebody that Lieutenant Welch and           21   ··    ·Furman's ever purchasing a car for him or a friend?
 22   ··    ·Sergeant Slaughter had -- were comfortable that they had   22   A.·   ·No, I wasn't aware of that.
 23   ··    ·been to many auctions.· It was usually salvage yards who   23   Q.·   ·Did you ever hear a citizen complaint being brought
 24   ··    ·would purchase five, six, seven cars at each auction and   24   ··    ·against him with regard to taking the license of a
 25   ··    ·had been to multiple auctions, and that the checks had     25   ··    ·female he stopped?
                                                              Page 94                                                                  Page 96
 ·1   ··    ·always cleared from.                                       ·1   A.·   ·Yes.
 ·2   ··    · · · But anybody who they didn't recognize, it was         ·2   Q.·   ·What did you hear of?
 ·3   ··    ·always cash.                                               ·3   A.·   ·I was told that a female that he was either seeing or
 ·4   Q.·   ·Furman testified that he believed Welch was either         ·4   ··    ·dating or whatever, what have you, that she filed a
 ·5   ··    ·embezzling money or skimming money.                        ·5   ··    ·complaint with the department, that Officer Furman
 ·6   ··    · · · Do you have a comment on that based on your working   ·6   ··    ·stopped her like for a traffic stop, and got her
 ·7   ··    ·on auctions with Welch?                                    ·7   ··    ·driver's license through the course of that stop, and
 ·8   A.·   ·While I was working with him --                            ·8   ··    ·then, at the end of the stop, told her that he was going
 ·9   Q.·   ·Yeah.                                                      ·9   ··    ·to hold onto her license, and she had to come to his
 10   A.·   ·-- it would have been impossible for him to do because     10   ··    ·house to retrieve the license and that -- implying that
 11   ··    ·he never handled the money until it was completely over    11   ··    ·she had to have sex with him to get her license back.
 12   ··    ·with.· I would turn over the money to him at that point,   12   Q.·   ·How did you hear that?
 13   ··    ·but there had already been receipts made and signed by     13   A.·   ·Through an officer at the department, but I don't
 14   ··    ·me.· So, the only way that that could have happened was    14   ··    ·remember who it was that told me.
 15   ··    ·if somebody just add up those receipts.                    15   Q.·   ·Did you have any reason to think it was not true?
 16   Q.·   ·And Furman purchased vehicles at these auctions --         16   A.·   ·No.· I honestly hoped it wasn't true because, as I said,
 17   A.·   ·Yes.                                                       17   ··    ·earlier that officer and I -- Officer Furman and I were
 18   Q.·   ·-- from time to time?                                      18   ··    ·friends, and it makes us as officers look bad and
 19   A.·   ·Yes.                                                       19   ··    ·specifically makes our department look bad if something
 20   Q.·   ·Did he typically, from the auctions you were at,           20   ··    ·like that did happen.
 21   ··    ·purchase vehicles?                                         21   ··    · · · However, it is known, again, throughout the entire
 22   A.·   ·The ones I was at, he was never there personally, but I    22   ··    ·department that Officer Furman is a bit of a womanizer;
 23   ··    ·know, as I said earlier, that Mr. Briscoe purchased at     23   ··    ·that he would date many women and then sleep with a lot
 24   ··    ·least one vehicle for Officer Furman at the auctions I     24   ··    ·of women, at least per his own words, you know.
 25   ··    ·was at and --                                              25   ··    ·Obviously, none of us would be there for that, but that

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 ·1   ··    ·would be from his own words that he would kind of, you     ·1   ··    ·be honest.· Or if you really wanted to push it further,
 ·2   ··    ·know, brag about the amount of -- because he was on like   ·2   ··    ·you could just call the company that they said that they
 ·3   ··    ·a lot of social media or Internet dating sites and         ·3   ··    ·had insurance through and have them check the -- that
 ·4   ··    ·things like that.                                          ·4   ··    ·person's name, and that company would let you know
 ·5   ··    · · · So, he would brag about the amount of women that he   ·5   ··    ·whether or not there was insurance through that person's
 ·6   ··    ·would take home.· So, it didn't seem out of the realm      ·6   ··    ·name and on what vehicle.
 ·7   ··    ·for him.                                                   ·7   Q.·   ·Okay.· So, the LEIN system carried Secretary of State --
 ·8   Q.·   ·Did you ever hear him talk about a relationship with       ·8   A.·   ·Correct.
 ·9   ··    ·Nicole Barnes from the City?                               ·9   Q.·   ·-- info?
 10   A.·   ·He never talked about it, and I -- and I heard others      10   A.·   ·Yep.
 11   ··    ·talk about it including I -- we would kind of razz him     11   Q.·   ·And that's the info you're saying would not necessarily
 12   ··    ·about it a little bit, and -- especially myself and        12   ··    ·be completely up-to-date or accurate, reliable?
 13   ··    ·another officer when we -- we would hang out together      13   A.·   ·Exactly.
 14   ··    ·outside of work, we would again razz him about it.         14   ··    · · · And we were made -- when the information was --
 15   ··    · · · He would always say, "Oh, we're just friends" and     15   ··    ·came out that that was going to be put on the Secretary
 16   ··    ·kind of laugh about it, but I -- I was with him when       16   ··    ·of State, I guess, page, of LEIN, we were told right up
 17   ··    ·I -- and I've seen him text her outside of work reasons.   17   ··    ·front that it was to be used more as a -- again, as a
 18   Q.·   ·Okay.· I've got some questions for you about procedures    18   ··    ·tool than as a definite yes or no because it wasn't
 19   ··    ·for verifying whether a driver has valid insurance --      19   ··    ·always accurate, including -- I mean, officers would run
 20   A.·   ·Okay.                                                      20   ··    ·into that where it would say yes or no but you -- I mean
 21   Q.·   ·-- when you make a stop.                                   21   ··    ·the driver could provide paperwork showing otherwise.
 22   ··    · · · So, walk me through that, if you would.               22   Q.·   ·All right.· So, if you're going to tow -- I get that
 23   A.·   ·Okay.· Well, you -- if I were to stop someone for a        23   ··    ·there's a ticket -- or you'll tell me if this is right
 24   ··    ·traffic offense, I always ask them for their driver's      24   ··    ·or wrong.
 25   ··    ·license, registration, and proof of insurance.             25   ··    · · · Can you issue a citation for not carrying proof of
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 ·1   · · ·If they hand me an expired insurance, I would                ·1   ··    ·insurance as compared to not having insurance?
 ·2   inform them, you know, this insurance is old.· Do you             ·2   A.·   ·Correct.
 ·3   have the current one?· Sometimes they would say, "Oh,             ·3   Q.·   ·Okay.
 ·4   I" -- "Oh, I must have left it at home," or something of          ·4   A.·   ·Which as a personal -- from my own experience, that's
 ·5   that nature.                                                      ·5   ··    ·more so what I would write.· Again, generally the reason
 ·6   · · ·Usually, I would assume that they just don't have            ·6   ··    ·for people not having insurance is they can't afford it.
 ·7   insurance on the vehicle anymore, that they let it lapse          ·7   ··    ·I try to sympathize as much as I can.· Some people, I
 ·8   and -- especially, if it was a couple years old.                  ·8   ··    ·would still write the "no insurance" ticket to and
 ·9   However, it was a couple years ago where it got put into          ·9   ··    ·impound vehicle, sure, but that would again be compared
 10   LEIN where LEIN would tell you whether a vehicle had              10   ··    ·with all the circumstances at the time.
 11   insurance or not, but we were informed that that wasn't           11   ··    · · · But, generally, if somebody didn't have insurance,
 12   always 100 percent accurate.· It would sometimes take a           12   ··    ·I would just write them a "no proof of insurance" ticket
 13   couple days for that to be updated, so it may not be              13   ··    ·as a personal way of handling it.
 14   accurate as far as LEIN was concerned.                            14   Q.·   ·Okay.· So, you can get a citation for not carrying your
 15   · · ·So, we were told not to -- you couldn't use that             15   ··    ·proof with you, even if you have insurance, and you can
 16   for validation for a stop, and you really shouldn't 100           16   ··    ·also get a citation for literally not having insurance?
 17   percent base your reasoning off of that.· You could use           17   A.·   ·Correct.
 18   it, you know, as a tool, more or less.                            18   Q.·   ·Okay.· Now, can you tow a car if the person actually has
 19   · · ·So, if it said "no insurance on the vehicle," you            19   ··    ·insurance but just didn't carry proof of it with them?
 20   could ask the driver or especially, obviously, if they            20   A.·   ·Legally, no.
 21   were the owner of the vehicle, "Hey, you know, I see              21   Q.·   ·Okay.· So, the tow goes directly to the fact you're
 22   that" -- "LEIN is telling me that there's no insurance.           22   ··    ·driving around out on these streets literally without
 23   Do you actually have insurance on this vehicle or not?"           23   ··    ·insurance?
 24   · · ·Sometimes the person would be honest at that point.          24   A.·   ·Correct.
 25   They probably felt they were caught in a lie, so they'd           25   Q.·   ·Okay.· So, if you're going to tow a car for no

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 ·1   ··    ·insurance -- strike that.                                  ·1   ··    ·his or her arrest.
 ·2   ··    · · · If you're going to tow a car based on insurance, it   ·2   ··    · · · What do you do?
 ·3   ··    ·can't just be because there's no proof of insurance in     ·3   A.·   ·Is the registered owner the driver?· Are they in the
 ·4   ··    ·the car; it has to be because the person actually          ·4   ··    ·vehicle?
 ·5   ··    ·doesn't have insurance?                                    ·5   Q.·   ·I don't know.· I'm going to hand you Bates stamp 4870.
 ·6   A.·   ·Correct.                                                   ·6   A.·   ·Okay.
 ·7   Q.·   ·Have you ever towed a car for somebody that did not have   ·7   Q.·   ·That's a tow tag --
 ·8   ··    ·any insurance?                                             ·8   A.·   ·Okay.
 ·9   A.·   ·Yes.                                                       ·9   Q.·   ·-- for a Furman tow.
 10   Q.·   ·Okay.· Have you checked to see whether that's, in fact,    10   A.·   ·Oh, okay.· Yeah, he does this.
 11   ··    ·true, as compared to they just don't have the proof on     11   ··    · · · What this is, is, we can only release the vehicle
 12   ··    ·them, like the driver says, "No, I really do have          12   ··    ·to the registered owner.· Even if you're the brother or
 13   ··    ·insurance.· I just didn't stick it in my wallet"?          13   ··    ·sister or mother of the registered owner, maybe I don't
 14   A.·   ·The only times that that would happen would be where I     14   ··    ·want my brother driving my car, you know, so we can't
 15   ··    ·would use my discretion and that.· I think I've done it    15   ··    ·release it to anybody other than the registered owner.
 16   ··    ·twice, and the person was very argumentative and rude to   16   ··    · · · So, when he does this, what this is, is, the
 17   ··    ·me, immediately arguing why I stopped them, that I had     17   ··    ·registered owner is not in the vehicle and he tows the
 18   ··    ·no reason to pull them over.· And, therefore, I would      18   ··    ·vehicle from the driver, sees that the registered owner
 19   ··    ·make my investigation more thorough, meaning I would       19   ··    ·has a warrant with us, as it says "MEPD warrant,"
 20   ··    ·check on all the information that they were giving me.     20   ··    ·letting the -- whoever is going to be at the desk when
 21   ··    ·And when they couldn't provide the proof of insurance,     21   ··    ·this vehicle is released know when that person comes in
 22   ··    ·but said, "Oh, I know I have it.· It's with such and       22   ··    ·that they have a warrant with us.
 23   ··    ·such company," it may only have been once, but I think I   23   Q.·   ·Okay.
 24   ··    ·may have actually called twice.· It's very few times       24   A.·   ·That's what he's doing there.
 25   ··    ·that I've done that, but I have, yes.                      25   Q.·   ·Okay.
                                                             Page 102                                                                 Page 104
 ·1   · · · · · · (Discussion held off the record.)                     ·1   A.·   ·I believe he's the only one who does that, but --
 ·2   BY MS. GORDON:                                                    ·2   Q.·   ·So, here's one, Bates stamp 3491, no valid insurance.
 ·3   Q.· ·I'm going to hand you Bates stamp 3406.· That's a tow        ·3   ··    ·The bottom says:
 ·4   · · ·ticket or tow tag inventory sheet filled out by Matthew      ·4   ··    · · · · · ·"Owner advised to take care of numerous
 ·5   · · ·Furman.                                                      ·5   ··    · · · warrants."
 ·6   A.· ·Okay.                                                        ·6   ··    · · · What do you make of that; if anything?
 ·7   Q.· ·Okay.· And he's towing this vehicle.· It says on the         ·7   A.·   ·Well, based on the fact that he didn't write "MEPD
 ·8   · · ·bottom, "SOS shows no tax paid."                             ·8   ··    ·warrants" on here, I'm going to assume the warrants are
 ·9   · · · · · Do you know what that refers to?                        ·9   ··    ·with other cities.
 10   A.· ·No.· I've never -- I've never seen that before.              10   ··    · · · And Officer Furman must have let that person go on
 11   Q.· ·Okay.· And then up on top, there's a box that says           11   ··    ·those warrants but told them not to come get the car
 12   · · ·"Towed in error.· Release, no charges."                      12   ··    ·until he took care of those warrants, which is honestly
 13   A.· ·Yeah.· I would have to assume that that's because            13   ··    ·irrelevant because just because you have a warrant with
 14   · · ·Officer Furman wasn't supposed to tow this vehicle. I        14   ··    ·another City doesn't mean you can't come get your car
 15   · · ·don't know what that "shows no tax paid" means.· I don't     15   ··    ·out of impound with us or any department, for that
 16   · · ·know what that is.                                           16   ··    ·matter.
 17   · · · · · So, I -- "not eligible for plates," I'm assuming,       17   Q.·   ·And then this he would write on here and then he just
 18   · · ·is what that other part says, but I'm kind of guessing       18   ··    ·wouldn't let the other cities know and possibly wait for
 19   · · ·at that.                                                     19   ··    ·them to pick the guy up?· That's what he said.
 20   · · · · · But, yeah.· I would assume the reason why we didn't     20   ··    · · · MS. BALIAN:· Objection.· Calls for facts not in
 21   · · ·charge this person and it says "towed in error" is           21   ··    ·evidence.· It doesn't say that.
 22   · · ·because Officer Furman wasn't supposed to tow it.· So,       22   ··    · · · MS. GORDON:· That's what he testified to.
 23   · · ·technically it would be towed illegally.                     23   ··    · · · MS. BALIAN:· Neither did he.
 24   Q.· ·All right.· Now, you stop somebody, hypothetically, and      24   ··    · · · MS. GORDON:· He said he didn't wait.· He said
 25   · · ·the registered owner of the car has a warrant out for        25   ··    ·typically he --

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 ·1   A.· ·Yes.                                                         ·1   A.·   ·I did not testify to that.
 ·2   · · · · · This -- that's what I would take away from this         ·2   Q.·   ·That they're put in the system and, unless the
 ·3   · · ·form is that he didn't arrest the person on those            ·3   ··    ·individual other agencies tell the officers to hold
 ·4   · · ·warrants from the stop.· And as -- in general, with          ·4   ··    ·them, then they are advised and released?
 ·5   · · ·Officer Furman, the reasoning for that would have been       ·5   A.·   ·Yes.· If the -- say the -- for example, if the person
 ·6   · · ·he didn't want to wait or do the booking process and         ·6   ··    ·has a warrant with Lincoln Park, if we contact Lincoln
 ·7   · · ·that takes up his time and didn't want to wait for that.     ·7   ··    ·Park and they don't want to pick them up, yes, we advise
 ·8   · · ·So, he would want to let the person leave from -- so he      ·8   ··    ·and release on the warrant.
 ·9   · · ·could tow the car, and then go on and tow other              ·9   Q.·   ·Okay.· So, what evidence do you have that Officer Furman
 10   · · ·vehicles.                                                    10   ··    ·didn't contact these agencies?
 11   BY MS. GORDON:                                                    11   A.·   ·I didn't say that he didn't.
 12   Q.· ·Okay.· So, your -- you became aware that he was just not     12   Q.·   ·Okay.· Well, you made an assumption, you said, that
 13   · · ·calling in the warrants to the departments at issue?         13   ··    ·because he wanted to get to other towing that he didn't
 14   A.· ·He has verbally told myself and numerous other officers      14   ··    ·contact them.
 15   · · ·that when he is out there trying to tow cars which,          15   ··    · · · What evidence do you have?
 16   · · ·again, he's doing most of the time, that unless it was a     16   A.·   ·I said -- yes, in general, that would be his practice.
 17   · · ·serious warrant, he wouldn't call any other department       17   Q.·   ·My question was, what evidence do you have that he
 18   · · ·other than ours.· Obviously, if it was a Melvindale          18   ··    ·didn't contact the other agencies?
 19   · · ·warrant, he would usually bring those in.                    19   A.·   ·On that specific incident, that would -- is his general
 20   · · · · · MS. GORDON:· Okay.· That's all I have for you.          20   ··    ·evidence.· That's the only evidence I have.
 21   · · · · · MS. BALIAN:· Okay.· I have some questions.              21   Q.·   ·What evidence do you have -- listen to my question.
 22   · · · · · MS. GORDON:· Thank you for your time.                   22   A.·   ·That's it.
 23   · · · · · · · · · · · ·*· ·*· ·*                                  23   Q.·   ·What evidence do you have that he didn't contact the
 24   · · · · · · · · · · · EXAMINATION                                 24   ··    ·other agencies?
 25   BY MS. BALIAN:                                                    25   ··    · · · Do you have any evidence that he didn't?
                                                             Page 106                                                                 Page 108
 ·1   Q.·   ·First, I'm going to ask you about this Defendant's Bates   ·1   A.·   ·His general practice.
 ·2   ··    ·stamp document 3491.                                       ·2   Q.·   ·Okay.· So, you don't have any personal knowledge that he
 ·3   ··    · · · You testified that you would assume he told the       ·3   ··    ·didn't contact the other agencies?
 ·4   ··    ·driver not to pick up the car until he takes care of the   ·4   A.·   ·Correct.
 ·5   ··    ·warrants.                                                  ·5   Q.·   ·Okay.· So, on Bates stamp document 4870:
 ·6   A.·   ·Yes.                                                       ·6   ··    · · · · · ·"Registered owner has MEPD warrant."
 ·7   Q.·   ·It doesn't say that anywhere on here that he told the      ·7   A.·   ·Yes.
 ·8   ··    ·driver not to pick up the car until he takes care of the   ·8   Q.·   ·So, are you saying that the registered owner was not the
 ·9   ··    ·warrants; right?                                           ·9   ··    ·driver of the vehicle?
 10   A.·   ·No, it actually does.                                      10   A.·   ·That would be my assumption.
 11   Q.·   ·It says:                                                   11   Q.·   ·Okay.· So, he's letting whomever is running the desk
 12   ··    · · · · · ·"Owner advised to take care of numerous          12   ··    ·know that when the registered owner comes in, they've
 13   ··    · · · warrants --"                                          13   ··    ·got a warrant?
 14   A.·   ·(Reading.)                                                 14   A.·   ·Correct.
 15   ··    · · · · · ·"-- before attempting to redeem vehicle."        15   Q.·   ·So, you were hired in 2011 --
 16   ··    · · · It actually says those exact words.                   16   A.·   ·No, 2012.
 17   Q.·   ·These are not MEPD warrants; correct?                      17   Q.·   ·2012.
 18   A.·   ·I would assume not.· I don't know that, but I would        18   ··    · · · What month?
 19   ··    ·assume not because generally you would write "MEPD         19   A.·   ·May.
 20   ··    ·warrants" on there.· Correct.                              20   Q.·   ·And what are the various shifts that you've worked over
 21   Q.·   ·Okay.· And you testified earlier that, unless they're      21   ··    ·the years, if you can remember?
 22   ··    ·MEPD warrants, the drivers are advised of the warrants     22   A.·   ·I've worked day shift, afternoons, midnights, and the
 23   ··    ·and released; correct?                                     23   ··    ·detective bureau.
 24   A.·   ·No, I did not.                                             24   Q.·   ·What shifts in what years have you worked with Officer
 25   Q.·   ·They're put in the system.                                 25   ··    ·Furman?

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 ·1   A.·   ·I've worked afternoons with Officer Furman.· I --          ·1   Q.·   ·Okay.· And explain your job now.
 ·2   Q.·   ·Say -- let's start in 2012, because you were hired with    ·2   ··    · · · What are you doing?
 ·3   ··    ·him in 2012; right?                                        ·3   A.·   ·I'm assigned to the Michigan State Police in an
 ·4   A.·   ·Correct.                                                   ·4   ··    ·undercover drug unit.
 ·5   Q.·   ·Okay.                                                      ·5   Q.·   ·Okay.· And what are your responsibilities in that?
 ·6   A.·   ·We were roughly, I believe, like five days apart.          ·6   A.·   ·Basically, the team's responsibility is to recover
 ·7   Q.·   ·Okay.· So, in 2012, what shifts did you work with him      ·7   ··    ·narcotics off the streets.· So, we have -- we work in
 ·8   ··    ·then?                                                      ·8   ··    ·plain clothes and set up buys with drug dealers.
 ·9   A.·   ·I believe we worked afternoons together in 2012.           ·9   Q.·   ·Are you working with other police departments?· Do they
 10   Q.·   ·In what time period?                                       10   ··    ·take some members of other police departments?
 11   A.·   ·It would have been maybe for about two months, from June   11   A.·   ·Correct, yeah.
 12   ··    ·to August, somewhere in that time frame.                   12   Q.·   ·Okay.· Yeah.· I've heard of that.
 13   Q.·   ·Okay.· And in 2013, what time period did you work the      13   ··    · · · All right.· So, is there anybody else assigned from
 14   ··    ·same shift with Officer Furman?                            14   ··    ·the Melvindale Police Department to that?
 15   A.·   ·I believe all of 2013, again on afternoons.                15   A.·   ·No.
 16   Q.·   ·Okay.                                                      16   Q.·   ·Or is it just you?
 17   A.·   ·I believe.                                                 17   A.·   ·Just me.
 18   Q.·   ·Were you ever partners, or did you work separately?        18   Q.·   ·Okay.· And what is your shift?
 19   A.·   ·Our department you're almost never in a double car         19   A.·   ·Typically it's 2:00 p.m. to midnight, but it kind of
 20   ··    ·because we're so small.· So, it's almost always single     20   ··    ·varies depending on when we're needed, if the occasion
 21   ··    ·car.                                                       21   ··    ·arises.
 22   Q.·   ·Okay.· So, you think you worked the same shift with        22   Q.·   ·How often do you go into the Melvindale Police
 23   ··    ·Officer Furman all of 2013?                                23   ··    ·Department?
 24   A.·   ·I believe so.                                              24   A.·   ·Since I've been on --
 25   Q.·   ·Okay.· And what about 2014?                                25   Q.·   ·Since you've been in this new role.
                                                             Page 110                                                                 Page 112
 ·1   ··    · · · You said you became a detective in February of '14;   ·1   A.· ·I've probably been there four or five times since then.
 ·2   ··    ·is that correct?                                           ·2   Q.· ·Okay.· Do you just kind of go from your home out to the
 ·3   A.·   ·Yes.                                                       ·3   · · ·field, or what do you do?
 ·4   Q.·   ·Through January of 2017?                                   ·4   A.· ·We have an office that I report to, like I have -- we
 ·5   A.·   ·There was a few months that I was pulled out of the DB     ·5   · · ·have a state police trooper, or he's a sergeant.· He's
 ·6   ··    ·in that time frame in there, but most of that I was a      ·6   · · ·basically who I report to every day that I'm working,
 ·7   ··    ·detective, yes.                                            ·7   · · ·which is at our office.· It's in Taylor.
 ·8   Q.·   ·As a detective, do you still have different shifts or do   ·8   Q.· ·Okay.· Did you have to like apply for that new job with
 ·9   ··    ·you have an assigned shift?                                ·9   · · ·the Michigan State Police?
 10   A.·   ·As a detective, my assigned shift was 8:30 a.m. to         10   A.· ·Yes.
 11   ··    ·4:30 p.m.                                                  11   Q.· ·Like how did that come about?
 12   Q.·   ·Okay.· And do you recall what shift Officer Furman had     12   A.· ·Yes.
 13   ··    ·at that time?                                              13   · · · · · The, I guess, opening was posted at the department,
 14   A.·   ·For most of that time frame, he was on day shift, which    14   · · ·and any officer who was interested submitted a letter to
 15   ··    ·was 8:00 a.m. to 4:00 p.m.                                 15   · · ·Chief Allen.· And every officer who submitted a letter
 16   Q.·   ·Okay.· And then you said you -- in January of 2017, you    16   · · ·was interviewed by the lieutenant and sergeant in charge
 17   ··    ·went back out onto the road patrol?                        17   · · ·of that team, and they made a decision based on that
 18   A.·   ·Correct.                                                   18   · · ·interview.
 19   Q.·   ·Okay.· And when you went back out on road patrol, what     19   · · · · · · · · (Ms. Gordon leaves the room.)
 20   ··    ·shift were you?                                            20   BY MS. BALIAN:
 21   A.·   ·I was on midnights.· Midnight to 8:00 a.m.                 21   Q.· ·Okay.· Now, you've testified a couple times today that
 22   Q.·   ·Midnight to 8:00 a.m.                                      22   · · ·you used to be friends with Officer Furman.
 23   ··    · · · And you remained on that shift until March 26th of    23   A.· ·Correct.
 24   ··    ·'18?                                                       24   Q.· ·When did you stop being friends with Officer Furman?
 25   A.·   ·Correct.                                                   25   · · ·What time period?

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 ·1   A.·   ·When this all happened.                                    ·1   ··    ·social events that you would go to with him?
 ·2   Q.·   ·When what all happened?                                    ·2   A.·   ·Yeah.
 ·3   A.·   ·When he testified, in my opinion, falsely against Chief    ·3   Q.·   ·Okay.· When is the last time you saw him, other than
 ·4   ··    ·Hayse.                                                     ·4   ··    ·today?
 ·5   Q.·   ·Okay.· So, in August of 2016?                              ·5   A.·   ·Actually, I bumped into him at 24th District Court on
 ·6   A.·   ·That sounds right.                                         ·6   ··    ·Tuesday, I think it was.
 ·7   Q.·   ·Okay.· That was the removal hearing, August 29th and       ·7   Q.·   ·When is the last time you were with him at a planned
 ·8   ··    ·August 30th.· Okay.                                        ·8   ··    ·meeting?
 ·9   ··    · · · And you've also testified several times today that    ·9   A.·   ·I think it's been -- I don't know -- a month or so.
 10   ··    ·you're friends with Chief Hayse.                           10   Q.·   ·What did you do?
 11   ··    · · · Does that go outside, then, of when you worked with   11   A.·   ·We met up, myself, Chief Hayse, his wife, and Lieutenant
 12   ··    ·Chief Hayse?· Would you get together with him socially?    12   ··    ·Bajorek and his wife met up at -- I think it was the
 13   A.·   ·Are you asking before I started working here or            13   ··    ·Knights of Columbus in -- I think it's Lincoln Park.
 14   ··    ·currently?                                                 14   Q.·   ·For what?
 15   Q.·   ·Sure.· When you worked under Chief Hayse.                  15   A.·   ·Catch up.· I haven't seen -- Lieutenant Bajorek is
 16   A.·   ·Yes.                                                       16   ··    ·retired, so I haven't seen him in a while.· And, as I
 17   Q.·   ·Okay.· How would you get together?                         17   ··    ·stated earlier, I know that Chief Hayse and Lieutenant
 18   A.·   ·Go to sporting events, hang out at his house.              18   ··    ·Bajorek are also friends.· So, just catch up.
 19   Q.·   ·Okay.· When did that start?                                19   Q.·   ·Did you talk to the chief at all about your deposition
 20   A.·   ·It was after I was in the detective bureau.· Probably --   20   ··    ·today?
 21   ··    ·I started in February.· I'm sure it was a few months       21   ··    · · · I'm talking about Chief Hayse, not Chief Allen.
 22   ··    ·after that.· I'm guessing probably that summer.            22   A.·   ·Nothing other than that my deposition was today.
 23   Q.·   ·February of '14?                                           23   Q.·   ·Okay.· Did you talk to anybody, whether on the phone or
 24   A.·   ·Yeah.· I'm guessing probably the summer of that year.      24   ··    ·in person, from this office about your deposition today?
 25   Q.·   ·Okay.· What other officers hung out socially with Chief    25   A.·   ·Yes.
                                                             Page 114                                                                 Page 116
 ·1   · · ·Hayse?                                                       ·1   Q.· ·Okay.· Who did you speak with?
 ·2   A.· ·Lieutenant Welch, Lieutenant Jones, Lieutenant Bajorek,      ·2   A.· ·Both of those two women.
 ·3   · · ·Lieutenant Meador.· I know some of the retired officers,     ·3   Q.· ·Okay.
 ·4   · · ·I've seen hang out socially with Chief Hayse, that           ·4   · · · · · MS. GORDON:· I think he spoke to Elizabeth, and
 ·5   · · ·worked there, retired before I started.                      ·5   · · ·then me this morning.
 ·6   · · · · · Sergeant Martinez -- Detective Martinez, Officer        ·6   A.· ·I thought I spoke to you the first time.
 ·7   · · ·Lash.· I think that -- Officer Lane.                         ·7   · · · · · MS. GORDON:· Okay.· Sorry.· I'll leave you to the
 ·8   Q.· ·Okay.· And other than going to sporting events and going     ·8   · · ·testimony.
 ·9   · · ·to his home, what else did you do socially?                  ·9   BY MS. BALIAN:
 10   A.· ·We would get dinner, have a beer once in a while.            10   Q.· ·And what did you talk about?
 11   Q.· ·Where did you have a beer?                                   11   A.· ·They asked me questions in regards to this whole
 12   · · · · · · · · ·(Ms. Gordon enters the room.)                    12   · · ·incident, the whole deposition.
 13   A.· ·Usually in Allen Park.                                       13   Q.· ·About the subject matter you testified to here today?
 14   BY MS. BALIAN:                                                    14   A.· ·Correct.
 15   Q.· ·Is there a certain bar you would go to in Allen Park?        15   Q.· ·And when did you speak with them?
 16   A.· ·Not specifically.                                            16   A.· ·The first time was maybe a month or so ago, two months
 17   Q.· ·Okay.· So, what bars have you been to with Chief Hayse?      17   · · ·ago, somewhere in that time frame.
 18   A.· ·Honestly, I don't remember the names of them because we      18   · · · · · And the last time was, I believe, earlier this
 19   · · ·were usually only there -- this has only happened a few      19   · · ·week, maybe late last week.
 20   · · ·times.· So --                                                20   Q.· ·Okay.· Did you provide them any documents?
 21   Q.· ·Are you married?                                             21   A.· ·No.
 22   A.· ·No.                                                          22   Q.· ·Okay.· Did they contact you on your cell phone or at the
 23   Q.· ·Okay.· Do you have a girlfriend?                             23   · · ·police station?
 24   A.· ·No.                                                          24   A.· ·My cell phone.
 25   Q.· ·Okay.· Would Chief Hayse bring his wife ever to these        25   Q.· ·How did they get your cell phone number?

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 ·1   A.·   ·I contacted Ms. Gordon the first time, actually, myself,   ·1   · · ·to continue to tow vehicles in order to make revenue for
 ·2   ··    ·and I gave her my cell phone number then.                  ·2   · · ·the City --
 ·3   Q.·   ·Okay.· You testified a lot today about Officer Furman      ·3   Q.· ·Okay.· Who is on the Public Safety Commission?
 ·4   ··    ·towing vehicles.                                           ·4   · · · · · MS. GORDON:· Wait a minute.· Did you finish your
 ·5   ··    · · · Do you have any personal knowledge that he has ever   ·5   · · ·answer?
 ·6   ··    ·illegally towed a vehicle?                                 ·6   · · · · · I wasn't sure if you were --
 ·7   A.·   ·One specific incident, I was working at the time that it   ·7   A.· ·No.· I was -- because the City had a deficit.
 ·8   ··    ·happened, albeit I don't believe -- excuse me -- I don't   ·8   BY MS. BALIAN:
 ·9   ··    ·believe it was intentional on Officer Furman's part, but   ·9   Q.· ·Okay.· Who are the two members of the Public Safety
 10   ··    ·he did tow a vehicle -- technically it was illegal for     10   · · ·Commission?
 11   ··    ·him to tow it.                                             11   A.· ·He wouldn't tell me.
 12   ··    · · · I don't remember the circumstances, but I remember    12   Q.· ·Okay.· When did he tell you this?
 13   ··    ·we kind of goofed on him about it for a little while at    13   A.· ·This would have been while we were still friends, so it
 14   ··    ·the station, that the reason that he had towed it was --   14   · · ·would have been in that time frame.· I don't remember
 15   ··    ·he shouldn't have.                                         15   · · ·exactly when, though.
 16   Q.·   ·What were the circumstance?                                16   Q.· ·Okay.· Have you ever witnessed anybody -- have you ever
 17   ··    · · · You said you don't think it was intentional.          17   · · ·witnessed the Public Safety Commission give a directive
 18   ··    · · · How did he -- what happened?                          18   · · ·to Officer Furman to increase his tows?
 19   A.·   ·He believed that he was towing it properly.· Like I        19   A.· ·No.
 20   ··    ·said, I don't remember exactly what it was, but he         20   Q.· ·Okay.· Do you have any personal knowledge that Officer
 21   ··    ·did -- he believed he was towing it properly.· He didn't   21   · · ·Furman was directed to increase his tows by city
 22   ··    ·receive any discipline for it.· Like I said, we all just   22   · · ·council?
 23   ··    ·kind of goofed on him and the owner was contacted and we   23   · · · · · MS. GORDON:· Other than what he just testified to,
 24   ··    ·released the vehicle to him, but --                        24   · · ·you mean, where he was told that that's what he was --
 25   Q.·   ·So, let me ask you this:· Do you have any personal         25   · · · · · MS. BALIAN:· I'm talking about city council as a
                                                             Page 118                                                               Page 120
 ·1   ··    ·knowledge that he has ever intentionally illegally towed   ·1   · · ·body.
 ·2   ··    ·a vehicle?                                                 ·2   · · · · · MS. GORDON:· I know.· He just said he was told
 ·3   A.·   ·No.                                                        ·3   · · ·that.
 ·4   Q.·   ·Okay.· Do you have any personal knowledge that he has      ·4   · · · · · MS. BALIAN:· If you could repeat my question?
 ·5   ··    ·ever been directed by the Public Safety Commission to      ·5   · · · · · THE REPORTER:· One second, please.
 ·6   ··    ·increase his towing of vehicles?                           ·6   · · · · · ·(Record repeated by the reporter.)
 ·7   A.·   ·Yes.                                                       ·7   BY MS. BALIAN:
 ·8   Q.·   ·What?                                                      ·8   Q.· ·Go ahead.
 ·9   A.·   ·Officer Furman told me that two members of the             ·9   A.· ·Yes, from Officer Furman stating the council had
 10   ··    ·council -- he wouldn't say who -- told him that he         10   · · ·informed him to --
 11   ··    ·needed to keep towing cars in order to -- actually, I      11   Q.· ·The council --
 12   ··    ·take that back.· Three members.· Two were from the         12   · · · · · MS. GORDON:· Hang on.· You've got to let --
 13   ··    ·council and one was Rich Ortiz -- that he needed to keep   13   A.· ·Members, excuse me.
 14   ··    ·towing cars in order to make the City money because we     14   · · · · · MS. GORDON:· You've got to let him finish, though,
 15   ··    ·had a deficit.                                             15   · · ·Melinda.
 16   Q.·   ·Okay.· My question was the Public Safety Commission.       16   A.· ·Members from the council had told him to continue to tow
 17   A.·   ·Okay.· Well, excuse me then.                               17   · · ·vehicles in order to generate revenue because the City
 18   Q.·   ·Okay.· So, the Public Safety Commission is a body --       18   · · ·was in a deficit.
 19   A.·   ·Yes.· He stated --                                         19   BY MS. BALIAN:
 20   Q.·   ·-- that has authority --                                   20   Q.· ·Okay.· And who were those members?
 21   A.·   ·Yes.                                                       21   A.· ·He wouldn't tell me.
 22   Q.·   ·-- over the police department; right?                      22   Q.· ·Did you ask him who they were?
 23   A.·   ·Yes.                                                       23   A.· ·Yes.
 24   Q.·   ·Okay.· So, can you answer that question?                   24   Q.· ·Okay.· And when did he tell you this?
 25   A.·   ·Yes.· He stated two members from that body informed him    25   A.· ·Again, in that same time frame of when we were still

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 ·1   ··    ·friends.                                                   ·1   ··    · · · So, I'm pretty sure that that would have been the
 ·2   Q.·   ·And you said Rich Ortiz also; right?                       ·2   ··    ·time frame.
 ·3   A.·   ·Yes.                                                       ·3   Q.·   ·How often were you in the department when you were
 ·4   Q.·   ·Told him this.                                             ·4   ··    ·working in the detective bureau?
 ·5   ··    · · · And when did Rich Ortiz tell him this?                ·5   A.·   ·Monday through Friday and including weekends if I was
 ·6   A.·   ·Same time frame.                                           ·6   ··    ·called in.
 ·7   Q.·   ·So, he would give you Rich Ortiz's name, but he wouldn't   ·7   Q.·   ·But how often was your body actually in the department?
 ·8   ··    ·give you the other names?                                  ·8   A.·   ·That's -- I reported there every day in the morning.
 ·9   A.·   ·Correct.                                                   ·9   ··    ·Most of my work was done from within the department.
 10   Q.·   ·Okay.· And when did he share this -- or where did he       10   ··    · · · The detective bureau is a lot of paperwork, a lot
 11   ··    ·share this information with you?                           11   ··    ·of phone calls, which most of that took place in the
 12   A.·   ·At the department.                                         12   ··    ·department.
 13   Q.·   ·Was anybody else around?                                   13   Q.·   ·Did you have to be in court?
 14   A.·   ·Probably, but I wouldn't remember who.· I wasn't paying    14   A.·   ·Sometimes.
 15   ··    ·attention to that kind of thing.· I didn't think it was    15   Q.·   ·How often out of the week?
 16   ··    ·relevant to anything.                                      16   ··    · · · What percentage of your time would you say was in
 17   Q.·   ·So, this would have been when you were working             17   ··    ·court during the week?
 18   ··    ·midnights?                                                 18   A.·   ·5 percent.
 19   A.·   ·No.· While -- when --                                      19   Q.·   ·Does that include your testimony time, the time you had
 20   Q.·   ·Well, you said it was right before all this all went       20   ··    ·to go to the prosecutor's office, everything like that?
 21   ··    ·down.                                                      21   A.·   ·Yes.
 22   A.·   ·I said it was while we were still friends.· I have been    22   ··    · · · Maybe, at the most, 10 percent.· We only had one
 23   ··    ·working midnights for over a year.· That was well after    23   ··    ·day a week that was set for court at the 24th District
 24   ··    ·Chief Hayse had been terminated and Corporal Furman and    24   ··    ·Court, and if my cases weren't -- if it wasn't my case,
 25   ··    ·I were no longer friends.                                  25   ··    ·I wouldn't go.· So --
                                                             Page 122                                                                 Page 124
 ·1   Q.· ·Oh, it was after Chief Hayse had been terminated?            ·1   Q.·   ·Well, what about circuit court?
 ·2   A.· ·No.                                                          ·2   A.·   ·Most of our cases pled before circuit court.· I believe
 ·3   Q.· ·I thought your testimony was --                              ·3   ··    ·I've had to appear in circuit court four times, five
 ·4   A.· ·I -- oh, that I went to midnights?                           ·4   ··    ·times in my six years.
 ·5   Q.· ·It was during the time frame you were on road patrol --      ·5   Q.·   ·You had testified about Furman using his cell phone to
 ·6   A.· ·Correct.· I was -- road patrol is any day shift, noons       ·6   ··    ·contact -- I think it's Sean Briscoe; is that right?
 ·7   · · ·or midnights.                                                ·7   A.·   ·He has, yes.
 ·8   Q.· ·Well, let me get out my full question.                       ·8   Q.·   ·Okay.· Do you have personal knowledge if he does that
 ·9   · · · · · That it was when you were working road patrol,          ·9   ··    ·every time he needs a tow?
 10   · · ·after you returned to that from the detective bureau?        10   A.·   ·No, I don't.
 11   A.· ·No.· It was before that.                                     11   Q.·   ·Okay.· Did you ever ask him why he contacted Sean
 12   Q.· ·Okay.                                                        12   ··    ·Briscoe using his cell phone?
 13   A.· ·Chances are I was honestly probably still in the             13   A.·   ·Yes.
 14   · · ·detective bureau when this happened.· That's when --         14   Q.·   ·And the reason?
 15   Q.· ·"Chances are."                                               15   A.·   ·He said it's faster.
 16   · · · · · Do you know, or are you guessing?                       16   Q.·   ·You also testified that you had heard about a time that
 17   · · · · · MS. GORDON:· He's doing his best to answer, I           17   ··    ·Mike Goch provided food at a party that Easton had?
 18   · · ·think.                                                       18   A.·   ·Correct.
 19   · · · · · Go ahead.                                               19   Q.·   ·Is that correct?
 20   BY MS. BALIAN:                                                    20   ··    · · · Were you at that party?
 21   Q.· ·Do you know, or are you guessing?                            21   A.·   ·No.
 22   A.· ·Well, I'm not guessing, but Corporal Furman and I            22   Q.·   ·So, you've heard this from somebody else?
 23   · · ·spent -- most of our time that we worked together was        23   A.·   ·Yes.
 24   · · ·while he was on day shift, and I was in the detective        24   Q.·   ·And there was some testimony from you that you -- I
 25   · · ·bureau.                                                      25   ··    ·don't know whether somebody informed you or you heard

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 ·1   ··    ·elsewhere -- that Furman was having somebody purchase      ·1   Q.·   ·Did you report it to anybody else?
 ·2   ··    ·cars for him at the auction, and you learned of this       ·2   A.·   ·No.
 ·3   ··    ·during the time that you worked at the auction; is that    ·3   Q.·   ·Do you know if anybody else reported it?
 ·4   ··    ·correct?                                                   ·4   A.·   ·I have no idea.
 ·5   A.·   ·Correct.· Yes.                                             ·5   Q.·   ·Did Lawrence Jackson ask to speak with you?
 ·6   Q.·   ·Okay.· And that was after Hayse was terminated; is that    ·6   A.·   ·No.
 ·7   ··    ·correct?                                                   ·7   Q.·   ·And you had testified that you were present at a meeting
 ·8   A.·   ·I believe this was before, but I'm not 100 percent on      ·8   ··    ·where they were talking about this.
 ·9   ··    ·that.                                                      ·9   ··    · · · What meeting was that?
 10   Q.·   ·Well, what time did you work at the auction?               10   A.·   ·It was the workshop that the council was holding prior
 11   A.·   ·I believe the year of 2016.                                11   ··    ·to the meeting that Chief Hayse was suspended at.
 12   Q.·   ·What time frame?                                           12   Q.·   ·What was the workshop about?
 13   A.·   ·That whole year.· I believe that was the time frame that   13   A.·   ·The towing.· As far as I could tell, that was their main
 14   ··    ·I helped with the auctions.                                14   ··    ·concern.
 15   Q.·   ·I believe your testimony was the end of 2016 through       15   ··    · · · Now, the -- as far as I know, they still hold the
 16   ··    ·2017.                                                      16   ··    ·same workshop.· Basically, they go over the agenda for
 17   A.·   ·No.· I wasn't even in the detective bureau in 2017.        17   ··    ·the following meeting, the meeting to follow, and
 18   Q.·   ·Okay.· So, you believe it was just throughout 2016?        18   ··    ·discuss briefly what is going to be discussed in the
 19   A.·   ·Correct.                                                   19   ··    ·open meeting in total of everything.
 20   Q.·   ·Okay.· What paperwork can we look at to find out the       20   Q.·   ·Do you know if actually this -- Lawrence Jackson, if
 21   ··    ·exact time frame of when you worked there?· What would     21   ··    ·this issue was discussed in the open meeting at city
 22   ··    ·show that?                                                 22   ··    ·council?
 23   A.·   ·The -- the receipts that I filled out.                     23   A.·   ·Yes.· I was there.
 24   Q.·   ·Receipts of what?                                          24   Q.·   ·Okay.· So, it was brought up at the city council of
 25   A.·   ·From the payments for the cars.                            25   ··    ·hiring this individual for the investigation?
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 ·1   Q.·   ·Okay.· Did anybody report the supposed purchasing of       ·1   A.·   ·Correct.
 ·2   ··    ·vehicles by Furman?                                        ·2   Q.·   ·Okay.· Were you aware that the number of tickets issued
 ·3   A.·   ·What do you mean by "report" it?                           ·3   ··    ·by the Melvindale police officers dropped by over 2,000
 ·4   Q.·   ·Well, you said you believed it was wrong.· So, did         ·4   ··    ·from 2014 to 2015?
 ·5   ··    ·you --                                                     ·5   A.·   ·No.
 ·6   A.·   ·I did not say that.                                        ·6   Q.·   ·Chief Hayse testified that, although he wasn't really
 ·7   Q.·   ·Did you ever report it?                                    ·7   ··    ·aware that that was the number, that that is a valid
 ·8   A.·   ·I didn't say that I believed it was wrong.                 ·8   ··    ·concern.
 ·9   Q.·   ·Well, you did.· You said you believed it was wrong that    ·9   ··    · · · Did -- was that ever raised to you when you were an
 10   ··    ·there was all this towing activity on his part and then    10   ··    ·officer?
 11   ··    ·somebody was purchasing the cars at the auction.           11   A.·   ·Not that specific number.· As I said, I was unaware of
 12   ··    · · · So, did you ever report it?                           12   ··    ·that number.
 13   A.·   ·What I said was I believed it was inappropriate.           13   ··    · · · But, yes, Chief Hayse and even -- and still Chief
 14   ··    · · · But, again, I don't understand your question as far   14   ··    ·Allen, when our union, as the patrol union would meet,
 15   ··    ·as reporting it.                                           15   ··    ·the chief would meet with the union president and give
 16   ··    · · · What do you mean did I "report" it?                   16   ··    ·topics or things that he wanted addressed.· Sometimes it
 17   Q.·   ·Okay.· So, you believe it was inappropriate?               17   ··    ·would be making sure the station was cleaned or the cars
 18   A.·   ·Yes.                                                       18   ··    ·were cleaned, just whatever the chief felt needed to be
 19   Q.·   ·Did you ever report it to Chief Hayse that you thought     19   ··    ·addressed but not maybe directly from the chief.· Just
 20   ··    ·this inappropriate activity was going on by Furman?        20   ··    ·things he wanted to be -- seen taken care of.
 21   A.·   ·No, I did not speak directly with Chief Hayse about it.    21   ··    · · · And sometimes it would be to make sure that we were
 22   Q.·   ·Did you report it to anybody else?                         22   ··    ·still enforcing the traffic laws as far as -- and making
 23   A.·   ·Lieutenant Welch was aware that Mr. Briscoe was            23   ··    ·sure that the City was being policed properly.
 24   ··    ·purchasing cars, or at least the one that I was there      24   Q.·   ·Are you saying that Chief Hayse addressed that with you?
 25   ··    ·for.· Lieutenant Welch was aware that --                   25   A.·   ·Not directly with me, but he -- yes, Chief Hayse did

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 ·1   · · ·have our union president address it with our union.          ·1   A.·   ·Not when he's walking him to the car, no.
 ·2   Q.· ·You understand, I would assume, as an officer, you can't     ·2   Q.·   ·Okay.· Where were you?
 ·3   · · ·discriminate against the public in the performance of        ·3   A.·   ·Standing in the driveway, up in front of the house, next
 ·4   · · ·your duties; right?                                          ·4   ··    ·to Lieutenant Allen.
 ·5   A.· ·Yes.                                                         ·5   Q.·   ·And in front of the house where?
 ·6   · · · · · MS. BALIAN:· Do you have the memo that was issued       ·6   A.·   ·In the driveway.
 ·7   · · ·to Furman?                                                   ·7   Q.·   ·Where in the driveway?
 ·8   A.· ·It should still be over here.                                ·8   A.·   ·In the middle.
 ·9   · · · · · MS. BALIAN:· I don't have it.                           ·9   Q.·   ·How long was the driveway?
 10   · · · · · MS. GORDON:· The discriminatory memo?                   10   A.·   ·I don't know.
 11   · · · · · MS. BALIAN:· Those are your words, not mine, Deb.       11   Q.·   ·You have no memory of it?
 12   · · · · · MS. GORDON:· Well, actually, that's your client's       12   A.·   ·I never measured it or paid any attention to how long
 13   · · ·words, not mine.                                             13   ··    ·the driveway was, no.
 14   BY MS. BALIAN:                                                    14   Q.·   ·Well, approximately?
 15   Q.· ·Did Chief Hayse sit down and have a personal                 15   A.·   ·I couldn't guess.· I have no idea.
 16   · · ·conversation with you about this Bates stamp document        16   Q.·   ·Can you picture it in your mind today?
 17   · · ·1442 before it was issued to Officer Furman?                 17   A.·   ·No.
 18   A.· ·No.                                                          18   ··    · · · I don't even remember the address of where this
 19   Q.· ·What was your position in April of 2016?                     19   ··    ·happened.
 20   · · · · · Were you a detective?                                   20   Q.·   ·When you were -- you said you saw Corporal Furman put
 21   A.· ·At the beginning of April, I was not.· By the end of         21   ··    ·McClintock in the vehicle; correct?
 22   · · ·April, I was.· I had gone back to the road from January      22   A.·   ·Yes.
 23   · · ·of '16 to sometime in April of 2016.                         23   Q.·   ·Okay.· So, at the time you're watching this, where were
 24   Q.· ·So, you were at the scene when Robert McClintock was         24   ··    ·you in relation to Furman and McClintock?
 25   · · ·arrested; correct?                                           25   A.·   ·Behind them.
                                                             Page 130                                                                 Page 132
 ·1   A.·   ·Yes.                                                       ·1   Q.·   ·Okay.· So, I would assume, at that time, McClintock is
 ·2   Q.·   ·Okay.· And it's my understanding that you and Chief        ·2   ··    ·in front of Furman because Furman is putting him in the
 ·3   ··    ·Allen were standing in the backyard?                       ·3   ··    ·patrol vehicle?
 ·4   A.·   ·When he was arrested or throughout the whole incident?     ·4   A.·   ·At that point, yes.
 ·5   Q.·   ·When he was arrested.                                      ·5   Q.·   ·Correct?
 ·6   A.·   ·Yes.                                                       ·6   A.·   ·Yes.
 ·7   Q.·   ·Okay.· And you saw Corporal Furman -- Corporal Furman at   ·7   Q.·   ·Okay.· And you provided a statement that says:
 ·8   ··    ·that time -- put him in handcuffs; correct?                ·8   ··    · · · · · ·"Once at the car, it appeared Corporal
 ·9   A.·   ·Yes.                                                       ·9   ··    · · · Furman pushed McClintock towards the opened back
 10   Q.·   ·Okay.· And then you saw Corporal Furman pull him up and    10   ··    · · · seat, causing McClintock to hit his head on the
 11   ··    ·start walking him out to the patrol car; correct?          11   ··    · · · frame of the car."
 12   A.·   ·Yes.                                                       12   ··    · · · MS. GORDON:· May I interrupt you for a moment,
 13   Q.·   ·Okay.· So, now I'm assuming that at the time you're        13   ··    ·Melinda?
 14   ··    ·watching Furman walk him out to the car, McClintock is     14   ··    · · · MS. BALIAN:· Sure.
 15   ··    ·in front of Furman.· So, you have McClintock and then      15   ··    · · · MS. GORDON:· You appear to be reading from a
 16   ··    ·Furman, and then you're behind Furman; correct?            16   ··    ·document that is the detective's statement --
 17   A.·   ·No.                                                        17   ··    · · · MS. BALIAN:· It is.
 18   Q.·   ·Where were you?                                            18   ··    · · · MS. GORDON:· -- which you have not produced to us,
 19   A.·   ·I was behind, yes, but McClintock was not in front of      19   ··    ·I don't believe.
 20   ··    ·him.· He was next to him.                                  20   ··    · · · MS. BALIAN:· Well, it's court-ordered to be
 21   Q.·   ·Okay.· And you're in the backyard.                         21   ··    ·produced on Monday.
 22   ··    · · · Where is the home in relation to where you're         22   ··    · · · MS. GORDON:· Okay.
 23   ··    ·standing?                                                  23   ··    · · · MS. BALIAN:· So, you'll have it.
 24   A.·   ·What do you mean?· Where is --                             24   ··    · · · MS. GORDON:· Hang on a minute.· Just a second.
 25   Q.·   ·You're in the backyard of the home?                        25   ··    · · · Why was it not produced originally?

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 ·1   · · ·MS. BALIAN:· Because I objected to it.                     ·1   clear --
 ·2   · · ·MS. GORDON:· On what basis?                                ·2   · · ·MS. BALIAN:· Okay.
 ·3   · · ·MS. BALIAN:· Because he wasn't disciplined on it,          ·3   · · ·MS. GORDON:· -- what she thinks of what you've
 ·4   and the court ordered otherwise.                                ·4   done --
 ·5   · · ·MS. GORDON:· Wow.· You people are a piece of work.         ·5   · · ·MS. BALIAN:· Can you please --
 ·6   · · ·MS. BALIAN:· Deb -- okay.                                  ·6   · · ·MS. GORDON:· -- and I want -- hang on --
 ·7   · · ·MS. GORDON:· No, no, no.                                   ·7   · · ·MS. BALIAN:· Okay.· I'm not going to debate you on
 ·8   · · ·You're now using this document to cross-examine a          ·8   this.
 ·9   witness after sitting in court and telling a federal            ·9   · · ·MS. GORDON:· I want a copy of that document right
 10   judge and my firm that it's "not relevant," but here you        10   now.
 11   are today cross-examining from it.                              11   · · ·MS. BALIAN:· No, I'm not giving it to you right
 12   · · ·MS. BALIAN:· No, it's not relevant.· I still don't         12   now.
 13   think it is relevant.                                           13   · · ·MS. GORDON:· Okay.· Then the dep is stopping and
 14   · · ·MS. GORDON:· Well, why is it in your hand?· Why is         14   we're going to court.· I am moving for a protective
 15   it in your hand?                                                15   order.· You're now cross -- you've been ordered to turn
 16   · · ·MS. BALIAN:· I don't think anything that this              16   over a flipping document, and you're standing here
 17   witness has testified to --                                     17   cross-examining on it, and you won't hand it across the
 18   · · ·MS. GORDON:· You people are out of control --              18   table.
 19   · · ·MS. BALIAN:· -- here today is relevant.                    19   · · ·MS. BALIAN:· You're getting --
 20   · · ·MS. GORDON:· -- and we're going back to the judge          20   · · ·MS. GORDON:· The dep is done.
 21   for -- okay.· We're going back to the judge for                 21   · · ·MS. BALIAN:· You're not -- you can't stop the dep.
 22   sanctions.· That is clearly a relevant document that you        22   · · ·MS. GORDON:· Well, I'm going to.
 23   just never even said you had.· You could have said, "We         23   · · ·I'm going to.
 24   have it, but we're not producing it."                           24   · · ·John, the dep is over.
 25   · · ·You just blew us off and God knows what else you've        25   · · ·This is bizarre.
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 ·1   got that you have never produced to us.· I have --              ·1   · · ·MS. BALIAN:· Okay.· You want this document, fine.
 ·2   · · ·MS. BALIAN:· Okay.                                         ·2   · · ·MS. GORDON:· Yeah, I do.· Yeah, I do.
 ·3   · · ·MS. GORDON:· I can only -- if you didn't produce           ·3   · · ·MS. BALIAN:· No, but you're not going to interrupt
 ·4   that simple little statement when you know the -- hang          ·4   this part of my deposition.
 ·5   on.· Now that I'm on a roll on this --                          ·5   · · ·MS. GORDON:· How dare you come in here and
 ·6   · · ·MS. BALIAN:· No, I'm not debating you on this.             ·6   cross-examine on a document the court has ordered you to
 ·7   · · ·MS. GORDON:· Our client was fired in part because          ·7   produce and don't give it to me.
 ·8   of this incident right in your hand.                            ·8   · · ·MS. BALIAN:· The court ordered me to produce it on
 ·9   · · ·MS. BALIAN:· No.                                           ·9   Monday.
 10   · · ·MS. GORDON:· Oh, yes.· Yes, he was.                        10   · · ·MS. GORDON:· Where is the date --
 11   · · ·MS. BALIAN:· He was terminated because he didn't           11   · · ·MS. MARZOTTO TAYLOR:· I'm sorry?
 12   properly discipline Furman.                                     12   · · ·MS. GORDON:· Where is the date for Monday that it
 13   · · ·MS. GORDON:· Don't be lecturing me, Melinda, on            13   has to be produced --
 14   anything.                                                       14   · · ·MS. MARZOTTO TAYLOR:· I never saw a date.
 15   · · ·MS. BALIAN:· I'm not lecturing you.                        15   · · ·MS. BALIAN:· It's April 26(sic).· It's in the
 16   · · ·MS. GORDON:· You people hide documents.                    16   order.
 17   · · ·MS. BALIAN:· I'm responding.                               17   · · ·MS. GORDON:· Okay.· Well, how dare you.· I'd like
 18   · · ·MS. GORDON:· You hide documents.· You got caught on        18   the document now.
 19   it in court, and we're going back for sanctions.                19   · · ·MS. BALIAN:· I'm sorry.· It's April 23rd --
 20   · · ·MS. BALIAN:· We didn't get caught on anything.             20   · · ·MS. GORDON:· I'd like the document.
 21   · · ·MS. GORDON:· Oh.· You weren't standing there when          21   · · ·MS. BALIAN:· You will get the document.· I'll give
 22   the judge told you what she said the other day?· Because        22   you the --
 23   I heard it loud and clear.                                      23   · · ·MS. GORDON:· Right now.· Right now, while you're
 24   · · ·MS. BALIAN:· We didn't get caught on anything.             24   standing here with it in your hand.
 25   · · ·MS. GORDON:· Yes, you did.· She made it very               25   · · ·MS. BALIAN:· No.· I'm going to have him answer my

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 ·1   question.                                                       ·1   · · ·MS. BALIAN:· If you could read it, John?
 ·2   · · ·MS. GORDON:· No.· You're giving me the document --         ·2   · · ·MS. GORDON:· No, he's not going to answer --
 ·3   · · ·MS. BALIAN:· No, you can't -- I have --                    ·3   · · ·MS. BALIAN:· Well, he -- you asked for the
 ·4   · · ·MS. GORDON:· -- before we go forward.                      ·4   question.
 ·5   · · ·MS. BALIAN:· I have a question pending that I would        ·5   · · ·MS. GORDON:· Okay.· I may want to interpose an
 ·6   like --                                                         ·6   objection --
 ·7   · · ·MS. GORDON:· Well, we'll get the court on the              ·7   · · ·MS. BALIAN:· Okay.· That's fine.
 ·8   phone.· These are documents I should have had months            ·8   · · ·MS. GORDON:· -- Melinda.
 ·9   ago, Melinda.                                                   ·9   · · ·MS. BALIAN:· Let him read back the question, Deb.
 10   · · ·MS. BALIAN:· No, they're not.· I objected to them.         10   · · ·MS. GORDON:· No.· I -- is there a reason you're not
 11   · · ·MS. GORDON:· Excuse me.· Did the court -- hang on.         11   going to hand me the document right now?
 12   Did the court overrule your objection and order that we         12   · · ·MS. BALIAN:· I would like the question read back --
 13   get them?                                                       13   · · ·MS. GORDON:· Why?
 14   · · ·MS. BALIAN:· The court ordered that the documents          14   · · ·MS. BALIAN:· So, you can place your objection if
 15   will be produced on Monday, Deb.                                15   you want to place an objection.
 16   · · ·MS. GORDON:· Melinda, you --                               16   · · ·MS. GORDON:· I can't place it if you're misreading
 17   · · ·MS. BALIAN:· I will provide this document to you,          17   the document and I don't have the document.· I can't do
 18   but the court ordered --                                        18   that.
 19   · · ·MS. GORDON:· No, you're not -- you're not                  19   · · ·Is there a reason you're not handing me the
 20   cross-examining a witness on a document I don't have in         20   document?
 21   front of me.· That's not going to happen.· And the fact         21   · · ·MS. BALIAN:· Oh.· So, you can read the document?
 22   that you think that the judge didn't just tell you we           22   Fine.
 23   should have had that from day one means you don't               23   · · ·MS. GORDON:· Thank you.
 24   understand law.                                                 24   · · ·MS. BALIAN:· But I want the question read back.
 25   · · ·MS. BALIAN:· No.· The court ordered me to produce          25   · · ·MS. MARZOTTO TAYLOR:· It's a different document.
                                                           Page 138                                                               Page 140
 ·1   these on Monday.                                                ·1   · · ·MS. GORDON:· Well, what is this?
 ·2   · · ·MS. GORDON:· Having --                                     ·2   · · ·MS. BALIAN:· No, it's not a different document,
 ·3   · · ·MS. BALIAN:· I will provide this to you --                 ·3   Elizabeth.
 ·4   · · ·THE REPORTER:· I'm sorry --                                ·4   · · ·MS. MARZOTTO TAYLOR:· You're reading off that
 ·5   · · ·MS. GORDON:· Having ordered that you should have           ·5   document.· This is a different document.
 ·6   produced them originally.                                       ·6   · · ·MS. BALIAN:· No, it's not.
 ·7   · · ·You don't grasp that the judge's whole order --            ·7   · · ·MS. MARZOTTO TAYLOR:· So, there are now two
 ·8   · · ·MS. BALIAN:· However --                                    ·8   documents.
 ·9   · · ·MS. GORDON:· -- is because you made a mistake              ·9   · · ·MS. GORDON:· What's that one over there?
 10   and/or were dishonest?                                          10   · · ·So, I now have in front of me date 6-16-2016 to
 11   · · ·MS. BALIAN:· Okay.· You can believe whatever you           11   Chief Hayse from Detective Nolin.
 12   want to believe --                                              12   · · ·You now have another document that's never been
 13   · · ·MS. GORDON:· It's not what I believe --                    13   produced.
 14   · · ·MS. BALIAN:· You'll have the --                            14   · · ·What is that that you're now using?
 15   · · ·MS. GORDON:· It's the judge's order.                       15   · · ·I'm going to be re-deposing your witnesses,
 16   · · ·Just hand me the document or we're not going --            16   Melinda.· You people are out of control.
 17   I'll get the judge on the phone.                                17   · · ·MS. MARZOTTO TAYLOR:· That's a new one entirely.
 18   · · ·MS. BALIAN:· I don't care if you call the judge. I         18   · · ·MS. BALIAN:· That is what I read from, Elizabeth.
 19   really don't.                                                   19   · · ·MS. GORDON:· Well, you've got a stack of stuff
 20   · · ·MS. GORDON:· You're not going to hand me the               20   right there.
 21   document?                                                       21   · · ·MS. MARZOTTO TAYLOR:· No, it was not.· You were
 22   · · ·MS. BALIAN:· I told you I would provide you the            22   reading off --
 23   document, but I want an answer from -- there is a               23   · · ·MS. BALIAN:· I was reading off of that.· It's
 24   question pending.                                               24   quoted in the paragraph.
 25   · · ·MS. GORDON:· What's the question pending?                  25   · · ·Why don't you look at it before you talk about

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 ·1   ··    ·something you don't know?                                  ·1   · · ·MS. BALIAN:· I am complying with the court order.
 ·2   ··    · · · MS. MARZOTTO TAYLOR:· Melinda --                      ·2   · · ·MS. GORDON:· No, you're not.· The judge never
 ·3   ··    · · · MS. GORDON:· Okay.· We see --                         ·3   anticipated that between the date she ruled and the
 ·4   ··    · · · MS. MARZOTTO TAYLOR:· I've been watching you this     ·4   23rd, you would be using and withholding documents from
 ·5   ··    ·whole time, Melinda.· I can see what you're reading off    ·5   me.
 ·6   ··    ·of.                                                        ·6   · · ·MS. BALIAN:· I wasn't withholding anything.
 ·7   ··    · · · MS. BALIAN:· Okay.                                    ·7   · · ·MS. GORDON:· She never anticipated that.· That is
 ·8   ··    · · · MS. GORDON:· No, no.· This is our document --         ·8   for darn sure.
 ·9   ··    · · · MS. BALIAN:· Excuse me.· No, it's not.· That is my    ·9   · · ·MS. BALIAN:· Okay.· So --
 10   ··    ·original.                                                  10   · · ·MS. GORDON:· So, if I would have said to her --
 11   ··    · · · MS. GORDON:· Okay.· You don't have to grab things     11   · · ·MS. BALIAN:· Maybe you shouldn't have scheduled any
 12   ··    ·like a child --                                            12   depositions --
 13   ··    · · · MS. BALIAN:· I just want to clarify what your         13   · · ·MS. GORDON:· No, no --
 14   ··    ·associate thinks she knows.                                14   · · ·THE REPORTER:· I'm sorry.· One at a time.
 15   ··    · · · MS. GORDON:· You just snatched that out of my hand.   15   · · ·MS. BALIAN:· -- between that time frame, Deb.
 16   ··    · · · MS. BALIAN:· What I quoted from --                    16   · · ·MS. GORDON:· If I would have said to the judge,
 17   A.·   ·Am I allowed to use the rest room?                         17   "Your Honor, Ms. Balian is going to refuse to turn over
 18   ··    · · · MS. GORDON:· Go ahead and take a break.               18   documents and then use them at depositions and not hand
 19   ··    · · · MS. BALIAN:· No, there's a question pending.          19   them to me between the day you just put this on the
 20   ··    · · · MS. GORDON:· Well, that's fine.· He's allowed to go   20   record and the 23rd," what do you think she would have
 21   ··    ·to the bathroom in the midst of your failing to produce    21   said?· "That's fine.· She can withhold documents and
 22   ··    ·documents.                                                 22   then cross-examine on them"?
 23   ··    · · · MS. BALIAN:· No.                                      23   · · ·MS. BALIAN:· Deb, you've continued to schedule
 24   ··    · · · MS. GORDON:· Go ahead, Detective.                     24   depositions.
 25   ··    · · · MS. BALIAN:· No.· There is a question pending.        25   · · ·MS. GORDON:· Okay.· I was entitled to.
                                                             Page 142                                                               Page 144
 ·1   · · ·MS. GORDON:· Well, too bad, Melinda.· I mean,                ·1   · · ·MS. BALIAN:· Maybe you shouldn't have scheduled
 ·2   you're not producing documents.· We're way off the trail          ·2   any.
 ·3   of the question by now.· I'm not talking to him on the            ·3   · · ·MS. GORDON:· Maybe you shouldn't have violated the
 ·4   break.                                                            ·4   court rules.
 ·5   · · ·So, go ahead.                                                ·5   · · ·MS. BALIAN:· I didn't violate anything.
 ·6   · · · · (The Witness leaves the room.)                            ·6   · · ·MS. GORDON:· The judge almost sanctioned you.· You
 ·7   · · ·MS. BALIAN:· It said:                                        ·7   came that close.
 ·8   · · · · · "Once at the car, it appeared Corporal Furman           ·8   · · ·MS. BALIAN:· She did not almost sanction me.
 ·9   · · ·pushed McClintock towards the open back seat."               ·9   · · ·MS. MARZOTTO TAYLOR:· She did, indeed.
 10   · · ·MS. GORDON:· Okay.· I'm going in for sanctions.              10   · · ·MS. GORDON:· Okay.· Okay.· You know, I'm not going
 11   · · ·MS. BALIAN:· Well, okay.· Good.                              11   to argue with you and your alternate reality.
 12   · · ·MS. GORDON:· And you heard what the judge said to            12   · · ·The court will speak for itself, and we'll see what
 13   you.                                                              13   they do.
 14   · · ·MS. BALIAN:· Yes.                                            14   · · ·MS. BALIAN:· Okay.
 15   · · ·MS. GORDON:· Do we have that transcript?                     15   · · ·MS. GORDON:· I'm not going to sit here and argue
 16   · · ·MS. MARZOTTO TAYLOR:· Yeah.· Want me to get it?              16   with you about you didn't violate anything or the court
 17   · · ·MS. GORDON:· No.                                             17   didn't almost sanction you.· You must live in a parallel
 18   · · ·MS. BALIAN:· Why don't you pull the order that has           18   world.
 19   the date in it?· That would be helpful.                           19   · · ·MS. BALIAN:· Okay.
 20   · · ·MS. GORDON:· Okay.· Melinda, you seem to grasp               20   · · ·MS. GORDON:· And I see how you operate.
 21   that -- what the court said was that we should have had           21   · · ·MS. BALIAN:· Okay.
 22   these documents a long time ago, not on the 23rd.· And            22   · · ·MS. GORDON:· It's been made extremely clear.
 23   now you have the gall to come in here and not hand me             23   · · ·MS. BALIAN:· Okay.
 24   stuff.· You're -- I see exactly how you operate and your          24   · · ·MS. GORDON:· I mean, I thought it was bad enough
 25   firm.                                                             25   after the court made clear to you that you had violated

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 ·1   court rules and all of this should have been turned over        ·1   April 23rd.· I objected.
 ·2   and that your objections were utterly misplaced and             ·2   · · ·MS. GORDON:· Okay.· Melinda, she ordered --
 ·3   outside the scope of the rule.· After she said all that,        ·3   · · ·MS. BALIAN:· I will proceed with the questioning --
 ·4   the court made clear what she observed and what we had          ·4   · · ·THE REPORTER:· I'm sorry.· One at a time.
 ·5   observed.· This is now taking it to yet another step of         ·5   · · ·MS. GORDON:· She ordered that --
 ·6   continuing to hide stuff.· And the fact that you didn't         ·6   · · ·MS. BALIAN:· I'm just -- Deb, if you could let me
 ·7   turn that over -- I'm repeating myself now -- is a              ·7   respond?
 ·8   pathetic joke.· That's as basic as it gets.                     ·8   · · ·MS. GORDON:· No --
 ·9   · · ·That's right.                                              ·9   · · ·MS. BALIAN:· Any documents I referenced, you can
 10   · · ·MS. BALIAN:· Okay.· Are you done, or do you want to        10   happily reference them in any follow-up questioning.
 11   say more?                                                       11   · · ·MS. GORDON:· Okay.· Melinda, the court ordered that
 12   · · ·MS. GORDON:· I'm not answering you, Melinda. I             12   because you had hidden documents from us.
 13   have no --                                                      13   · · ·MS. BALIAN:· Okay.
 14   · · ·MS. BALIAN:· Okay.                                         14   · · ·MS. GORDON:· You don't grasp that?· Because
 15   · · ·MS. GORDON:· -- reason to answer you whether I'm           15   you operate --
 16   done.                                                           16   · · ·MS. BALIAN:· It's called an objection.· It's not
 17   · · ·MS. BALIAN:· Okay.                                         17   hiding.
 18   · · ·Everything that the court is requesting is being           18   · · ·MS. GORDON:· -- in my opinion, in a very dishonest
 19   produced pursuant to the court order.                           19   way.
 20   · · · · (The Witness enters the room.)                          20   · · ·MS. BALIAN:· Okay.
 21   · · ·MS. GORDON:· Okay.· I object to going forward with         21   · · ·MS. GORDON:· As do your clients, obviously.
 22   the deposition unless I'm handed the documents that I           22   · · ·MS. BALIAN:· If you could read that last question
 23   was entitled --                                                 23   that I had, John, I would appreciate it, prior to all
 24   · · ·MS. BALIAN:· You will be --                                24   the back and forth.
 25   · · ·MS. GORDON:· Okay.· You just interrupted me.               25   · · ·MS. GORDON:· Are you going to give me a copy of
                                                           Page 146                                                               Page 148
 ·1   · · ·MS. BALIAN:· Sorry.· Go ahead.                             ·1   that or not?
 ·2   · · ·MS. GORDON:· I was putting an objection on the             ·2   · · ·MS. BALIAN:· Any document I reference, you're happy
 ·3   record.                                                         ·3   to use with any follow-up questions you have.
 ·4   · · ·MS. BALIAN:· Okay.                                         ·4   · · ·MS. GORDON:· Okay.· Then I'm leaving.· I'm not
 ·5   · · ·MS. GORDON:· I object to going forward with the            ·5   going to sit here while you have documents I'm entitled
 ·6   deposition when counsel for the Defendants is sitting           ·6   to and have you ask questions -- I'm still talking,
 ·7   across the table from me with documents in her hand,            ·7   Melinda.
 ·8   which should have been produced months ago, and that,           ·8   · · ·I'm not going to be in a dep where you have
 ·9   according to the federal court, they interposed improper        ·9   withheld documents intentionally.· The court has ordered
 10   objections to them and improperly withheld them.· And           10   them, and then you're not allowing me to have them while
 11   now, after the judge has ordered and -- from the bench          11   you do your cross.
 12   and issued a written order that we get these documents,         12   · · ·John, the dep is over.
 13   Defendants are using them to cross-examine this witness         13   · · ·MS. BALIAN:· Okay.· I just said --
 14   without giving them to us.                                      14   · · ·MS. GORDON:· No, no.
 15   · · ·And it looks like there's a stack of documents             15   · · ·MS. BALIAN:· -- you will have these documents for
 16   there that we've never received.                                16   your follow-up questions.
 17   · · ·MS. BALIAN:· Okay.· And in response the court              17   · · ·MS. GORDON:· I don't -- no, I want them now, as
 18   ordered that the documents will be produced on April            18   you're asking the witness.· He's under --
 19   23rd.· I didn't schedule this deposition.· You did.             19   · · ·MS. BALIAN:· I'm -- you just had it in your hand.
 20   · · ·Any documents --                                           20   · · ·MS. GORDON:· Okay.· Melinda, goodbye.· The dep is
 21   · · ·MS. GORDON:· Well, I didn't know you were hiding           21   ending.
 22   stuff.                                                          22   · · ·MS. BALIAN:· Okay.· So, I want to make sure.· So,
 23   · · ·MS. BALIAN:· Any -- I'm not hiding anything.               23   your objection and your walking out is because you are
 24   · · ·MS. GORDON:· You've hid stuff --                           24   not make copies of these prior?
 25   · · ·MS. BALIAN:· The court ordered them produced on            25   · · ·MS. GORDON:· Okay.· I've made this incredibly

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 ·1   · · ·clear, the fact --                                           ·1   · · · · · MS. BALIAN:· If you have an objection --
 ·2   · · · · · MS. BALIAN:· Okay.                                      ·2   · · · · · MS. GORDON:· -- my objection --
 ·3   · · · · · MS. GORDON:· Okay.· Now you're interrupting me          ·3   · · · · · MS. BALIAN:· -- place your objection.
 ·4   · · ·again.                                                       ·4   · · · · · MS. GORDON:· -- is that this is all in writing and
 ·5   · · · · · MS. BALIAN:· No.· Go make your four copies.             ·5   · · ·you are sitting here cross-examining a subpoenaed
 ·6   · · · · · MS. GORDON:· Do you have other documents there with     ·6   · · ·witness as if to say he's lying and Allen --
 ·7   · · ·regard to this witness?                                      ·7   · · · · · MS. BALIAN:· I'm not at all.· I'm just asking some
 ·8   · · · · · MS. BALIAN:· I do have other documents that I'm not     ·8   · · ·questions.
 ·9   · · ·using.                                                       ·9   · · · · · MS. GORDON:· Well, what's the point?
 10   · · · · · MS. GORDON:· That you're producing on the 23rd?         10   · · · · · MS. BALIAN:· If you have an objection, place it.
 11   · · · · · MS. BALIAN:· Correct.                                   11   · · · · · MS. GORDON:· It's irrelevant.
 12   · · · · · MS. GORDON:· That have anything to do with this         12   · · · · · MS. BALIAN:· Okay.· Thanks.
 13   · · ·witness?                                                     13   A.· ·I don't know.
 14   · · · · · MS. BALIAN:· No.                                        14   BY MS. BALIAN:
 15   · · · · · MS. GORDON:· Okay.                                      15   Q.· ·You don't know where he was?
 16   · · · · · Sorry.                                                  16   A.· ·He wasn't in my view.
 17   A.· ·That's okay.                                                 17   Q.· ·Okay.· Did McClintock have blood on his body at the time
 18   · · · · · ·(Discussion held off the record.)                      18   · · ·that he was arrested?
 19   · · · · · ·(Record repeated by the reporter.)                     19   A.· ·I didn't see any.
 20   BY MS. BALIAN:                                                    20   Q.· ·Do you know if -- do you recall Furman putting on
 21   Q.· ·Okay.· So, you're behind them.· Corporal Furman is in        21   · · ·protective gloves at the time he arrested him?
 22   · · ·front of you.                                                22   A.· ·I don't remember if he did or not.
 23   · · · · · So, if you're behind Corporal Furman, how did it        23   Q.· ·At what point did you arrive on scene?
 24   · · ·appear that he pushed him?                                   24   A.· ·I believe at -- the time of my arrival was basically as
 25   A.· ·Once at the car, the way that, I guess, everything           25   · · ·the officer -- Officer Furman and Officer Hinojosa had
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 ·1   ··    ·played out, if you will -- I was directly behind the       ·1   · · ·caught up to Mr. McClintock in the backyard of -- again,
 ·2   ··    ·car, if you will.· So, Corporal Furman and                 ·2   · · ·I don't remember the address, but of that house.
 ·3   ··    ·Mr. McClintock were actually facing parallel to me.· So,   ·3   Q.· ·Did you have discussions with the other citizens that
 ·4   ··    ·I actually had a view of Corporal Furman behind            ·4   · · ·were there?
 ·5   ··    ·Mr. McClintock as he pushed him into the vehicle.          ·5   A.· ·I had a brief discussion with one citizen at the scene,
 ·6   Q.·   ·Where was the car parked?                                  ·6   · · ·yes.
 ·7   A.·   ·Down the street, roughly three or four houses down from    ·7   Q.· ·Who was that?· Do you recall?
 ·8   ··    ·where the arrest was made.                                 ·8   A.· ·I believe it was the homeowners' son, but I can't be
 ·9   Q.·   ·Three to four houses down.· Okay.                          ·9   · · ·certain of that.
 10   ··    · · · So, did you hear any discussion between McClintock    10   Q.· ·Was he one of the individuals that was going after
 11   ··    ·and Furman?                                                11   · · ·McClintock?
 12   A.·   ·At the car?                                                12   A.· ·Yes.
 13   Q.·   ·Yeah.                                                      13   Q.· ·Okay.· And there were, from my understanding, several
 14   A.·   ·No.                                                        14   · · ·individuals that were going after him in sort of an
 15   Q.·   ·Where was -- where was Hinojosa at this time?              15   · · ·assaultive nature?
 16   A.·   ·I don't know where he was.                                 16   A.· ·No.
 17   Q.·   ·Was he standing by you?                                    17   Q.· ·No?
 18   ··    · · · MS. GORDON:· What do you think?· They all --          18   A.· ·It was -- the brief discussion I had was with that
 19   ··    ·they're all lying, Melissa(sic)?· So, you're sitting       19   · · ·gentleman, and he stated he was the only one going after
 20   ··    ·here cross-examining --                                    20   · · ·Mr. McClintock in an assaultive nature.
 21   ··    · · · MS. BALIAN:· My name is Melinda.                      21   Q.· ·Have you reviewed all the reports on this matter?
 22   ··    · · · MS. GORDON:· I'm sorry.                               22   · · · · · MS. GORDON:· What reports?· The ones you are
 23   ··    · · · MS. BALIAN:· Just let me get my questioning done.     23   · · ·holding in your hand?
 24   ··    ·Thank you.                                                 24   BY MS. BALIAN:
 25   ··    · · · MS. GORDON:· Melinda, I apologize.· I mean --         25   Q.· ·You can answer the question.

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 ·1   · · · · · MS. GORDON:· I would like a description of what         ·1   · · · · · MS. GORDON:· You know, all the documents I'm using
 ·2   · · ·reports you're talking about so the witness can answer       ·2   · · ·today are pretty much -- what is the -- what is it?
 ·3   · · ·the question.                                                ·3   · · · · · MS. BALIAN:· The e-mail, Sunshine Ponzetti, I
 ·4   · · · · · Unless you know what she means.                         ·4   · · ·believe.
 ·5   A.· ·No.· Actually, that was going to be my question as to        ·5   · · · · · MS. GORDON:· From this officer?
 ·6   · · ·which reports you're referring to.                           ·6   · · · · · MS. BALIAN:· Yes.
 ·7   BY MS. BALIAN:                                                    ·7   · · · · · MS. GORDON:· Okay.· You know, I would think you
 ·8   Q.· ·Have you reviewed any of the reports in this case?           ·8   · · ·would bring that with you since it's Officer Nolin's
 ·9   A.· ·Yes.                                                         ·9   · · ·document.
 10   · · · · · MS. GORDON:· How does he know what the reports are?     10   · · · · · MS. BALIAN:· Are you refusing to give it to me?
 11   · · · · · What reports?                                           11   · · · · · MS. GORDON:· Melinda, it may be back on my desk.
 12   BY MS. BALIAN:                                                    12   · · ·If you want to take a break, I'll look for it.
 13   Q.· ·What reports have you reviewed?                              13   · · · · · MS. BALIAN:· Sure.· We'll take a break.
 14   A.· ·Mine to Chief Hayse and Officer Furman's actual police       14   · · · · · · · (Short recess at 1:24 p.m.)
 15   · · ·report from the incident.                                    15   · · · · · · · · · · · ·*· ·*· ·*
 16   Q.· ·Okay.                                                        16   · · · · · · ·(Record resumed at 1:27 p.m.)
 17   A.· ·But that was not recently.                                   17   BY MS. BALIAN:
 18   · · · · · Excuse me.· I need to add, I also, obviously,           18   Q.· ·I'm showing you again what has been marked as Hayse 928
 19   · · ·reviewed my own report to -- that was given to the           19   · · ·through 930.
 20   · · ·Michigan State Police when they interviewed me in the        20   · · · · · When you were testifying to this earlier, you
 21   · · ·station.                                                     21   · · ·testified, "We reached out to MSP regarding McClintock."
 22   Q.· ·Speaking of that report to the Michigan State Police,        22   A.· ·Correct.
 23   · · ·you had indicated that you didn't know whatever happened     23   Q.· ·Who is "we"?
 24   · · ·with that; right?                                            24   A.· ·I don't -- I'm not sure if I made that clear earlier or
 25   A.· ·Correct.                                                     25   · · ·not.
                                                             Page 154                                                                 Page 156
 ·1   Q.·   ·Did Chief Allen ever tell you that in March 2017, he was   ·1   ··    · · · I'm not sure specifically.· I just meant "we" as in
 ·2   ··    ·contacted by the Michigan State Police and informed the    ·2   ··    ·the department of Melvindale.· I don't know who it was
 ·3   ··    ·case was denied?                                           ·3   ··    ·specifically.
 ·4   A.·   ·No.                                                        ·4   Q.·   ·Well, clearly you did because you e-mailed.
 ·5   Q.·   ·That it was closed?                                        ·5   ··    · · · Do you know of anybody else?
 ·6   A.·   ·No.· That's the first time I'm seeing anything of this.    ·6   A.·   ·You're mixing up two different time frames there.
 ·7   Q.·   ·You had testified about citizen complaints and that you    ·7   ··    · · · What I was referring to when I said "We reached out
 ·8   ··    ·believe that Furman has more citizen complaints of other   ·8   ··    ·to MSP," that was in reference to when Mr. McClintock
 ·9   ··    ·officers.                                                  ·9   ··    ·had returned to Melvindale for his court appearance.
 10   A.·   ·Yes.                                                       10   Q.·   ·Okay.
 11   Q.·   ·Do you know, of any of those citizen complaints, how       11   A.·   ·And -- versus this e-mail was actually when this was
 12   ··    ·many have been verified?                                   12   ··    ·requested from me by Sunshine.
 13   A.·   ·I don't know.                                              13   Q.·   ·Okay.· So, when you say, "We reached out to MSP when
 14   Q.·   ·Have any citizens made a complaint against you?            14   ··    ·McClintock was back," who was "we"?
 15   A.·   ·Yes.· Yes.                                                 15   A.·   ·Again, I -- I don't know the specific person.· It was
 16   Q.·   ·Is it fair to say that many citizen complaints that come   16   ··    ·somebody from the department of Melvindale.· I don't
 17   ··    ·in are not necessarily accurate?                           17   ··    ·remember who it was.
 18   A.·   ·Yes.                                                       18   Q.·   ·Was that person asked to?· Do you know?
 19   ··    · · · MS. BALIAN:· Where's the Hayse Bates stamp 928        19   A.·   ·I don't know.
 20   ··    ·through 930?                                               20   Q.·   ·Then how do you know that person did?
 21   ··    · · · MS. GORDON:· I don't know.                            21   A.·   ·They told me.
 22   ··    · · · MS. BALIAN:· Well, it was referenced during the       22   ··    · · · I -- I just don't remember who it was.
 23   ··    ·deposition --                                              23   Q.·   ·Now, what position do you have with the union?
 24   ··    · · · MS. GORDON:· I'm sorry.· You know --                  24   A.·   ·Currently I'm our vice president.
 25   ··    · · · MS. BALIAN:· -- in the middle.                        25   Q.·   ·What position did you have in July of 2016?

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 ·1   A.·   ·I would have been our secretary then.                      ·1   Q.· ·Okay.· So, you texted him.
 ·2   Q.·   ·When you say "our," what is "our"?                         ·2   · · · · · What did you text him?
 ·3   A.·   ·For the union, the patrol union.                           ·3   · · · · · Do you still have it?
 ·4   Q.·   ·The patrol union.                                          ·4   A.· ·Oh, no.
 ·5   ··    · · · Okay.· And is that the PO- --                         ·5   Q.· ·Okay.· What did you text him?
 ·6   A.·   ·POAM.                                                      ·6   A.· ·I don't remember exactly, but it would have to have -- I
 ·7   Q.·   ·POAM.· Okay.                                               ·7   · · ·would assume be along the lines of just informing him
 ·8   ··    · · · So, when an officer is suspended with pay, what       ·8   · · ·that his suspension was being changed to without pay and
 ·9   ··    ·procedures have to be followed?                            ·9   · · ·that Chief Hayse was going to be seeking his
 10   A.·   ·I don't know.· I don't know the disciplinary procedures    10   · · ·termination, and that I had an envelope to give him;
 11   ··    ·that the command staff has to follow.                      11   · · ·that I needed to meet up with him.
 12   Q.·   ·Okay.· And I believe Lieutenant Welch testified that he    12   Q.· ·And who gave you this envelope?
 13   ··    ·informed Furman that he was suspended with pay.            13   A.· ·Chief Hayse.
 14   ··    · · · Were you present then?                                14   · · · · · · ·(Discussion held off the record.)
 15   A.·   ·Yes.                                                       15   BY MS. BALIAN:
 16   ··    · · · It was myself, Lieutenant Welch and Lieutenant        16   Q.· ·Was it a thick envelope or a thin envelope?
 17   ··    ·Allen.                                                     17   A.· ·I don't recall.· It seemed thicker than one sheet of
 18   Q.·   ·Okay.· And where did that take place?                      18   · · ·paper.
 19   A.·   ·In Chief Hayse's office.                                   19   Q.· ·What role did Kennaley have with the union?
 20   Q.·   ·Okay.· And you indicate -- is this where you're claiming   20   A.· ·If he was still in our union, at that time, he would
 21   ··    ·that you provided an envelope of some sort with a letter   21   · · ·have been our union president.
 22   ··    ·inside of it?                                              22   Q.· ·Okay.
 23   A.·   ·No.                                                        23   A.· ·I can't recall when he got promoted.
 24   Q.·   ·Okay.· When was that?                                      24   Q.· ·And you were aware that Furman filed a grievance
 25   A.·   ·That was after Chief Hayse had concluded his               25   · · ·regarding his suspension; correct?
                                                             Page 158                                                               Page 160
 ·1   ··    ·investigation into the McClintock incident and changed     ·1   A.· ·Yes.
 ·2   ··    ·Officer Furman's suspension from with pay to without pay   ·2   Q.· ·Okay.· And I believe you testified that and then all of
 ·3   ··    ·and was informing Officer Furman that he was going to be   ·3   · · ·a sudden something happened and he got his backpay back,
 ·4   ··    ·seeking his termination.                                   ·4   · · ·but the union was never notified of that?
 ·5   Q.·   ·Okay.· Well, I also thought that Welch said that he        ·5   A.· ·Correct.
 ·6   ··    ·informed Furman that it was being changed to without       ·6   Q.· ·Were you aware that Kennaley was in discussions with
 ·7   ··    ·pay.                                                       ·7   · · ·Chief Hayse about this and entered into this?
 ·8   A.·   ·I wasn't here for that deposition.· I would have no idea   ·8   A.· ·For the record, that looks like Chief Allen, not Chief
 ·9   ··    ·what Lieutenant --                                         ·9   · · ·Hayse.
 10   Q.·   ·Were you present when Welch informed Furman that it was    10   Q.· ·I'm sorry.· Chief Allen, yes.
 11   ··    ·being changed to without pay?                              11   A.· ·But, no, I was unaware of that.
 12   A.·   ·No.                                                        12   Q.· ·Well, this occurred after Chief Hayse was removed.
 13   Q.·   ·Okay.· And where -- I'm sorry.                             13   · · · · · MS. GORDON:· There's no date on this document.
 14   ··    · · · Where did it take place that you're saying you        14   · · · · · Do you have a date, Melinda?
 15   ··    ·informed Furman that it was being changed to without       15   · · · · · MS. BALIAN:· The document speaks for itself. I
 16   ··    ·pay?                                                       16   · · ·can't --
 17   A.·   ·The first -- initial of me informing him, I guess, was     17   · · · · · MS. GORDON:· It doesn't speak, and that's why we're
 18   ··    ·through -- via text within -- probably within an hour.     18   · · ·all sitting here perplexed and you're asking the witness
 19   ··    ·Myself and Detective Thompson met Officer Furman.· It      19   · · ·about -- you're giving him, you know, hints as to
 20   ··    ·was at a -- kind of like a park and ride in Melvindale.    20   · · ·what --
 21   ··    ·It was just an empty parking lot some people will          21   · · · · · MS. BALIAN:· I'm just asking him if he was aware of
 22   ··    ·carpool out of.· It's basically at the corner of Allen     22   · · ·this.
 23   ··    ·Road and Outer Drive.                                      23   A.· ·No.
 24   Q.·   ·Why did you meet him there rather than someplace else?     24   · · · · · MS. GORDON:· I think he already answered, but okay.
 25   A.·   ·That's where Officer Furman asked me to meet him.          25   BY MS. BALIAN:

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 ·1   Q.· ·But Kennaley was the president of POAM; is that correct?     ·1   · · · · · MS. BALIAN:· Well, if you want to let me get it
 ·2   A.· ·With no date on that document, I don't know if he was        ·2   · · ·out.
 ·3   · · ·still the president or not at that time.                     ·3   BY MS. BALIAN:
 ·4   Q.· ·Okay.· When did he stop being president?                     ·4   Q.· ·So, do you know if it actually was a workshop, per se?
 ·5   A.· ·When he was promoted to sergeant.                            ·5   A.· ·Yes.
 ·6   Q.· ·Which was when?                                              ·6   Q.· ·Okay.· Are you aware that workshops are generally posted
 ·7   A.· ·As I stated, I don't remember when he was promoted.          ·7   · · ·on the Melvindale Police Department website?
 ·8   Q.· ·But at some time he was president of POAM?                   ·8   A.· ·No.
 ·9   · · · · · MS. GORDON:· That's been already covered by you         ·9   Q.· ·Was the meeting called to order?
 10   · · ·twice, I think.                                              10   A.· ·I don't recall.
 11   BY MS. BALIAN:                                                    11   Q.· ·Have you reviewed Furman's personnel file?
 12   Q.· ·At approximately what time was he promoted to sergeant?      12   A.· ·No.
 13   A.· ·I don't know.                                                13   · · · · · The only person that can do that is Furman and
 14   Q.· ·What is step one of the grievance procedure?                 14   · · ·probably the chief or the Safety Commission.
 15   A.· ·The officer -- the person who is being disciplined           15   Q.· ·Have you ever had a discussion with city council to
 16   · · ·informs the union president that he wants to file -- he      16   · · ·determine the full duties of corporation counsel?
 17   · · ·or she wants to file a grievance, and the union              17   A.· ·No.
 18   · · ·president informs the chief of that.                         18   Q.· ·Do you know the first date that Furman was suspended in
 19   Q.· ·And what is step two?                                        19   · · ·July with pay?
 20   A.· ·I don't know.· I've never gone through a grievance           20   A.· ·No.
 21   · · ·process, whether it be for myself or in defense of           21   Q.· ·You said there was an officer at the police department
 22   · · ·another officer.· I haven't gone through it.                 22   · · ·that was upset because Lawrence Jackson had his personal
 23   Q.· ·As part of the union, wouldn't -- as having a position       23   · · ·cell phone number.
 24   · · ·in the union, wouldn't you know this?                        24   · · · · · Who was that?
 25   A.· ·No.· If I did, I would have told you.                        25   A.· ·I believe that was Officer Blunden.
                                                             Page 162                                                                 Page 164
 ·1   Q.·   ·Why were you in charge of letting Furman know these        ·1   Q.·   ·Blunden?
 ·2   ··    ·things?                                                    ·2   A.·   ·Yes.
 ·3   A.·   ·I believe for two reasons:· One, because I was on the      ·3   Q.·   ·Were you aware that Welch testified at his deposition
 ·4   ··    ·union board, and, two, Officer Furman and I were           ·4   ··    ·that he has heard Hayse refer to the mayor as a "bitch"?
 ·5   ··    ·friends, so I think it was a bit more personal and         ·5   A.·   ·No.
 ·6   ··    ·respectful to Officer Furman that I could tell him a bit   ·6   Q.·   ·Would that surprise you?
 ·7   ··    ·easier than maybe somebody from the command staff who      ·7   A.·   ·Yes.
 ·8   ··    ·wasn't friends with him.                                   ·8   Q.·   ·You've provided testimony about some reasons why you
 ·9   Q.·   ·What is step three?                                        ·9   ··    ·believe officers testified the way they did at the
 10   A.·   ·I don't know.                                              10   ··    ·removal hearing.
 11   Q.·   ·You provided testimony that you spoke up at this -- I      11   ··    · · · Easton never told you he provided false testimony
 12   ··    ·think you called it a workshop where this -- where the     12   ··    ·at the removal hearing, did he?
 13   ··    ·Lawrence Jackson investigation was being discussed         13   A.·   ·No.
 14   ··    ·because you said, "It's sounding dangerously close to a    14   Q.·   ·As a police officer, you don't have authority to enter
 15   ··    ·quota."                                                    15   ··    ·into a contract on behalf of the City, do you?
 16   ··    · · · Did you record that meeting at all?                   16   A.·   ·No.
 17   A.·   ·No.                                                        17   Q.·   ·You testified that you and another officer razzed Furman
 18   Q.·   ·Do you know if anybody did?                                18   ··    ·about texting Nicole Barnes.
 19   A.·   ·I believe they're recorded, but I'm not 100 percent on     19   ··    · · · Who was the other officer?
 20   ··    ·that.                                                      20   A.·   ·To clarify, I said that we razzed him about his
 21   Q.·   ·Well, workshops are generally not recorded, if this        21   ··    ·relationship with her, not about him texting her.
 22   ··    ·actually was a workshop.                                   22   ··    · · · And that other -- Lash -- Officer Lash.
 23   A.·   ·Okay.                                                      23   Q.·   ·What relationship is that?
 24   ··    · · · MS. GORDON:· Is that a question, or are you just      24   A.·   ·Their relationship with each other.
 25   ··    ·commenting?                                                25   Q.·   ·Which is what?

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 ·1   A.·   ·I don't know.· He wouldn't tell me.                        ·1   · · ·this discipline --
 ·2   Q.·   ·Okay.· So, you don't know if they have a relationship;     ·2   A.· ·Correct.
 ·3   ··    ·correct?                                                   ·3   Q.· ·-- other than when you went to the park and ride --
 ·4   A.·   ·Well, I know that they have some sort of relationship,     ·4   · · · · · MS. GORDON:· I think we've covered this so many
 ·5   ··    ·yes.                                                       ·5   · · ·times, Melinda.
 ·6   Q.·   ·Which is what?                                             ·6   · · · · · MS. BALIAN:· Okay.
 ·7   A.·   ·My answer again is I don't know.                           ·7   BY MS. BALIAN:
 ·8   Q.·   ·Okay.· So, you saw him texting her?                        ·8   Q.· ·-- and informed him of the suspension without pay?
 ·9   A.·   ·Correct.                                                   ·9   A.· ·Yes.
 10   Q.·   ·Okay.· Did you attend the removal hearing of Chief         10   Q.· ·Okay.· You were asked a question about whether you were
 11   ··    ·Hayse?                                                     11   · · ·aware that Hayse had contacted Coogan regarding this
 12   A.·   ·No.· It was a closed hearing.· I was subpoenaed, so I      12   · · ·discipline, and I believe you testified that you were
 13   ··    ·wasn't allowed in.                                         13   · · ·aware of that.
 14   Q.·   ·Okay.· And you didn't testify; correct?                    14   A.· ·Yes.
 15   A.·   ·Correct.                                                   15   Q.· ·How were you aware of that?
 16   Q.·   ·And you weren't involved in disciplining officer -- let    16   A.· ·Chief Hayse told me.
 17   ··    ·me put it this way:· You weren't involved in the           17   Q.· ·So, just by hearsay from Chief Hayse?
 18   ··    ·discipline of Officer Furman at all in July of 2016;       18   A.· ·Yes.
 19   ··    ·correct?· Other than informing --                          19   Q.· ·Did you witness it?
 20   A.·   ·As in the decision, you mean?                              20   A.· ·No.
 21   Q.·   ·Yes.                                                       21   · · · · · MS. BALIAN:· I don't have any further questions at
 22   A.·   ·That's correct, yes.                                       22   · · ·this point.
 23   Q.·   ·Was the only role you played in relaying it to him?        23   · · · · · MS. GORDON:· I just have one follow-up.
 24   A.·   ·I was there as his union representation.· However, at      24   · · · · · · · · · · · ·*· ·*· ·*
 25   ··    ·the initial, I guess, meeting, if you will, when Officer   25   · · · · · · · · · · ·RE-EXAMINATION
                                                             Page 166                                                               Page 168
 ·1   ··    ·Furman was suspended with pay, he -- there was no steps    ·1   BY MS. GORDON:
 ·2   ··    ·to be taken at that time.· So, after that point, yes,      ·2   Q.· ·With regard to those texts that you saw with Barnes and
 ·3   ··    ·the steps were taken through our union president, not      ·3   · · ·Furman --
 ·4   ··    ·me.                                                        ·4   A.· ·Okay.
 ·5   Q.·   ·Okay.· So, was that the only meeting you were at, was      ·5   Q.· ·-- what was the nature of them?
 ·6   ··    ·the initial one?                                           ·6   A.· ·The ones that he would let me see were friendly, kind of
 ·7   A.·   ·As far as I'm aware, that's the only meeting that was      ·7   · · ·flirtatious.
 ·8   ··    ·held.                                                      ·8   · · · · · After that, he covered his phone so I couldn't see
 ·9   ··    · · · So, yes.                                              ·9   · · ·the rest of it.· So, I don't know how it ended.
 10   Q.·   ·And what took place at that meeting?                       10   Q.· ·Okay.· Okay.· So, nothing else that you recall seeing,
 11   A.·   ·He was suspended with pay.                                 11   · · ·other than what you've just described?
 12   Q.·   ·What discussion was had at all?                            12   A.· ·Correct.
 13   A.·   ·That was the discussion.                                   13   · · · · · MS. GORDON:· Okay.· Thank you.
 14   ··    · · · He was -- had already been made aware prior by me     14   · · · · · (Deposition concluded at 1:49 p.m.)
 15   ··    ·that he was under investigation for that incident, and     15   · · · · · · · · · · · · *· ·*· ·*
 16   ··    ·also from our union president, which was Kennaley at       16
 17   ··    ·that time.· And so he was aware that the investigation     17
 18   ··    ·was going on.                                              18
 19   ··    · · · So, at the meeting, all that was -- all that          19
 20   ··    ·happened was, he was made aware that he was, at that       20
 21   ··    ·time, suspended with pay and to turn over his firearm      21
 22   ··    ·and badge until further notice.                            22
 23   Q.·   ·Okay.· Who else was present at that meeting?               23
 24   A.·   ·Myself, Lieutenant Welch, Furman and Lieutenant Allen.     24
 25   Q.·   ·Okay.· And that's the only meeting you were at involving   25

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 ·1   STATE OF MICHIGAN )

 ·2   COUNTY OF OAKLAND )

 ·3   · · · · · · · CERTIFICATE OF NOTARY PUBLIC

 ·4   · · ·I do hereby certify that the witness, whose

 ·5   attached testimony was taken in the above matter, was

 ·6   first duly sworn to tell the truth; the testimony

 ·7   contained herein was reduced to writing in the presence

 ·8   of the witness by means of stenography; afterwards

 ·9   transcribed; and is a true and complete transcript of

 10   the testimony given.

 11   · · ·I further certify that I am not connected by blood

 12   or marriage with any of the parties; their attorneys or

 13   agents; and that I am not interested, directly or

 14   indirectly, in the matter of controversy.

 15   · · ·In witness whereof, I have hereunto set my hand

 16   this day at Highland, Michigan, County of Oakland, State

 17   of Michigan on Monday, April 23, 2018.

 18

 19

 20   · · · · · _______________________________________

 21   · · · · · John J. Slatin, RPR, CSR-5180

 22   · · · · · Certified Shorthand Reporter

 23   · · · · · Notary Public, Oakland County, Michigan

 24   · · · · · My commission expires:· July 25, 2023

 25




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